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             IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF TENNESSEE
                     NASHVILLE DIVISION

                                 Appeal from
                        In re: Cummings Manookian
                            Case No. 3:19-bk-7235


                        Brian Manookian, Appellant

                                        v.

                  Trustee Jeanne Ann Burton, Appellee


                           Case No. 3:23-cv-00918

                           Judge Aleta A. Trauger



           APPENDIX TO APPELLANT’S OPENING BRIEF




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          Dated: 6/1/2022



                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

 IN RE:                              )
                                     ) Case No: 3:19-bk-07235
       Cummings Manookian, PLLC,     ) Chapter 7
                                     ) Honorable Charles M. Walker
              Debtor.                )
 ____________________________________)
                                     )
       Jeanne Ann Burton, Trustee,   )
                                     )
              Plaintiff,             )
                                     )
       v.                            ) Adv. Proc: 3:20-ap-90002
                                     )
       Hagh Law, PLLC; Afsoon Hagh;  )
       AND Manookian, PLLC,          )
                                     )
              Defendants.            )
 ____________________________________)

                          ORDER QUASHING NOTICE OF DEPOSITION


           THIS MATTER is before the Court regarding the Notice of Deposition (“Notice”) of

 Judge Charles M. Walker (Dkt. #177). For the following reasons, and under the noted authority,

 the Notice is hereby quashed and thereby, unenforceable.

           In a legal proceeding, a request for testimony from personnel of the federal judiciary is

 governed by those regulations as set forth in Volume 20, Chapter 8 of the Guide to Judiciary

 Policy (“Guide”)1 as established by the Director of the Administrative Office of United States

 Courts. U.S. v. Galvez, 2019 WL 3927443, at *1 (S.D. Ohio Aug. 20, 2019). Federal judicial



 1
  Guide to Judiciary Policy, available at https://jnet.ao.dcn/policy‐guidance/guide‐judiciary‐policy/volume‐20‐
 administrative‐claims‐and‐litigation/ch‐8‐testimony‐and‐production‐records

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 personnel may not provide testimony of the type requested in the Notice of Deposition except as

 authorized by the provisions of the Guide. See Guide at § 820(a)2.

            The Guide is persuasive authority as it codifies the policies promulgated by the Director

 of the Administrative Office and “approved by the Judicial Conference of the United States.” In

 re Sony BMG Music Entm't, 564 F.3d 1, 7 (1st Cir. 2009); see also Kitzmiller v. Dover Area Sch.

 Dist., 388 F. Supp. 2d 484, 486-87 (M.D. Pa. 2005). It provides the “official medium by which

 direction as to courtroom procedures and other information are provided to the Federal Judiciary

 in support of its day-to-day operations.” In re Sony, 564 F.3d at 7 (quoting Kitzmiller, 388 F.

 Supp. at 486-87). Mackin v. Om Sai Corp, 2021 WL 5937589, at *1 (D.N.M. Dec. 16, 2021).

            The Notice requests testimony from Judge Charles M. Walker. Accordingly, the Guide

 controls in consideration of the request contained in the Notice. According to § 810.30 of the

 Guide, the following definitions apply:

             “Information and records” is defined as follows:

             All information, records, documents, or materials of any kind, however stored,
            that are in the custody or control of the federal judiciary or were acquired by
            federal judicial personnel in the performance of their official duties or because of
            their official status.

            “Judicial personnel” is defined as:
            All present and former officers and employees of the federal judiciary and any
            other individuals who are or have been appointed by, or subject to the
            supervision, jurisdiction, or control of, the federal judiciary, including individuals
            hired through contractual agreements by or on behalf of the federal judiciary, or
            performing services under such agreements for the federal judiciary, such as
            consultants, contractors, subcontractors, and their employees and personnel. This
            phrase also includes alternative dispute resolution neutrals or mediators, special
            masters, individuals who have served and are serving on any advisory committee
            or in any advisory capacity, and any similar personnel performing services for the
            federal judiciary.


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     Any reference to Section refers to a provision of the Guide unless otherwise noted.

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          “Legal Proceedings” means:

          All pretrial, trial, and post-trial stages of all existing or anticipated judicial or
          administrative actions, hearings, investigations, cases, controversies, or
          similar proceedings, including grand jury proceedings, before courts,
          agencies, commissions, boards or other tribunals, foreign and domestic, or all
          legislative proceedings pending before any state or local body or agency,
          other than those specified in § 810.40(b).

          “Request” is defined as:

          An order, subpoena, or other demand of a court, or administrative or other
          authority, of competent jurisdiction, under color of law, or any other request by
          whatever method, for the production, disclosure, or release of information or
          records by the federal judiciary, or for the appearance and testimony of federal
          judicial personnel as witnesses as to matters arising out of the performance of
          their official duties, in legal proceedings. This definition includes requests for
          voluntary production or testimony in the absence of any legal process.

          And “testimony” means:

          Any written or oral statement in any form by a witness arising out of the
          performance of the witness' official duties, including personal appearances and
          statements in court or at a hearing or trial, depositions, answers to interrogatories,
          affidavits, declarations, interviews, telephonic, televised, or videotaped remarks,
          or any other response during discovery or similar proceedings that would involve
          more than production of documents.

          Judicial personnel may not provide testimony in legal proceedings without the prior

 approval of a “determining officer.” See Guide at § 840(a). In relevant part, the Guide provides

 the definition of “determining officer” as follows:

          (b) The determining officer authorized to make determinations under these
          regulations will be as follows:
          (1) In the case of a request directed to a federal court of appeals judge, district judge,
          Court of International Trade judge, Court of Federal Claims judge, bankruptcy
          judge, or magistrate judge, or directed to a current or former member of such a
          judge's personal staff (such as a judge's secretary, law clerk), the determining
          officer will be the federal court of appeals judge, district judge, Court of
          International Trade judge, Court of Federal Claims judge, bankruptcy judge, or
          magistrate judge himself or herself.

          Guide at 840(b)(1).

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          The request as directed in the Notice is subject to the approval of the judge – in this case,

 Judge Charles M. Walker – as the determining officer.

          The determining officer is authorized to determine whether the federal judicial personnel

 may be deposed, as well as whether federal judicial records may be produced, and “what, if any

 conditions will be imposed upon such interview, contact, testimony, or production of records.”

 Guide at § 850(a). The determining officer may also deny a request if the request does not meet

 any requirement imposed by these regulations. Guide at § 850(a).

          Section 850(a) requires the determining officer to consider the following factors when

 deciding the effect in the case, as well as future cases generally, which testifying or producing

 records will have on the ability of the federal judiciary or federal judicial personnel to perform

 their official duties. These factors are:

     1. The need to avoid spending the resources of the United States for private purposes, to

          conserve the time of federal judicial personnel for the performance of official duties, and

          to minimize the federal judiciary's involvement in issues unrelated to its mission.

     2. Whether the testimony or production of records would assist the federal judiciary in the

          performance of official duties.

     3. Whether the testimony or production of records is necessary to prevent the perpetration of

          fraud or injustice in the case or matter in question.

     4. Whether the request is unduly burdensome or is inappropriate under applicable court or

          administrative rules.

     5. Whether the testimony or production of records is appropriate or necessary under the rules

          of procedure governing the case or matter in which the request arises, or under the relevant

          substantive law of privilege.

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     6. Whether the request is within the proper authority of the party making it.

     7. Whether the request meets the requirements of these regulations.

     8. Whether the request was properly served under applicable court, administrative, or other

          rules.

     9. Whether the testimony or production of records would violate a statute, regulation, or

          ethical rule.

     10. Whether the testimony or production of records would disclose information regarding the

          exercise of judicial or quasi-judicial responsibilities by federal judicial personnel in the

          decisional or deliberative process.

     11. Whether the testimony or production of records would disclose confidential information

          from or pertaining to a presentence investigation report or pertaining to an individual's

          probation, parole, or supervised release, or would disclose any other information that is

          confidential under any applicable statute or regulation.

     12. Whether the testimony or production of records reasonably could be expected to result in

          the appearance of the federal judiciary favoring one litigant over another or endorsing or

          supporting a position advocated by a litigant.

     13. Whether the request seeks testimony, records or documents available from other sources.

     14. Whether the request seeks testimony of federal judicial personnel as expert witnesses.

     15. Whether the request seeks personnel files, records or documents pertaining to a current or

          former federal judicial officer or employee, and

                   (A) the personnel files, records or documents sought by the request may be obtained

                   from the current or former federal judicial officer or employee in question, or




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                 (B) the personnel files, records or documents sought by the request would be made

                 available to the requester with the written consent or authorization of the current or

                 former federal judicial officer or employee in question.

     16. Any other consideration that the determining officer designated in § 840(b) may consider

          germane to the decision.

          As to the first consideration, the Court finds that the Notice serves no purpose other than

 to waste the resources of the United States for private purposes, and act to expend time of federal

 judicial personnel better used in the performance of official duties. Moreover, such involvement

 of the federal judiciary in issues unrelated to its mission serves no party and is a misuse of the

 resources available in order to avail oneself of the justice provided by the bankruptcy system.

          Secondly, the Notice requests testimony that serves no purpose and has no relation to the

 merits of the case. Thirdly, the party seeking the testimony under the Notice – Manookian, PLLC

 - has alleged no specific instance of fraud or injustice. The request is inappropriate as the request

 for testimony from the sitting judge serves no purpose other than to taint the proceedings before

 the Court. The request is not appropriate or necessary under the rules of procedure or under

 substantive laws of privilege and is not within the proper authority of the party making the request.

          Moreover, the Court, as determining officer, will not permit the testimony as requested

 because the Notice was not issued in accordance with the requirements established in the Guide.

 The Notice did not set forth, or contain an affidavit setting forth, an explanation of the nature of

 the testimony sought, the relevance of the testimony sought to the legal proceedings, and the

 reasons why the testimony sought, or the information contained therein, are not readily available

 from other sources or by other means. Guide at § 830(a). U.S. v. Robinson, 2018 WL 6322146, at

 *2 (S.D. Ohio Dec. 4, 2018). Furthermore, § 830(b) requires that the request be “provided to the



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 federal judicial personnel from whom testimony or production of records is sought at least fifteen

 (15) working days in advance of the time by which the testimony or production or records is to be

 required. Failure to meet this requirement will provide a sufficient basis for denial of the request.”

 Guide at § 830(b). The request was not properly served under any applicable rules and such

 testimony would violate ethical rules as promulgated by the Judicial Conference and the

 Administrative Office of United States Courts. Id.

          The request for testimony of the judge sitting on the case is sought in order to contaminate

 the exercise of judicial and quasi-judicial responsibilities by federal judicial personnel.

          The eleventh factor is not applicable to these proceedings. For the twelfth and thirteenth

 factors, deposing the judge on a case is a manipulation of the judicial system in an effort to taint

 the proceedings. There is no expectation that any such testimony would serve any legitimate

 purpose.

          The fourteenth and fifteenth factors are not applicable. As to the last factor, any other

 consideration that may be germane to the decision of this determining officer, it is important to

 note that the request to depose Judge Walker was made by a party that has made no specific

 accusation of bias linked to any ruling in the case. Moreover, two years after its inception, the case

 is merely at the discovery stage. No dispositive rulings have been issued. The request to depose

 the sitting judge has no basis in law or fact. Honoring such request would only serve to obstruct

 the justice administered through the bankruptcy system.

          If, after considering the factors and the other requirements set forth in the Guide, the

 determining officer decides that the judicial personnel should not comply with the request, the

 judicial personnel should notify the requester of the Guide’s procedures and respectfully decline

 to comply with the request. Guide at § 850(b). As the determining officer, having considered all



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 compulsory factors and other requirements set forth in the Guide, and after such deliberate

 consideration, it is my determination that, for the reasons stated above, the Notice is quashed and

 this Order serves as notice pursuant to the Guide at § 850(b).

          Therefore, the Notice is hereby quashed as inappropriate and unenforceable pursuant to the

 findings made above and the requirements of the Guide.



                      THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                              INDICATED AT THE TOP OF THE FIRST PAGE




                                                                       This Order has been electronically
                                                                       signed. The Judge's signature and
                                                                                                           8
                                                                       Court's seal appear at the top of the
                                                                       first page.
                                                                       United States Bankruptcy Court.

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                EXHIBIT 1




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                           UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF TENNESSEE (NASHVILLE)

         IN RE:                      .            Case No. 19-07235
                                     .            Chapter 7
         CUMMINGS MANOOKIAN, PLLC,   .
                                     .
                                     .
                        Debtor.      .
                                     .
         . . . . . . . . . . . . . . .
         JEANNE ANN BURTON,          .            Adv. No. 20-90002
                                     .
                        Plaintiff,   .
                                     .
              v.                     .
                                     .
         HAGH LAW, PLLC, et al.,     .            701 Broadway
                                     .            Nashville, TN 37203
                        Defendants. .
                                     .            Thursday, March 17, 2022
         . . . . . . . . . . . . . . .            8:48 a.m.

              TRANSCRIPT OF PRETRIAL CONFERENCE AND MOTION HEARING
                     BEFORE THE HONORABLE CHARLES M. WALKER
                      UNITED STATES BANKRUPTCY COURT JUDGE

         APPEARANCES:

         For the Plaintiff:             Thompson Burton PLLC
                                        By: PHILLIP G. YOUNG, ESQ.
                                        One Franklin Park
                                        6100 Tower Circle, Suite 200
                                        Franklin, TN 37067
                                        (615) 465-6008


         APPEARANCES CONTINUED.


         Audio Operator:                Tanja Brewer, ECR


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         APPEARANCES (Continued):                                                         2


         For Hagh Law PLLC and          Bass, Berry & Sims PLC
         Afsoon Hagh:                   By: CRAIG VERNON GABBERT, JR., ESQ.
                                        150 Third Avenue South, Suite 2800
                                        Nashville, TN 37201
                                        (615) 742-6277
         For Manookian PLLC:            Spragens Law PLLC
                                        By: JOHN T. SPRAGENS, ESQ.
                                        311 22nd Avenue North
                                        Nashville, TN 37203
                                        (615) 983-8900




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    1        (Proceedings commenced at 8:48 a.m.)

    2               THE CLERK:      All rise.     The United States Bankruptcy

    3 Court for the Middle District of Tennessee is now in session,

    4 the Honorable Charles M. Walker presiding.

    5               THE COURT:      Good morning.      Please take your seats.

    6               THE CLERK:      Your Honor, we're here on Case Number

    7 20-90002, Burton v. Hagh Law, PLLC.

    8               There's several matters set.           There's a pretrial

    9 conference, motion to compel discovery responses from Manookian

  10 PLLC.      We have a motion and notice to compel discovery

  11 responses from Hagh Law, PLLC, a motion and notice to compel

  12 discovery responses from Afsoon Hagh.                Also set this morning is

  13 Manookian, PLLC's motion and notice to compel Trustee Jeanne

  14 Burton, to respond to interrogatories, Manookian PLLC's motion

  15 for the Court to determine sufficiency of plaintiff's responses

  16 to request for admission, or alternatively to be deemed

  17 admitted.       And the last matter is motion and notice to compel

  18 Marty Fitzgerald to comply with subpoena for production of

  19 documents.

  20                THE COURT:      All right.      Thank you.

  21                Obviously, with that long laundry list of discovery

  22 related matters that we're here to resolve, as promised, we're

  23 going to be resolving all of them today.

  24                And if it gets hot in here, so be it.              There's

  25 something wrong with the air, so if it gets warm in here, too




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    1 bad.

    2               We have a hard break at 10:45 today.              We'll recess

    3 from 10:45 to 2 p.m.          And at 2 pm., we'll come back and resolve

    4 anything, if necessary, that remains.               And we will stay until

    5 everything's resolved.

    6               Obviously, with the many provisions within the Rules

    7 of Evidence deemed in making discovery easy, it's the

    8 responsibility of good lawyers to resolve discovery.                    For us to

    9 be here on such a list means that somewhere someone has failed.

  10 So part of what I want to do today, I will be assessing who may

  11 be responsible, or how many parties may be responsible, for

  12 this breakdown in what typically is an orderly discovery

  13 process.       And rather than let the secured creditors pay, if

  14 it's one of the other parties, they'll pay.                  Or the Trustee may

  15 pay.      It all depends on who is responsible for this breakdown

  16 in what, in my years on the bench, I don't think I've ever seen

  17 quite the mess with discovery on what is not a complicated

  18 case, and a case involving lawyers, which even makes it more

  19 frustrating that we're here today.               That all these good lawyers

  20 in the room, and all of the parties are either lawyers or law

  21 firms, and the fact that this is Bankruptcy Court where we

  22 typically resolve things, because there are limited funds and

  23 everyone knows that.

  24                So I'm a little discouraged to be here today.                 I'll

  25 just put it that way.




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    1               So, Mr. Young, let's get started.             We're going line

    2 by line.      Tell me what's remaining and the Court will rule

    3 accordingly.

    4               MR. YOUNG:      Yes, Your Honor.       And I'm happy to --

    5 I'll put the screen up where it's appropriate, but I'd like to

    6 just sort of talk globally a little bit if I can first.

    7               THE COURT:      Okay.

    8               MR. YOUNG:      I think on Tuesday afternoon, we filed a

    9 report so that hopefully the Court was not coming in completely

  10 cold.

  11                THE COURT:      Right.    And just one note on the status

  12 report.       Is everyone in agreement that the status report

  13 contains all of the outstanding discovery issues?                    That there

  14 are no other issues that need to be discussed today?

  15                MR. GABBERT:      The ones related to Hagh Law are fairly

  16 specific and, basically, I think we respond to most of those

  17 already.

  18                THE COURT:      All right.

  19                MR. YOUNG:      And that's, I guess that's the point.

  20 That's why I filed the status report is, from the Trustee's

  21 perspective, it's a fairly finite set of documents that we're

  22 still looking for, and I'm happy to go through those.

  23                If the Court will, I'd like to start, though, with

  24 the Fitzgerald subpoena, because that's perhaps the easiest.

  25                We issued a subpoena to Marty Fitzgerald, who's a




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    1 third party.       It was issued December 9th, served December 13th.

    2 I assume Hagh emailed an objection on December 27th, said other

    3 counsel would contact us.           We didn't get any other kind of

    4 objection.

    5               Mr. Spragens indicated to the Court last time that he

    6 thought he could coordinate Mr. Fitzgerald's response, though

    7 not making clear that he was not representing Mr. Fitzgerald,

    8 so I'm not trying to hold him to that.

    9               But we've received nothing.           Those documents were a

  10 finite set of documents, just as the Court knows.                    And I want

  11 to explain what they are and why they're important.

  12                What we sought there were any kind of communications

  13 involving engagement or disengagement of Cummings Manookian,

  14 Manookian, PLLC, Hagh Law, PLLC, Afsoon Hagh, or Brian

  15 Manookian.        We've received from Mr. Manookian an engagement

  16 letter from Cummings Manookian.              We've received from Mr.

  17 Manookian, a letter that he purportedly sent to Mr. Fitzgerald

  18 notifying him that he'd have to get other counsel.                    I don't

  19 know, frankly, whether that was delivered, whether that letter

  20 was delivered or not.           And that was part of the reason that we

  21 were seeking to see what Mr. Fitzgerald had in his files.                       And

  22 there's been some reference to a Hagh Law engagement letter

  23 with the Fitzgeralds which we've not seen.

  24                And so that's the purpose of the subpoena.                I tried

  25 to keep it, he's a third party, he's not really involved in




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    1 this.     I tried to keep it as finite as possible, as easy to

    2 respond to as possible.           It should just be a handful of

    3 documents, but I've received nothing.               And so we just ask the

    4 Court to compel responses to that subpoena.

    5               THE COURT:      Granted.

    6               MR. SPRAGENS:       Your Honor, would you like an update

    7 on the status of that?

    8               THE COURT:      Yes.    Sure.

    9               MR. SPRAGENS:       As Mr. Young knows, I was out of town

  10 until yesterday evening, and I inquired about that when I got

  11 back, and I'm told that Mr. Fitzgerald will be providing

  12 documents to me by tomorrow.             I would like an opportunity to

  13 look at them because I think that there may be attorney-client

  14 communications in the documents that he provides.                    But then I'm

  15 prepared to turn over whatever is given to me early next week.

  16                THE COURT:      All right.

  17                MR. SPRAGENS:       So I just wanted the Court to know

  18 that I've looked into that matter.

  19                THE COURT:      All right.      And one thing, let's go ahead

  20 and get appearances.           I kind of jumped into this before we got

  21 to the basics.

  22                So, if I can start on this side and work across the

  23 room?

  24                MR. YOUNG:      Yes, Your Honor.       Phillip Young, and

  25 Jeanne Burton is with me, here on behalf of the Trustee.




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    1               MR. SPRAGENS:       John Spragens on behalf of Manookian,

    2 PLLC.

    3               MR. GABBERT:      Craig Gabbert on behalf of Afsoon Hagh,

    4 Hagh Law, Bass, Berry & Sims.

    5               THE COURT:      All right.      Thank you.

    6               For the Fitzgerald subpoena the Court will grant the

    7 relief with the condition that any production be provided no

    8 later than the 25th.          That will give Mr. Spragens adequate time

    9 to review.       And based on the representations of Counsel, please

  10 add that to the order, that it specifically requires the

  11 turnover in production of the requested documents to the

  12 Trustee, Trustee's counsel, no later than March 25th.

  13                MR. YOUNG:      Thank you, Your Honor.         I will.

  14                The next matter I'd like to take up is the, if the

  15 Court will, is the motion to compel against Manookian, PLLC.

  16 There are actually only three remaining issues that we have and

  17 I'll talk about them, and then if we need to bring them up I'll

  18 bring them up on the screen.             I have them prepared.

  19                But it's one interrogatory and two requests.                And

  20 Manookian, PLLC did send us, on Tuesday, amended responses to

  21 those.      And actually, I believe I attached that to my status

  22 report, those amendments.            And those amendments did take care

  23 of one of the four outstanding matters as of that time, but

  24 there are still three outstanding matters and I tried to detail

  25 the issues remaining in the status report.




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    1               The biggest one, Your Honor, is Interrogatory Number

    2 5.    Interrogatory Number 5 asks, it has a list of particular

    3 cases that Cummings Manookian had been involved in

    4 pre-petition, and it asked Manookian, PLLC to say whether it

    5 had an interest in the fees of any of those cases.                   And if so,

    6 state by dollar amount or percentage the interest in fees.

    7               And we asked the same question of Hagh Law, and Hagh

    8 Law answered that question correctly, the way we had asked.

    9 But Manookian, PLLC has not responded to the question of the

  10 dollar amount or percentage of the Fitzgerald or Shoemaker fees

  11 to which it claims entitlement.

  12                I want to explain to the Court why this question is

  13 so critical to get an answer, because the answer so far has

  14 essentially been, it's governed by -- it's governed by the

  15 terms of some engagement letters and that's how it's going to

  16 be decided, what percentage.

  17                We need a percentage or a dollar amount for this

  18 reason.       If Manookian, PLLC claims that they are entitled to

  19 fees, to any portion of the fees, in either the Fitzgerald or

  20 the Shoemaker case, that's inconsistent with the position

  21 they've taken to this court so far.               That is that once a law

  22 firm withdraws, it has waived its rights to fees.

  23                So in that case, Mr. Manookian, when he was

  24 suspended, withdrew in both of those cases.                  So if they say

  25 they are entitled to fees, there's an inconsistency.                     If they




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    1 say they are entitled to no fees from either of those cases,

    2 then I'm not sure they need to even be a party to this anymore,

    3 because those are the only two remaining major assets of this

    4 case.

    5               And so either way, that's a significant outcome to

    6 get a commitment in writing, not orally but in writing, as to

    7 whether or not Manookian, PLLC claims an interest, a specific

    8 interest, in those fees.           That's why that question is so

    9 important, and that's why we've kept pushing on that.                    It's why

  10 I said that was the first and most important issue and that it

  11 might moot all other issues as between the Trustee and

  12 Manookian, PLLC.

  13                So that's the only interrogatory that remains

  14 unresponded to, or not satisfactory to the Trustee.

  15                And then there are two other requests that we can get

  16 to, but I'd like to deal with the interrogatory first, if the

  17 Court will.

  18                THE COURT:      All right.

  19                Mr. Spragens?

  20                MR. SPRAGENS:       Thank you, Your Honor.

  21                As Your Honor probably saw in the correspondence that

  22 was produced, well that was filed in support of the status

  23 report, I have tried to figure out exactly the information that

  24 Mr. Young has been looking for.              I have tried to make a

  25 representative of the firm available to talk to Mr. Young to




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    1 try to get answers to these questions.

    2               With respect to this specific interrogatory, we have

    3 produced the written agreement itself.               I think that Federal

    4 Rule of Civil Procedure 33(d) entitles us to produce documents

    5 in response to interrogatories, documents that are maintained

    6 in the course, the ordinary course of business.

    7               There is a legal question that's at issue there, and

    8 the Trustee can draw her own conclusions from the face of the

    9 representation agreement about whether there is any entitlement

  10 to fees, that the agreement does not claim any entitlement to

  11 fees.      And I think the document speaks for itself.

  12                So we have responded to that interrogatory.                We've

  13 given them the source document now.               And in my view, this is

  14 sort of a "gotcha" attempt to try to set up a heads I win,

  15 tails you lose, situation by the Trustee.                 In fact, we've just

  16 given them the document and the Trustee can formulate its own

  17 legal position about the document.

  18                So in my view, we fully responded under 33(d).

  19                THE COURT:      Just as someone who's practiced with

  20 lawyers, for lawyers not to know how much money they think

  21 they're going to make seems a little, frankly, ridiculous.                           But

  22 I see your position.

  23                Mr. Young, did Hagh Law respond in a fashion that

  24 would give you the information?

  25                MR. YOUNG:      No, Your Honor.       Hagh Law, in response to




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    1 that same question, we asked the same question of Hagh Law, and

    2 they actually gave a percentage that they say they're entitled

    3 to.    So that I can understand.           I know what to do with that.

    4               I'll note that Manookian, PLLC did produce one

    5 agreement in the Shoemaker case.              It did not produce an

    6 agreement related to Fitzgerald, but said that any right to

    7 fees in Fitzgerald were defined in a Hagh Law engagement letter

    8 with the Fitzgeralds, and we've not seen a Hagh Law engagement

    9 letter with the Fitzgeralds.            So I don't know what to do with

  10 that.      To say there's some document that's floating out there

  11 that defines our interest, but we've not seen it, so I just, I

  12 don't know what it to do with that.

  13                MR. GABBERT:      Your Honor, with respect to the

  14 Fitzgerald case -- do you mind if I stand here, or should I

  15 come to the podium?

  16                THE COURT:      You can --

  17                MR. GABBERT:      With respect to the Fitzgerald case, we

  18 responded we don't have a copy of any agreement.                    But, you

  19 know, we think that any -- it says, "Manookian PLLC's

  20 entitlement, if any, to payment is governed by the specific

  21 terms of a written agreement between the Fitzgeralds and Hage

  22 Law.      Manookian, PLLC does not have a copy of the written

  23 agreement."        So we've done our best to answer that one.

  24         Obviously there's outstanding discovery to the

  25 Fitzgeralds, maybe that will turn up what he's looking for.




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    1 Maybe Hage Law has documents, although my understanding is they

    2 produced documents.

    3               So, you know, I think the Fitzgerald question is

    4 resolved, from our perspective.             We've given him what we have,

    5 which is no written agreement.             And we've told him that we

    6 looked and we don't have one.

    7               With respect to the Shoemaker case, we've given him

    8 the written agreement, and I think that that should resolve the

    9 question.

  10                MR. YOUNG:      And, Your Honor, just briefly.            That

  11 resolves the request for production on that point.                    What I'm

  12 asking is whether or not they claim any entitlement to fee

  13 based on any of that.

  14                THE COURT:      All right.      What the Court's going to

  15 order is a definitive statement from Manookian, PLLC as to any

  16 percentage or dollar amount they believe they are owed, period.

  17                Again, we're dealing with attorneys, attorneys know

  18 how much money.         This is not a calculus question.             Provide the

  19 information.

  20                MR. YOUNG:      Thank you, Your Honor.

  21                I'm ready to move on to the request for production,

  22 if the Court's ready.

  23                Request for Production Number 1 asked for any

  24 documents that supported any affirmative defense or denial that

  25 was set out in the answer.




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    1               And I understand the issue about that's awfully

    2 broad.     I've tried to define that in subsequent pleadings to

    3 say what I'm really looking for here is Manookian, PLLC, and

    4 the other defendants as well, we'll get there, but Manookian,

    5 PLLC has raised affirmatively that they have proof that would

    6 disprove some of the -- some of the Trustee's allegations.                          And

    7 things that they've mentioned in the past were they had proof

    8 by video or keyswipe information that showed that Afsoon Hagh

    9 never went through the premises, the law office, after July of

  10 2018.

  11                They have documents showing that somebody other than

  12 Cummings Manookian owned the furniture, equipment, telephone

  13 number, website domain.            That they had documents concerning

  14 Cummings Manookian's rights to use the premises, or not use the

  15 premises, at 45 Music Square West.               And some, I guess, vague

  16 illusion to time records for the cases, time records that the

  17 lawyers may have kept.           If those exist, we need them.

  18                If they can disprove that this is not -- we don't

  19 want to go on a wild goose chase.               We want to narrow down what

  20 the real issues are.           And if they can disprove the Trustee's

  21 allegations, then, by all means, we'd like the evidence to

  22 disprove that so that we can narrow this down.

  23                Those issues that I just -- we don't really know what

  24 we don't know, frankly, in this case.                But those are issues

  25 that I've seen referenced in pleadings before.                   And to the




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    1 extent that sort of information exist, we think the Trustee's

    2 entitled to receive it now.            And if we're not, then, Your

    3 Honor, we'd ask that the Court say what's not produced by a

    4 certain date can't be used.            I think it's that simple with

    5 regard to that.

    6               If video really doesn't exist, or key fob information

    7 really doesn't exist, that's fine.              If was just puffery or

    8 whatever, that's fine.          We just don't want something to come up

    9 later, well after discovery is closed, and we have to deal with

  10 it at that time.

  11                So that's what request Number 1 with regard to

  12 Manookian, PLLC involves, and that's really all we're looking

  13 for, Your Honor.

  14                THE COURT:      Okay.

  15                And, Mr. Spragens, Mr. Young has enumerated specific

  16 items or documents.          What is your objection to providing what,

  17 based off whatever conversations he's had with you, may or may

  18 not exist?

  19                MR. SPRAGENS:       Well, with respect to certain

  20 information, like he asked about key fobs and swipes, you know,

  21 what dates is he asking about, for example.                  Because producing

  22 here's -- let me tell you from my perspective what has happened

  23 in this discovery process.

  24                First of all, asking for all documents that support

  25 your affirmative defenses is a very broad, extremely broad,




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    1 interrogatory.

    2               THE COURT:      The Court agrees.

    3               MR. SPRAGENS:       So that is a huge challenge for us to

    4 respond to.

    5               THE COURT:      Right.    There's no dispute with that.

    6               MR. SPRAGENS:       Compounding that challenge is the fact

    7 that the allegations in the complaint are sweeping allegations

    8 about the conversion of property, the misuse of office

    9 resources, furniture.          There's all this, you know, stuff in the

  10 complaint, these very broad allegations.                 And I think if you'll

  11 indulge me just for a moment, what we have been trying to do in

  12 discovery is understand the nature of those allegations so then

  13 we could respond to them.

  14                And we've tried it the formal way by saying, please

  15 tell us what property are you talking about has been improperly

  16 used by Hagh Law that is actually Cummings Manookian's

  17 property, or has been used by Manookian, PLLC, that is actually

  18 Cummings Manookinan's property.              On what dates was there access

  19 to the premises at 45 Music Square West that was inappropriate?

  20                So we're trying to get the information that is

  21 underlying the allegations of the complaint so then we can

  22 provide that information to the Trustee.                 But as it stands

  23 right now, just tell us everything about your involvement in

  24 all these cases, that could turn up, you know, potentially

  25 thousands of emails, a lot of which are attorney-client




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    1 privileged, and a lot of which are not relevant to the

    2 allegations.

    3               With respect to what property was used, what's our

    4 defense.      We don't know what property they're saying was used

    5 improperly.       So if it's that, you know, Ms. Hagh, or that

    6 Cummings -- I mean, or that Manookian, PLLC was using 45 Music

    7 Square West on certain dates, then we might be able to do a

    8 search and respond to that.

    9               And frankly, Your Honor, this is why I have offered,

  10 time and time again, to make representatives of, you know,

  11 Manookian, PLLC available to talk to Mr. Young so we can try to

  12 figure out what's there and what exists and what is responsive

  13 to their discovery requests.

  14                But as it stands right now, they've made sweeping

  15 allegations in the complaint.              They haven't told us much of

  16 anything about the details behind those allegations.                     I think,

  17 as I've told the Court before, that those allegations couldn't

  18 pass a Rule 9(b) scrutiny on these fraud allegations if we put

  19 them to their burden.           But I just want to know what they're

  20 asking for and we will make a good faith effort to respond.

  21                I have never before offered to make a client

  22 available to the attorney from the other side for effectively

  23 an informal deposition, and I will do so here.                   And I think the

  24 fact that we're all lawyers, it would be a very productive

  25 conversation, but he hasn't taken me up on that offer.




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    1               So if he could help me respond, I would respond.                      As

    2 it stands right now, it is extremely broad, sweeping discovery.

    3 And, you know, I can't go through every piece of property at 45

    4 Music Square West and talk about how it was acquired, on what

    5 date, who used it.         I'd like a little bit more clarity in order

    6 to respond.

    7               THE COURT:      All right.      What the Court's going to

    8 order on this one is, during our break I want the parties to

    9 confer.

  10                Mr. Young, I want you to provide time ranges, details

  11 about what property you believe might be at issue.                    And based

  12 off the enumerated list of things that you mentioned, Mr.

  13 Spragens, I want you to then say, okay, between this date range

  14 and that date range, if there are videos, if there's swipe

  15 records, we will provide X, Y, Z.               All right?

  16                So that's your homework for the break.               Because

  17 again, this one seems fairly easy to resolve.

  18                As you've already admitted, Mr. Young, your original

  19 request was overly broad.            You have some basis based off

  20 representations from Manookian, PLLC as to what might be

  21 available.        So any items that are in that list, or similar, or

  22 were available and known once you get this date range, like any

  23 other piece of discovery that isn't turned over, you run the

  24 peril of at trial you're not able to use it.

  25                I'm not making any ruling one way or the other,




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    1 because I think it would be a very fact specific finding,

    2 since, again, there is an unknown universe out there.                    But

    3 obviously anything that was available and known that would meet

    4 the request, once you get the date range and the specifics of

    5 what property might be at issue, would be subject to being

    6 excluded if you try to use it at trial.

    7               So that one's an easy one to resolve, and I'll give

    8 that as your homework for the break.

    9               MR. GABBERT:      And does the Court know what time March

  10 madness tips off today?

  11                THE COURT:      No.   But again, this is a painful day --

  12                MR. GABBERT:      I understand, Your Honor.

  13                THE COURT:      -- for all involved.

  14                MR. YOUNG:      Thank you, Your Honor.

  15                The last issue with regard to Manookian, PLLC is

  16 Request Number 8, which we were seeking documents and

  17 correspondence related to the Fitzgerald case.                   Specifically

  18 what we're looking for is any email communication with third

  19 parties between Manookian, PLLC and any third parties.

  20                I'm not looking for client confidentiality.                I'm not

  21 looking for that sort of thing.              What we're trying to establish

  22 here, the parties, both Manookian, PLLC and Hagh Law, have

  23 claimed that they, and not Cummings Manookian, did all the

  24 work.      And so I think we can verify or deny that by seeing how

  25 much work was done at different time periods by Manookian, PLLC




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    1 and by Hagh Law.

    2               We've received no emails from Manookian, PLLC, and so

    3 that's -- it's a finite universe and we're looking for emails

    4 related to that case from Manookian, PLLC to any third parties,

    5 not to clients, except to the extent that it's an engagement

    6 communication, which we've already asked for.                  But that's it on

    7 Request Number 8.

    8               THE COURT:      Okay.

    9               MR. GABBERT:      Your Honor, on that one, which is, I

  10 believe, Request Number 8, it requested all documents and

  11 communications that relate or refer to the Fitzgerald case

  12 including, but not limited to, correspondence between you and

  13 counsel for the defendants in that matter.

  14                What we have said is that it's a very broad universe

  15 of documents.         It does include attorney-client privileged

  16 documents.        It includes a lot of communications, frankly.                 And

  17 we said, if you can identify even general categories of

  18 materials she wants, we will be happy to look for them.                      But

  19 right now, that is -- it is too broad.

  20                So if what he is saying is, I'm looking only for

  21 communications between Manookian, PLLC and opposing counsel or

  22 third parties -- or I mean, I don't know what "third parties"

  23 means, but if we can get some specificity, we will look and we

  24 will try to produce those documents.                As it stands right now,

  25 you know, it's thousands upon thousands of document requests.




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    1               THE COURT:      All right.

    2               Mr. Young?

    3               MR. YOUNG:      Yes, Your Honor.       I'll be as specific as

    4 I can be.

    5               What we are looking for are communications with

    6 Defense Counsel, experts.           Anybody like that would not be

    7 privileged.       I understand that there would be a number of

    8 communications that are privileged.              We're looking for

    9 non-privileged documents to establish whether or not, you know,

  10 how involved Manookian, PLLC was in the trial of that case.

  11                MR. GABBERT:      And, Your Honor, I would just note that

  12 both of those categories could contain privileged

  13 communications.         The expert communications, a lot of those

  14 communications, may be privileged under the rules.                    And when it

  15 comes to correspondence with Defense Counsel, it depends on if

  16 we're talking about negotiations towards settlement or not.

  17                I know the Trustee has taken the position that

  18 settlement negotiations are always completely protected, and

  19 so, you know, we will look for those.                And if we have documents

  20 that are responsive in those two categories that are

  21 privileged, we'll produce a privilege log and he can evaluate.

  22                MR. YOUNG:      And that's fine with me, Your Honor.

  23                THE COURT:      All right.      Well, again, why are we here

  24 on that one?        That should have been resolved amongst the

  25 lawyers from day one.




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    1               So the Court will grant that request to make -- to

    2 compel that production, because it is what it is.                   And if there

    3 are no responsive documents, there's no responsive documents.

    4 Let's keep it moving.

    5               MR. YOUNG:      Thank you, Your Honor.

    6               That's all I have on the Manookian, PLLC motion to

    7 compel.      If the Court would like me, I could take up the Hagh

    8 Law and Hagh motions to compel next.

    9               THE COURT:      Okay.

  10                MR. YOUNG:      And those are related.         There's only one

  11 distinction between those two, and I'll try to highlight that

  12 first for the Court.           And then everything else -- everything

  13 else is identical as between Hagh and Hagh Law.                   The questions

  14 were virtually identical, and the responses were virtually

  15 identical.

  16                The one exception, and this is Hagh Law Interrogatory

  17 Number 8, and it asks to identify the basis for claiming the

  18 percentages of interest that I referred to earlier in each

  19 case.      And this is actually a pretty finite question here,

  20 because there have been -- there have been engagement letters

  21 produced that were between Cummings Manookian and the

  22 Fitzgeralds, for example, and Cummings Manookian and the

  23 Shoemaker plaintiffs.           And then there was one that was

  24 Manookian, PLLC and the Shoemaker plaintiffs.                   And then there

  25 was one that was a much later one that was Hagh Law and the




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    1 Shoemaker plaintiffs.

    2               What I would like in response to Interrogatory Number

    3 8 is for Hagh Law to identify, by date and party, the

    4 engagement letters it claims that -- the claims that gives it a

    5 right to fees in Fitzgerald and Shoemaker.

    6               So for example, if Hage Law is taking the position

    7 that the Cummings Manookian engagement letter with the

    8 Fitzgeralds is what gives rise to its claim for fees, I just

    9 want to know that so that we know we have that document.                     If

  10 there's another document out there that they think gives rise

  11 to the claim for fees, I just want to know what that document

  12 is to know whether we have it or not.                 Because, right now,

  13 it's very difficult for me to ascertain.

  14                So, for example, the only one I have in Fitzgerald so

  15 far is an engagement letter between Cummings Manookian and the

  16 Fitzgeralds.        And so I don't know if that's the engagement

  17 letter upon which they base their client for a fee, or if

  18 there's another one out there.

  19                And so I'm looking just specifically for an

  20 identification by date and party of the engagement letters that

  21 they believe gives rise to a claim for fees in Fitzgerald and

  22 Shoemaker, just in those two cases.               And that would resolve the

  23 issue with Interrogatory Number 8 as to Hagh Law.

  24                THE COURT:      Okay.

  25                Mr. Gabbert?




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    1               MR. GABBERT:      Well, I think we sent seven -- we

    2 resent six letters regarding fees this morning.                  One of them I

    3 think is on Manookian letterhead, but it says the attorneys are

    4 Manookian and Hagh Law.           And I think I've sent that before, but

    5 clearly that gives Hagh Law all the right to fees.                   But, you

    6 know, they're there, and she did all the work.

    7               And Manookian couldn't get a fee because Manookian

    8 didn't have a license, and she continued to represent all of

    9 these plaintiffs and basically got the cases to conclusion.

  10 And whether she had a fee agreement or not, quite frankly,

  11 Manookian can't get a fee, Manookian has no license, and she

  12 basically did all the work.

  13                And we've already agreed, I agreed this morning -- my

  14 client, I think you know, had a baby not too long ago, and

  15 she's got the kids home on spring break this week.                    Three kids.

  16 I think the oldest may be 4.

  17                But we've agreed to produce emails and everything

  18 else by the Monday of the last week of the month.                    I think it's

  19 the 26th or 27th, or something like that.

  20                But we produced the fee agreement.             I think we

  21 produced them before, and I emailed them back to him again this

  22 morning.

  23                THE COURT:      All right.      So it's your understanding

  24 there are no other agreements that would entitle Hagh Law to

  25 fees?




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    1               MR. GABBERT:      Other than the ones I've sent him.

    2               THE COURT:      All right.      So --

    3               MR. GABBERT:      Well, wait a minute.         If she's doing

    4 work on a case she's entitled to a fee.                Whatever agreement she

    5 has, whether it's in writing or not, if she's working on a case

    6 she's entitled to a fee.           She and the client may have done

    7 that, and may have done it in writing, may have not done it in

    8 writing, but that doesn't mean she's not entitled to a fee.

    9               And Cummings, and Cummings Manookian, cannot get fees

  10 because their named partner is disbarred, or basically, his

  11 license is suspended.           And she didn't work for them, and she

  12 never was a member of either one of those firms.                    She had been

  13 a contractor and she did work for them, but she was an

  14 independent contractor.            But she was never a part of either one

  15 of those firms.

  16                So I don't know where he gets to that, quite frankly.

  17 We'll talk about it another day.               That will be a legal issue.

  18 But I think it's a fairly clear legal issue, based on what I

  19 know as a as a prior disciplinary counselor, as well.

  20                THE COURT:      Okay.

  21                So, Mr. Young, it sounds like you've got the

  22 information that is going to be responsive.                  If you need to

  23 actually pin it down with dates, I mean, Mr. Gabbert's

  24 available right now.           During the break sit down and have him

  25 answer any questions specific to the agreements.                    And if




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    1 there's anything unanswered, he's available for you to ask, you

    2 know, what does this really mean?

    3               MR. YOUNG:      Well, Your Honor, here's the -- I just

    4 looked through what was sent.             I had not looked through this

    5 morning what was sent to me right before we started here, but I

    6 just now looked through it.            And again, herein lies the issue.

    7 I received one Fitzgerald engagement agreement, and that's a

    8 Cummings Manookian Fitzgerald letter, a Cummings Manookian

    9 engagement letter with Fitzgerald.

  10                If there are none, I just wanted something in writing

  11 that says, there are no more.              That's all we need in this case.

  12 If this is it, if I've got the universe, a response to

  13 Interrogatory Number 8 that says, you've now received

  14 everything we have, is fine.

  15                I just don't want to be facing a situation where

  16 three months from now somebody finds another letter on a server

  17 that hadn't been searched.             That's what I'm trying to void,

  18 because I was -- I was told that she was still looking through

  19 another server.

  20                And so if that's it, then a written statement that

  21 says that is fine.

  22                THE COURT:      Okay.    Well, I think Mr. Gabbert made

  23 that representation in open Court.

  24                MR. GABBERT:      And this is just on the Fitzgerald

  25 case, the question now that you're looking for?




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    1               MR. YOUNG:      What's that?

    2               MR. GABBERT:      Just on the Fitzgerald case is all

    3 you're looking for?

    4               MR. YOUNG:      Yeah.    Unless there's -- I just want to

    5 know that we've received everything on Fitzgerald and Shoemaker

    6 that exists.       That's all I need.

    7               MR. GABBERT:      Well, you've, I mean, I sent you some

    8 on Shoemaker this morning.

    9               MR. YOUNG:      Yeah.    Yeah.    And I've seen that already

  10 in the -- there was one for Cummings, or from Manookian, PLLC

  11 and one for Hagh Law.

  12                MR. GABBERT:      Well, the Manookian, PLLC lists Hagh

  13 Law as a co-defendant.

  14                MR. YOUNG:      Right.    I understand.       There's two of

  15 them there, but --

  16                MR. GABBERT:      Okay.

  17                MR. YOUNG:      Right.    But just a statement that says we

  18 received everything, is fine.

  19                THE COURT:      All right.      So between now and when we

  20 come back at two o'clock --

  21                MR. GABBERT:      Well, I'm going to have to check with

  22 my client on whether there's anything else on Fitzgerald other

  23 than what I have here.           I'll confirm that.

  24                THE COURT:      All right.

  25                MR. YOUNG:      Yeah.    And that's why I just asked for




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    1 that in writing.

    2               THE COURT:      All right.      I'll expect that confirmation

    3 to be provided by two o'clock today.

    4               MR. YOUNG:      Thank you, Your Honor.

    5               The other issues are all requests for production, and

    6 they apply equally to Hagh Law.             And I assume Hagh, the first

    7 is Request Number 1, which is the exact same one we just went

    8 through with regard to Manookian, PLLC.                That is, that is

    9 whatever you've got to prove your affirmative defenses.                     And I

  10 would presume that we can work that out the same way the Court

  11 told us to work out Request Number 1 with regard to Manookian,

  12 PLLC.      So --

  13                MR. GABBERT:      Well, on that one, Your Honor, please?

  14 Hagh Law had no ownership or light lease or anything on the

  15 agreement.        It has no access to anything related to the

  16 building, on access to the building.                So that's an

  17 inappropriate thing to ask Hage Law, because they did not

  18 maintain offices in that building.

  19                MR. YOUNG:      Your Honor, I just ask whatever they

  20 have, just to --

  21                THE COURT:      Right.    So your response is -- there's

  22 your response, and you've responded accordingly.

  23                MR. GABBERT:      We've responded.        Yeah.

  24                THE COURT:      All right.

  25                So anything else on that one, Mr. Young?




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    1               MR. YOUNG:      No.

    2               THE COURT:      I think Mr. Gabbert stated clearly his

    3 client's position.         And again, if something comes up later that

    4 should have been known and should have been turned over, then

    5 that's kind of how this works.             But based off of his

    6 representation, if they had no ability or access to get videos

    7 or swipe records or anything like that, then there's your

    8 response.

    9               MR. YOUNG:      Thank you, Your Honor.         That satisfies

  10 me.

  11                Request Number 3, copies of all engagement letters.

  12 This is the same issue that we just talked about before.                      And I

  13 understand this will be resolved the same way, which is a

  14 statement that says we produced all engagement letters that we

  15 have, is fine.         I just don't want -- again, I just don't want

  16 to find out later that there's another engagement letter that

  17 we didn't know and we've chased the case this way only to find

  18 out that there's something else out there.                  So the same issue

  19 as to Interrogatory Number 8 with regard to Request Number 3.

  20 And I assume we'll handle that the same way?

  21                THE COURT:      Yes.

  22                MR. YOUNG:      Request Number 5.        And this is somewhat

  23 related.       It asks for any document that supports its claims to

  24 fees.      Again, that's going to be -- I assume that's going to be

  25 the engagement letters.            But if there are anything else, like




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    1 time records, I've seen some reference to time records, if any

    2 of the parties have, if Afsoon Hagh or Hagh Law have time

    3 records I think that would be responsive to Request Number 5.

    4               I've received none.         I don't know whether that means

    5 there are none, but I just want to get that on the record that

    6 if there are time records, we want them turned over.                    Because

    7 I've seen some reference to them, but we've not gotten

    8 anything.

    9               So I don't know if Mr. Gabbert knows whether his

  10 client has time records or not, but --

  11                MR. GABBERT:      These cases were contingent cases. Time

  12 was not an issue.

  13                MR. YOUNG:      Fair enough.

  14                And, Your Honor, the reason I bring that up is

  15 because obviously there are two ways to get a fee.                    One is by a

  16 written engagement letter, and one is by equity.                    And time

  17 factors into an equitable analysis, which is why I've asked for

  18 that question.

  19                THE COURT:      All right.

  20                MR. YOUNG:      But if there are none, we'll consider

  21 that resolved.

  22                THE COURT:      All right.

  23                MR. YOUNG:      Request Number 8.        And this is what Mr.

  24 Gabbert just alluded to, and he did send me an email last night

  25 that said that they would produce any email correspondence




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    1 related to Fitzgerald or Shoemaker by that date that he

    2 mentioned.

    3               MR. GABBERT:      The 28th.

    4               MR. YOUNG:      And so if we could just incorporate that

    5 in an order?

    6               THE COURT:      Please.     And put that date, the 28th, or

    7 whatever was agreed, between the two of you.

    8               MR. YOUNG:      That resolves the Trustee's issues.

    9 Those are the only issues the Trustee had regarding outstanding

  10 discovery.

  11                THE COURT:      All right.

  12                Mr. Spragens.

  13                MR. SPRAGENS:       See if I can use the technology

  14 without showing you my brackets.               All right.     Are you able to

  15 see that, Your Honor?

  16                THE COURT:      I can.

  17                MR. SPRAGENS:       Okay.    We may not need to refer to it,

  18 but I at least wanted to have it there.

  19                As Your Honor is aware, this action was filed two

  20 years ago, over two years ago.              There was a motion for turnover

  21 expedited, there have been a lot of proceedings over the last

  22 two years.        A year ago, we propounded this written discovery,

  23 in January of 2021.

  24                And sorry, I jinxed it.

  25                And our motion deals with the fact that the Trustee




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    1 has still not been able to give us, even, responses to our

    2 interrogatories, which are really taking the allegations in the

    3 complaint and saying, what information do you have to back up

    4 this allegation, or that allegation?               Questions like:       What

    5 assets are you alleging were converted or fraudulently

    6 converted?       What property are you alleging was misused, and

    7 when?

    8               And the Trustee's responses to each and every one of

    9 these, we now have some amended responses to our

  10 interrogatories, basically are, you know, you have the

  11 information.        We don't have the information.            But there's

  12 really no, there's no final statement that we don't know it's

  13 the statements are -- they're very boiler plate objections,

  14 Your Honor.

  15                So I'm happy to go through each interrogatory one by

  16 one and discuss them.           We have made repeated attempts to try to

  17 get this information from the Trustee and we've met with

  18 resistance every time.           So now we have essentially all of our

  19 interrogatories that we've propounded, we haven't been given

  20 the amount of damages that are being sought here, or how the

  21 Trustee views damages.           What is the trustee's calculation of

  22 damages?       We haven't been given the property, the assets that

  23 were converted.         We haven't been given an itemization of the

  24 real estate at the time that the real estate was improperly

  25 used.




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    1               And so that's what our discovery is seeking.                Our

    2 motion, which is docketed at 104, goes through each one and

    3 lays out why we view the responses as deficient.                   And I'm happy

    4 to walk through each and every one with Your Honor.

    5               I think once we get some guidance from the Court it

    6 would be -- you know, that might help us meet and confer, which

    7 we should have been able to do by now, I would think, and get

    8 this resolved.

    9               But it cannot be the case that the Trustee is allowed

  10 to just make all these allegations, which sound like fraud and

  11 are very specific and detailed, and then refuse to answer

  12 discovery about, okay, well, what's the basis of these

  13 allegations.        I would submit that we wouldn't have some of

  14 these other issues with discovery that we've been talking about

  15 this morning if we had gotten some basic information in

  16 response to our interrogatories.

  17                So, you know, if the Court would like, I could go

  18 through these one by one.

  19                THE COURT:      That's what we said we're going to do

  20 today.      So start with Number 1.

  21                MR. SPRAGENS:       All right.     Thank you, Your Honor.

  22                Number 1 asks for case names of every previously

  23 pending legal action in which Cummings Manookian withdrew,

  24 terminated their representation, or stopped providing legal

  25 services to any client from January 1st, 2018 to the present.




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    1               In other words, we are trying to find out in which

    2 cases the Trustee's view as that the Cummings Manookian

    3 withdrew.      The Trustee objected and refused to provide

    4 information in response to that, other than citing a letter

    5 that was sent to the Fitzgerald plaintiffs about notice of

    6 withdrawal.

    7               If that is the trustee's full response to

    8 Interrogatory 1, and the Trustee is not going to be able to

    9 supplement it, that's fine.            But I think the interrogatory

  10 response needs to say that this is all we know.                   Instead, it

  11 says, this calls for information we're still seeking in

  12 discovery.

  13                So with each of these we're caught in this cycle of,

  14 we ask a question and the response is, well, we don't know, you

  15 tell us.       So that's our view on Interrogatory 1.

  16                THE COURT:      So if I understand, Cummings Manookian

  17 knows what cases and clients they were involved and during that

  18 date range, knows when they withdrew, or if they withdrew, and

  19 you want the Trustee, who stepped in the shoes with not all the

  20 books and records, and certainly not all the information and

  21 the knowledge of this, to answer that interrogatory?

  22                MR. SPRAGENS:       I want the Trustee to answer what the

  23 Trustee knew at the time she made these allegations in the

  24 adversary proceeding.           And I think that's reasonable.            I don't

  25 think you're entitled to make allegations of fraud in an




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    1 adversary proceeding, or any federal lawsuit for that matter,

    2 and then say, well, I don't actually, I don't know the answer.

    3 They just alleged fraud upon information and belief.                    I don't

    4 think that is how it works.

    5               I understand that bankruptcy is a different universe

    6 and, one, frankly, as the Court knows, that I don't practice in

    7 very often, but I still don't think the Trustee is entitled to

    8 just say, I don't know what the basis for these allegations

    9 was.     But if that's the answer, the Trustee needs to say so.

  10                THE COURT:      Okay.

  11                Mr. Young?

  12                MR. YOUNG:      I'm happy to address this one, Your

  13 Honor, and I'm going to address it sort of in a global way.

  14                As I think the Court knows, trustees have no

  15 firsthand knowledge.           Trustees come into a case cold and they

  16 learn what they can get from third parties, from the debtor,

  17 from defendants, from creditors, from whomever like that.                       And

  18 in this case it's been incredibly challenging because nobody

  19 will turn over the information without Court orders.

  20                And even after Court orders, they still don't turn

  21 over the information.           In the case of the Cummings Manookian

  22 motion to compel that was entered a year-and-a-half ago, still

  23 haven't gotten most of that information.

  24                And so the complaint, as the Court may recall, Mr.

  25 Manookian wanted the complaint filed by a certain date.                      We




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    1 filed that complaint based on facts and reasonable inferences.

    2 That's what the -- that's what the law allows, facts and

    3 reasonable inferences.

    4               We have a handful of facts.           We have stated where we

    5 have facts.       Those facts, frankly, mostly come from pleadings,

    6 and the few relevant documents that we've gotten from the

    7 defendants and from Cummings Manookian, but a lot of it have

    8 come from pleadings in other cases.              Everything else, at this

    9 point, is just an assumption, really, based on the facts.                      And

  10 we've stated that where that's been the case.

  11                It is a little bit like a game of hide the ball where

  12 then the trustee's criticized for not knowing the color of the

  13 ball that's being hidden.            We are doing the best we can to

  14 respond.       After discovery I'm sure we can respond more fully,

  15 and we will respond more fully, once we get all this

  16 information.

  17                But essentially, as the Court's noted, the parties

  18 are asking us for information that's within their exclusive

  19 control, that in a lot of respects they've withheld from the

  20 Trustee, and then criticizing the Trustee because she doesn't

  21 know information that's been withheld from her.

  22                And I think the Court will -- if the Court will look

  23 through our responses, you'll see that we filed objections, and

  24 that in almost every case we said, notwithstanding the

  25 objection, here's the best we know how to answer it at this




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    1 time.

    2               I've never, I've represented trustee's for over 15

    3 years, I've never gotten this sort of discovery to a trustee

    4 because everybody understands the knowledge limitations of a

    5 trustee, that a trustee goes out and gathers information, not

    6 disperses information.          So I don't know what to say about it,

    7 other than that.

    8               But I think that our responses are very fair.                 I

    9 think that they're very complete under the circumstances.                       If

  10 there's something that we legitimately don't think is an issue,

  11 we've said so.         If there is information that we have or

  12 assumptions we're making, we've said so.

  13                And so I don't really know how to better answer this.

  14 I really tried.         I took the Court's admonition to heart.               The

  15 Trustee and I spent a lot of time going back through these to

  16 say, is there anything we can refine in these answers?                     And

  17 we've done that to the best of our ability.                  But unfortunately,

  18 we're still very early in discovery in this case.

  19 Unfortunately, that's where we are.

  20                And so until there's been some more thorough

  21 discovery we can't possibly answer questions like -- and we'll

  22 talk about this in a minute, but we just got another 86 request

  23 for admission filed since the last -- served since the last

  24 hearing that ask things like:              Admit that this engagement

  25 letter is the authentic version.




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    1               The Trustee wasn't the author of that.               She wasn't

    2 there when it was signed.           The only way she knows whether

    3 something's authentic is whether the parties to that agreement

    4 tell her it's authentic.           That's just one example, but there's

    5 a 100 examples along those same lines.

    6               So that's our frustration in this case, and those are

    7 our limitations.         And if we need to handle this differently,

    8 Your Honor, we're happy to.            But we think that we've handled it

    9 appropriately and done the best job that we could do as a

  10 fiduciary to the estate.

  11                MR. SPRAGENS:       Your Honor, respectfully, two points

  12 in response to that.           You know, one is that fraud must be pled

  13 with particularity, and I don't care who pleads fraud, I don't

  14 care if it's a trustee or a plaintiff, personal injury

  15 plaintiff, whatever, you have to plead it with particularity.

  16 And when I ask for the particulars of your allegations of

  17 fraud, which is what Interrogatory Number 5 asks for, you know,

  18 what are the fraudulent actions that you have identified, you

  19 know, time, place, date, give us the who, what, where, when,

  20 why of the fraud, the Trustee says I don't have that

  21 information.

  22                Well, that is a pleading requirement for fraud.                  And

  23 if the Trustee doesn't have that information, the Trustee needs

  24 to say, I didn't know that at the time I filed it.                    I mean, the

  25 representation today that these allegations in the adversary




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    1 proceeding are based on, quote, "assumptions and inferences,"

    2 frankly, doesn't satisfy Rule 9 or Rule 8, I would submit, or

    3 Rule 11 for that matter.

    4               However, when we ask for things like what furnishings

    5 or equipment are you saying were converted by Manookian, PLLC

    6 or Hagh Law, we don't get any response.                But it would be useful

    7 to know what we're accused of so then we can respond to it.

    8               And, you know, I'm sympathetic to the fact that the

    9 Trustee doesn't have all the information.

  10                The other thing I would like to point out again is

  11 that I have offered on multiple occasions to make a

  12 representative, and specifically Mr. Manookian, available for

  13 Mr. Young to talk to.           So if he wants to talk about, okay, you

  14 know, I don't really know what property was there, tell me

  15 about the desks and the office, tell me about the file

  16 cabinets, tell me about the alarm system, we could have had

  17 that conversation.          Instead, we are handcuffed by the discovery

  18 process where we're trying to find out what's the nature of the

  19 allegations against Manookian, PLLC so we can respond to it.

  20 And that is the nature of every interrogatory that we are

  21 moving to compel further responses to.

  22                And the idea that, you know, I don't have it and I'm

  23 just going to say it's in your possession, or something like

  24 that, we at least need a definitive statement of what they have

  25 and don't have at this time.             And at the time, frankly, two




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    1 years ago, when they brought this action.

    2               I do have a separate issue to raise about the request

    3 for admission, but, you know, for now, I'd like to talk about

    4 the interrogatories.          And if we can go through other

    5 categories, stealing telephone numbers, or email addresses.

    6               Okay.    What telephone numbers or email addresses, I'm

    7 referring to Interrogatory Number 10, are we being accused of

    8 converting?       I think that's pretty basic, you know, based on

    9 public records, I guess, pleadings.              As Mr. Young had said,

  10 they should be able to respond to that.

  11                When they talk about stealing client files,

  12 Interrogatory Number 11, which client files are they saying

  13 were improperly converted?

  14                You know, when they talk about work on the Fitzgerald

  15 case that's just, I mean, essentially that's been made up and

  16 called an inference here, but we'd like to know if they have

  17 any information about specific work that was done on the

  18 Fitzgerald case that Manookian, PLLC is liable for in the

  19 nature of fraudulent conversion or some other tortious

  20 interference.

  21                So, you know, each and every one of the allegations

  22 that they made is a very serious allegation, and the fact that

  23 the Trustee is the Trustee does not immunize her from complying

  24 with Federal Rule 9 in the pleadings and then backing that up

  25 in discovery.         So that's what we're asking for.




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    1               And if they don't have certain information, and they

    2 didn't at the time that they filed the case, then that is the

    3 appropriate response.          But just pointing the finger back at us,

    4 in my view, doesn't satisfy their obligations under the rules.

    5               THE COURT:      Well, under that analysis I can tell you

    6 virtually every adversary proceeding that I've seen a trustee

    7 file for preferences or any other thing would be thrown out

    8 summarily by the Court under that standard, because the trustee

    9 just doesn't have that information.

  10                And your client filed this bankruptcy on behalf of --

  11 or Mr. Manookian filed on behalf of Cummings Manookian, right?

  12 There's a list of assets on the statements and schedules.

  13 There's a list of cases and clients that are no -- that's in no

  14 universe that Cummins Manookian has personal knowledge of.

  15                The Trustee doesn't have personal knowledge of any of

  16 this.      The Trustee is getting information from pleadings that

  17 were filed under penalty of perjury and the discovery process

  18 here.      So the Court understands your frustration if you're not

  19 used to practicing in bankruptcy Court.

  20                MR. SPRAGENS:       Sure, Your Honor.

  21                THE COURT:      But this is not an IP case.           This is a

  22 trustee who you got a complaint that was filed on a date

  23 certain with the information available when it was filed.                       And

  24 you certainly had the ability to file a motion to dismiss, move

  25 for summary judgment.           Whatever's available to you in the




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    1 litigation process is still available to you, based on if

    2 you're not satisfied with the answers and you don't believe

    3 that there's a cause of action that can be carried forward.

    4               But to ask the Trustee to go and create something the

    5 Trustee can't create is not possible.               And the Trustee doesn't

    6 have personal knowledge, because it was the Debtor who created

    7 the information and the circumstances.

    8               MR. SPRAGENS:       I appreciate that, Your Honor.            If I

    9 can just respond briefly?

  10                To get from point A, which is filing your bankruptcy,

  11 to point B, which was filing an adversary proceeding, including

  12 a lot of serious allegations of fraud.                And as Your Honor

  13 knows, this has some significant overlap with the receivership

  14 action in State Court in Williamson County, and what we're

  15 trying to figure out is how do we get from point A, which is a

  16 bankruptcy with a schedule of debts and creditors and all that

  17 stuff, to this very serious adversary preceding with these very

  18 serious allegations, which are based on what?

  19                And so I take your point, Your Honor.              We will avail

  20 ourselves of the motion for summary judgment opportunity.

  21 However, the Trustee is just going to come in and say, it's

  22 premature because we can't respond to that.                  So I'd at least

  23 like to get some finality from the Trustee in terms of

  24 discovery responses so then we can come in and file our motion.

  25                THE COURT:      All right.      Well, let's do what we're




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    1 doing.     Let's go line by line and we will get finality while

    2 all the parties are in the room.

    3               MR. SPRAGENS:       Well, Your Honor, we had talked about

    4 Interrogatory Number 1, which was the withdrawal dates for

    5 Cummings Manookian, and what are the Trustee's allegations, or

    6 what's the Trustee's information about Interrogatory Number 1.

    7 I'm not sure that you've ruled on that one.

    8               THE COURT:      The Court finds Trustee's response to be

    9 acceptable.       And with the --

  10                Mr. Young, is the Trustee in receipt of any

  11 additional information based off of the subsequent items that

  12 have been disclosed?

  13                MR. YOUNG:      No, Your Honor.

  14                THE COURT:      All right.

  15                MR. SPRAGENS:       Interrogatory Number 2 relates to

  16 Interrogatory Number 1, which is legal services after that

  17 withdrawal date.          And essentially Trustee said, I didn't answer

  18 1, so I'm not answering 2.

  19                THE COURT:      And again, Mr. Young, you're now in

  20 possession of various engagement letters that should encompass

  21 the subsequent work by any other firms that are related to

  22 these proceedings.          Do you have any responsive information in

  23 addition to what has been given?

  24                MR. YOUNG:      No, Your Honor.       Simply because there's a

  25 we don't -- we have not been given anything that shows that




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    1 Cummings Manookian actually terminated its relationship with

    2 anything.      So if it hasn't terminated as a relationship, then I

    3 have nothing about what happened after a termination, so --

    4               THE COURT:      Mr. Spragens?

    5               MR. SPRAGENS:       I mean, in the response to Number 1,

    6 there is the withdrawal letter in the Fitzgerald case.                    So I

    7 think that that would be one that they could respond to based

    8 upon that.

    9               THE COURT:      All right.

  10                MR. YOUNG:      Your Honor, if I may address that?

  11                A withdrawal letter doesn't mean that legal services

  12 had stopped.        What has to happen is a withdrawal in the case,

  13 and that didn't happen.            Cummings Manookian did not withdraw in

  14 the case, and so --

  15                THE COURT:      And here we go back to the argument of,

  16 are you going to assert that you're owed money after the

  17 withdrawal?        I mean, this thing is becoming a circular

  18 argument.       Again, we're all lawyers here.            If that information

  19 is necessary to prove a particular element of a cause of

  20 action, it needs to be provided on what the Trustee is relying

  21 on.

  22                Now, it gets very circular in that we keep arguing

  23 about, you know, is this the only agreement?                  Was there

  24 subsequent agreements?           The agreement stands for what it is.

  25 At some point we just need to disclose the underlying, does




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    1 Cummings Manookian believe they're owed any money, and why.

    2 Does the Trustee believe Cummings Manookian is owed any money,

    3 and why.

    4               I mean, that's the essence of what we're talking

    5 about here.

    6               MR. SPRAGENS:       And, Your Honor, and only the Trustee

    7 can answer that question, because Cummings Manookian is not an

    8 entity.      There's not even a lawyer associated with it.                So it

    9 couldn't exist in the future, or right now, because Mr.

  10 Manookian doesn't have a law license.

  11                So, you know, the Trustee is the one who gets to make

  12 that decision at this point.

  13                THE COURT:      So I think that's the best way to frame

  14 why we're here, right?           It's all about the money.           This is

  15 Bankruptcy Court and every second we're here somebody's not

  16 going to get a dollar, or in this case lots of dollars.

  17 Because we're here talking about things that are obvious, and

  18 should be for a bunch of lawyers who have resolved everybody

  19 else's disputes for years and can't seem to get past the forest

  20 for the trees on this dispute.

  21                So let's keep going.

  22                MR. SPRAGENS:       So Interrogatory Number 3 says, "If

  23 the Trustee alleges that Cummings Manookian is entitled to

  24 attorney's fees, or payment from Afsoon Hagh, Hagh Law, or

  25 Manookian, PLLC, identify in which cases."




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    1               I mean, this is the theory of the case here, and so

    2 that's all we're asking for.            And I, you know, I think that's a

    3 reasonable thing to be requesting in your first set of

    4 interrogatories.

    5               MR. YOUNG:      And, Your Honor, if you'll look at the

    6 response to Number 3, we did.             We cited every -- well, in the

    7 amended responses we've actually cited the two remaining cases

    8 to which are -- that are issues, and the dates that we

    9 understand the start and we understand the stop.

  10                But the questions about, you know, identify all

  11 settlement offers obtained by Cummings Manookian, for example,

  12 the Trustee has no way of knowing.               The Trustee hasn't been

  13 given Cummings Manookian's case files.

  14                You know, identify all legal work perform by Cummings

  15 Manookian in the case such as research, drafting, number of

  16 hours spent, there's no way for the Trustee to know that.                       The

  17 Trustee knows what cases, and the Trustee has done her best to

  18 identify the start and stop dates.

  19                THE COURT:      Okay.

  20                MR. YOUNG:      The Trustee has come in and said that

  21 Cummins Manookian is entitled to fees in these cases and we're

  22 trying to figure out what's the basis for that allegation.                           And

  23 in fact, some of the cases, I mean, Cummins Manookian wasn't a

  24 going concern during some of that time period, or at least --

  25 and I haven't looked at these amended responses which just came




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    1 in earlier this week, but, you know, that's why we're trying to

    2 find out what the Trustee's position is on this.

    3               And if the Trustee's position is, you know, we think

    4 that Cummings Manookian is entitled to some fee, but we can't

    5 tell you on what basis that, you know, theory travels, whether

    6 it's quantum meruit, or there was a settlement offer that was

    7 turned down, and so Cummings Manookian has some entitlement to

    8 that, that's all we're trying to learn here.

    9               And now we have a list of two cases, and we've been

  10 recently given an approximate start and stop date of Cummings

  11 Manookian's involvement.            We still don't really know much about

  12 why Cummings Manookian is entitled to a fee.

  13                MR. YOUNG:      Your Honor, I can answer that question

  14 right now.        The complaint answers it.          The answer to that

  15 question is, because there are engagement letters between

  16 Cummings Manookian and these plaintiffs that establish a legal

  17 right to the fee.          That's the answer to why Cummings Manookian

  18 is entitled to a fee this case.

  19                THE COURT:      All right.      There's your answer.

  20                MR. SPRAGENS:       Okay.    Well, that's the Trustee's

  21 position about the engagement letter, I guess.

  22                And the Trustee's position about withdrawal letters

  23 is that they don't actually constitute withdrawals.                    I mean,

  24 we're learning, even today, about the theory of the case.                       This

  25 is not information that had been provided to me before today.




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    1               Number 4, ask for hours.          Again, same inquiry.         We're

    2 just trying to find out what's the basis.

    3               I assume the Trustee's answer is, we don't know how

    4 many hours were worked by Cummings Manookian.                  If that's the

    5 answer, I would just like the Trustee to write that, rather

    6 than objecting to what I think is a reasonable interrogatory.

    7               THE COURT:      Mr. Young?

    8               MR. YOUNG:      Your Honor, we don't know.           And we said

    9 that we're still seeking discovery on that issue.                   Maybe Mr.

  10 Manookian knows that and will say something in his deposition.

  11 I don't know.

  12                THE COURT:      All right.

  13                MR. YOUNG:      There's no way for the Trustee to know

  14 that.

  15                THE COURT:      When is Mr. Manookian's deposition?

  16                MR. YOUNG:      It's not been scheduled, Your Honor.

  17                THE COURT:      All right.      We're going to do that today,

  18 by the way.

  19                MR. SPRAGENS:       And I assume, also, the Trustee's

  20 deposition and Mr. Young's deposition.

  21                THE COURT:      We're going to -- we're going to -- we're

  22 going to get all these discovery issues resolved.

  23                It appears that all of these are ripe for further

  24 discussion after the full and total depositions are taken.                           And

  25 at that point, any answers that are deemed unresponsive the




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    1 parties can confer.

    2               Because it sounds like most of this is going to be

    3 driven by additional information that's available, not to the

    4 Trustee at this moment, but is locked away deep inside Mr.

    5 Manookian's brain somewhere.            That while he's under oath he

    6 will enlighten the Trustee and the other parties on exactly

    7 what happened so that the Trustee does what trustees do all the

    8 time, they amend complaints, they dismiss complaints.                    They

    9 move on if there's nothing there or it's not sustainable for

  10 the original theory of the case based off of the original books

  11 and records or whatever they used with the filing of the

  12 pleading.

  13                So that's kind of how this works.             And so for the

  14 parties to resolve these, you need to work together with the

  15 total discovery that Mr. Manookian holds the keys to the

  16 kingdom.

  17                MR. SPRAGENS:       Well, that's certainly the Trustee's

  18 theory.

  19                THE COURT:      It's not a theory, Mr. Spragens.            The

  20 Trustee was not there.           The Trustee has no crystal ball.             The

  21 Trustee steps in to save the estate for the benefit of

  22 creditors based off the actions of the people who put it in

  23 bankruptcy.

  24                I don't know -- I don't know what you expect the

  25 Trustee to come up with when the Trustee physically has no




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    1 personal knowledge and was not involved in any of the time

    2 frames that you're seeking information.

    3               MR. SPRAGENS:       Well, Your Honor, respectfully, I

    4 mean, Number 5 is the next interrogatory.                That's the one about

    5 fraud.     The Trustee made a bunch of allegations about fraud.

    6               And so it's one thing to preserve an estate, and to

    7 administer an estate, I certainly agree with Your Honor that

    8 that's an important function.             But let's talk about the

    9 adversary proceeding that we're here today on, which is the

  10 Trustee made a bunch of allegations about false representations

  11 or material omissions.           We've asked for more information about

  12 those.      And again on Number 5 we get told, well, actually, you

  13 know, we allege fraudulent transfers, but no fraudulent

  14 representations or material omissions.

  15                Can we get a little more information about that one?

  16                THE COURT:      All right.

  17                Mr. Young?

  18                MR. YOUNG:      Your Honor, I don't know what to say

  19 about that other than fraudulent transfers are not for all.

  20 548 is not fraud.          That's a fraudulent transfer and it's

  21 totally different.          And there are no material omissions, there

  22 are no fraudulent misrepresentations, and we've said that.

  23 We've said this is a 548 case, not a fraud case.

  24                And so I don't know how to say that more clearly than

  25 we've said that.




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    1               THE COURT:      And you're basing the fraudulent

    2 transfers on what?

    3               MR. YOUNG:      On transfers to or for the benefit of

    4 another party for less than reasonably equivalent value at a

    5 time that the estate was insolvent, or that the transfer made

    6 the estate insolvent.          This is a pretty basic 548 argument,

    7 Your Honor.

    8               THE COURT:      Okay.

    9               Mr. Spragens, with the limitation on its merely

  10 transfers, what do you believe would be responsive beyond what

  11 Mr. Young has represented is the Trustee's position?

  12                MR. SPRAGENS:       Well, Your Honor, I think intentional

  13 conversion of property falls into the nature of fraud.                     I mean,

  14 any sort of intentional misrepresentation that's being accused

  15 in this complaint, which, I mean, the complaint is full of very

  16 specific allegations -- well, I misstated that, but very --

  17 well, let's say, allegations that Hagh Law or Manookian, PLLC

  18 have taken premises, furniture, equipment, intellectual

  19 property, attorney's fees.             I mean, have taken them, so this is

  20 intentional misconduct, that's in the nature of a fraud.

  21                And I can't speak to the Bankruptcy Code if the fraud

  22 alleged here doesn't really mean a fraud, but the complaint is

  23 full of allegations of conversion, and essentially theft, that

  24 taking a property that one is not entitled to.

  25                So we are asking:        What exactly are you alleging has




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    1 happened here?

    2               And again, I think that's an appropriate inquiry.                     If

    3 you're a Trustee, or any other plaintiff, I think you should be

    4 able to say, well, here's what we are alleging was taken, here

    5 are the fees that we allege the law firm, Cummings Manookian,

    6 is entitled to, that Manookian, PLLC, Afsoon Hagh, and Hagh Law

    7 have essentially stolen.

    8               MR. YOUNG:      And, Your Honor, we answered that in

    9 response to Number 9, that question.

  10                THE COURT:      What is your answer?

  11                MR. YOUNG:      The question is, "Identify the office

  12 space and specific furnishings and equipment you allege Brian

  13 Manookian or Manookian, PLLC utilized in Paragraph 20 of your

  14 complaint."

  15                And the response is, "Premises located at 45 Music

  16 Square West, Nashville, Tennessee, and all the furnishings,

  17 equipment, and personal property located therein."

  18                MR. SPRAGENS:       I don't know what furnishings or

  19 equipment they're referring to.              I understand there --

  20                THE COURT:      There are statements and schedules --

  21                MR. SPRAGENS:       Uh-huh.

  22                THE COURT:      -- that list everything that Cummings

  23 Manookian owned.

  24                MR. SPRAGENS:       And I don't think -- and I don't have

  25 them in front of me, I don't think that those statements and




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    1 schedules even refer to property inside 45 Music Square West.

    2 I don't think Cummings Manookian owned that property.                    They

    3 didn't own 45 Music Square West, for starters.                  And I don't

    4 think that they own the property inside 45 Music Square West.

    5               But if that's what this is based on, then that's

    6 great, Your Honor.         Can they just write that in their response

    7 to our interrogatory?          I'd love to -- I'd love to know.

    8               THE COURT:      Mr. Young, if you could amend --

    9               MR. YOUNG:      Your Honor, I read it verbatim out of our

  10 responses.

  11                THE COURT:      To Interrogatory Number 9.

  12                MR. YOUNG:      Correct.

  13                THE COURT:      All right.      So we're talking about Number

  14 5.

  15                MR. YOUNG:      But Number 5 asks for instances of fraud

  16 that we're not alleging any material omission or false

  17 representation, that is the question.                There are no allegations

  18 of that.

  19                MR. SPRAGENS:       You all can correct me if fraud means

  20 something different in bankruptcy court than it does everywhere

  21 else.      My understanding of the Bankruptcy Rules and the Rules

  22 of Civil Procedure are that fraud must be alleged with

  23 particularity.         And I don't think that the response to Number 9

  24 is sufficient, either.           "Premises located at 45 Music Square

  25 West and all furnishings, equipment, and personal property




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    1 therein."

    2               So if he is not alleging that there was wrongful

    3 conduct, or if the Trustee is not alleging that there was

    4 wrongful conduct, the taking of property that was not -- that

    5 Afsoon Hagh, Hagh Law, and Manookian, PLLC were not entitled

    6 to, then I guess I've misunderstood the nature of the adversary

    7 proceeding.       I think that this complaint includes very detailed

    8 allegations of fraud.

    9               THE COURT:      And here we go in another circle.             The

  10 Trustee has made allegations based off information and belief

  11 and the knowledge present when this was filed.                   Mr. Young has

  12 just articulated it's based on use, misuse, continued use,

  13 whatever it ends up being or not, of the property that was at

  14 the address that Cummings Manookian owned.                  If they didn't own

  15 anything, well, guess what?             You got a pretty easy defense.

  16                MR. SPRAGENS:       I don't disagree, Your Honor.

  17                THE COURT:      Right?    So what are we arguing about?

  18                MR. SPRAGENS:       Well, I --

  19                THE COURT:      I mean, you've got a pretty easy defense.

  20 If you say, we don't own any property there.                  Okay.

  21                MR. SPRAGENS:       Well --

  22                THE COURT:      Your witness will testify to such.             The

  23 Trustee will take the list of anything there and say, okay,

  24 here's what I got, do you own any of it?

  25                MR. SPRAGENS:       But Your Honor understands that what I




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    1 don't want them to show up later and say is, oh, well,

    2 actually, we've got this other property, or some other thing.

    3 I mean, that's why I'm trying to find out, the nature of the

    4 allegations.       And certainly when we get into depositions, which

    5 we've been asking for for a long time --

    6               THE COURT:      Well, but --

    7               MR. SPRAGENS:       -- further light can be shed on some

    8 of those questions.         But I want to know is there going to be

    9 some other property that they're now going to say was misused

  10 or converted?

  11                THE COURT:      So the Trustee's bound by the property

  12 that's in the bankruptcy estate.               It's listed on statements and

  13 schedules.        There's no zinger here.         And if there is a zinger,

  14 guess what?        It's subject to the same thing.            If the Trustee

  15 knew, or should have known, and disclosed that, at this time

  16 the Trustee's not going to be able to use that.

  17                I mean, this is, we got a finite universe of what

  18 could be.

  19                MR. SPRAGENS:       And I appreciate that, Your Honor.

  20 And I'm encouraged to hear you say that they are going to be

  21 bound by these responses that are -- if they had information

  22 that was available to them prior to this time.                   And we're

  23 relying on these responses as we prepare our defense of this

  24 case --

  25                THE COURT:      Right.




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    1               MR. SPRAGENS:       -- I appreciate that.

    2               THE COURT:      And you should have known that from the

    3 beginning.       I shouldn't have to reiterate that, that that's how

    4 these rules work.         That's why there's rules, because discovery

    5 is a pain in the side of everyone, and we've standardized the

    6 practice and the process to ensure that there aren't zingers at

    7 trial where one party holds back or then changes their story at

    8 the end of the day.

    9               MR. SPRAGENS:       Well, Your Honor, in my view, every

  10 one of their responses includes a caveat that basically says,

  11 if I learn something later, I might change what I'm saying.

  12                THE COURT:      And that's how bankruptcy works.

  13                MR. SPRAGENS:       I appreciate what you're saying.

  14                THE COURT:      The Trustee doesn't have the information.

  15                I mean, again, under that standard there would never

  16 be a single adversary proceeding that would proceed in

  17 bankruptcy.        Every company that files bankruptcy, and then the

  18 Trustee who has a timeline where they have to file these

  19 actions, no action would ever get through any litigation

  20 because the Trustee doesn't -- the Trustee wasn't there.                      The

  21 Trustee doesn't have personal knowledge.

  22                It's only through the discovery process that they

  23 understand what happened.            So they're bound by their answers,

  24 which is why the answers say, if we find something else out,

  25 we'll include it.          And that's why Trustee's routinely drop




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    1 counts, add counts, you know, amend, dismiss the complaint

    2 entirely, because that's how it works.

    3               And that's why the collaboration here is different

    4 from other places, because they don't have the information.

    5 The Trustee is duty bound as a fiduciary to try to maximize the

    6 value of the estate with a time certain that they have to

    7 investigate and find what causes of action may or may not be

    8 present.

    9               So I'm hearing what you're saying, but by the same

  10 token, the Trustee is doing what the Trustee does in cases, in

  11 all cases.

  12                MR. SPRAGENS:       I understand, Your Honor.

  13                Here's one that maybe we could get a little light

  14 shed on today.         Number 16 is, "Do you contend that Cummings

  15 Manookian ever employed Afsoon Hagh?"

  16                We just heard some conversation about that earlier on

  17 the prior motion to compel.             So far, we've gotten an objection

  18 and I don't know, can we supplement that based on the written

  19 discovery that they've now acquired?

  20                THE COURT:      Well, Mr. Young, that's a fair one,

  21 right?      So is there any evidence or information that leads you

  22 to believe that Ms. Hagh was ever an employee of Cummings

  23 Manookian?

  24                MR. YOUNG:      No, Your Honor.       We have no information

  25 at this time to believe that.              But we've not seen -- we've not




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    1 seen the Debtor's employee records, we've not seen any bank

    2 account records, we've not seen -- we've not seen anything.

    3 So can I say that she's not an employee?                No.    But I also can't

    4 say that she was never an employee.              We just don't know that.

    5               I mean, we do know that she was acting as an agent,

    6 because she signed pleadings on behalf of the firm and she was

    7 listed as the point of contact on some of the invoices that

    8 they've sent us.         So we do know she was acting as an agent, but

    9 I have no idea -- we had no idea what the term of that agency

  10 was.      It may have been an independent contractor, we just don't

  11 know.

  12                We do know she wasn't, and we said so, we do know

  13 that she wasn't a partner.             We do know that.        But beyond that,

  14 we don't know what the scope of her agency was.

  15                MR. SPRAGENS:       I'm not sure how they are willing to

  16 know that she wasn't a partner, but they're not willing to know

  17 that she was an independent contractor, which we've now heard

  18 Mr. Gabbert say here, and that the documents support that.

  19                So again, from my perspective, representing, you

  20 know, this entity, in this case, the allegations are made.                           We

  21 are guilty until proven innocent and, you know, he doesn't

  22 accept the representations that he doesn't like, and he might

  23 accept the ones that he does.

  24                So it is a very tough situation to be in, in

  25 discovery when we don't understand the basis for the




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    1 allegations and we don't understand why --

    2               THE COURT:      Well --

    3               MR. SPRAGENS:       -- you know, he'll agree that she's

    4 not a partner, but he won't agree that she was an independent

    5 contractor.

    6               THE COURT:      Again, unless I'm missing something, if

    7 your position is she never worked for your client, pretty easy

    8 defense if they make an allegation that she was, that she never

    9 did, and here's the proof.

  10                MR. SCHWARTZ:       At what point, Your Honor, does Mr.

  11 Young comment -- I mean, so let's just point out he said, well,

  12 I don't have the time records, so I don't know.                   And we're

  13 saying, there aren't time records, she wasn't an employee.

  14                But he says Manookian, PLLC you're a fraudster and

  15 you just haven't produced the time records.                  I mean, at some

  16 point, this has to end and we get the benefit of --

  17                THE COURT:      Yeah.

  18                MR. SPRAGENS:       -- I mean, fulsome --

  19                THE COURT:      And again, you know, you've said a couple

  20 things.       You've used "fraud" a lot, and you talk about guilty

  21 until proven innocent.           Let's be realistic here, right?             A

  22 complaint is a complaint.            It's not a judgment.         It's not a

  23 ruling by the Court.           Every party gets to start off with what

  24 they're alleging.

  25                MR. SPRAGENS:       Well, Your Honor, respectfully,




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    1 there's $750,000 that's been impounded now for how long?                     Two

    2 years.

    3               THE COURT:      Which is exactly why we need to move on.

    4               MR. SPRAGENS:       I appreciate that, Your Honor.            But

    5 from my client's perspective, and I assume from Ms. Hagh's

    6 perspective, you know, there has been a burden over these last

    7 two years.       There have been very serious allegations made and

    8 there has been money impounded and here we are still trying to

    9 find out the nature of the allegations.

  10                So forgive me, please, Your Honor, if I seem a little

  11 exasperated by this process where, as I say, it's heads I win,

  12 tails you lose.         And we're here two years later, we've been

  13 asking to take the Trustee's deposition for a long time to find

  14 out some of this information, as well.

  15                THE COURT:      Well, again, your client either hired or

  16 didn't hire Ms. Hagh as an attorney.                Your client knows that

  17 information.

  18                MR. SPRAGENS:       Potentially.      I mean, Mr. Cummings was

  19 also a principal of Cummings Manookian, and so, you know, that

  20 might be another source of information for the Trustee.

  21                THE COURT:      Okay.    Well, in any event, again, it's an

  22 easy defense to say, no, and here's why.

  23                MR. SPRAGENS:       I appreciate that, Your Honor.            As

  24 long as they don't say, unless there's some other information

  25 out there that we don't know.




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    1               THE COURT:      The information that would be either

    2 provided by your client --

    3               MR. SPRAGENS:       Uh-huh.

    4               THE COURT:      -- Ms. Hagh, the law firms, the only

    5 information they're going to get is information that you

    6 provide.

    7               MR. SPRAGENS:       Well, they have the ability to get

    8 information from other sources, as well, including

    9 Mr. Cummings.        They've now sought Mr. Fitzgerald, the client in

  10 one of those matters, to produce information.                   And so we're

  11 just trying to find out what they have, what they know, and

  12 what they're alleging.

  13                For example, Number 18, economic damages, we've asked

  14 what's the basis for your allegation, what damages do you claim

  15 Cummings Manookian are owed?             And we are in the circular

  16 situation again where they say, we don't know, entitled to some

  17 damages.       And that's, again, what we're trying to find out.

  18                And if the answer is, we don't know, we can't answer,

  19 we don't have that information, then they should say that and

  20 be bound by it, is my request, Your Honor.

  21                THE COURT:      Okay.

  22                MR. YOUNG:      Your Honor, we've answered that by saying

  23 some or all of the fees and expenses collected in those cases,

  24 that's the universe.           I don't know whether yet, because I

  25 haven't finished discovery, whether the Trustee right now would




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    1 say the Trustee is entitled to 100 percent of the Fitzgerald

    2 fees and 100 percent of what's remaining of the Shoemaker fees,

    3 because we have a written engagement letter.                 But they may have

    4 proved that, hey, we added equitably and we're entitled to some

    5 portion of that.

    6               MR. SPRAGENS:       Well, again, it's good -- useful to

    7 hear some of these things, to learn that the Trustee's position

    8 is that she's entitled to 100 percent of those fees, not

    9 withstanding the withdrawal letter that we talked about earlier

  10 and all that stuff.          This is part of the discovery process.                  I

  11 agree, we shouldn't have to do it in front of the Court.

  12                I would love to learn these things in discovery,

  13 understand the nature of the allegations and the basis for

  14 these, you know, assertions.

  15                THE COURT:      All right.      So what I want to do on all

  16 of these --

  17                Mr. Gabbert, you look like you want say something.

  18                MR. GABBERT:      I'm want to ask a -- I want put

  19 something on the record before -- for the record, now I'd like

  20 to say something first.

  21                MR. SPRAGENS:       And, Your Honor, I also have -- the

  22 RFA question can be resolved in one fell swoop, I think.                      But I

  23 don't mean to interrupt.

  24                THE COURT:      All right.      Well, we've got about --

  25 we've got about another 30 minutes before I was going to take a




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    1 break.     If you want to save it to the bitter end.

    2               MR. GABBERT:      I can do it either way, Your Honor.

    3               THE COURT:      All right.      Well, I want to hear from

    4 you.

    5               MR. GABBERT:      Okay.     Actually, I want --

    6               MR. SPRAGENS:       He's trying to jump in the line of

    7 fire. I appreciate that, Mr. Gabbert.

    8               MR. GABBERT:      Based off what I've heard today, I want

    9 to get some clarifications.

  10                Is it the Trustee's position that if Brian Manookian

  11 did not specifically file something in the court, withdrawn on

  12 the record after he lost his license, as a sole member of both

  13 of these entities, Cummings Manookian and Manookian, and could

  14 not practice anymore, if he did not specifically file something

  15 in court, when he really wasn't allowed to because he'd lost

  16 his license, is it the Trustee's position that since he didn't

  17 withdraw, even though he had no license, he's still entitled to

  18 all the fees?

  19                MR. YOUNG:      Your Honor, I mean, if we want to talk

  20 about the substance of this, I'm happy to do that.

  21                So here are the facts.          Mr. Manookian gets suspended.

  22 The firm continues its existence.               Afsoon Hagh continues filing

  23 pleadings on behalf of Cummings Manookian for months after the

  24 suspension.        Cummings Manookian never files a notice of

  25 withdrawal in the case.            Instead, what I assume, and in fact




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    1 there was a motion to withdraw filed by Mr. Manookian in the

    2 case, no order was submitted.

    3               The motion specifically -- I'm talking about the

    4 Fitzgerald case right now.            The motion specifically says Afsoon

    5 Hagh will continue representing the plaintiffs in this case.

    6 She continued filing pleadings under the name of Cummings

    7 Manookian for a number of months until such time as she finally

    8 just dropped the moniker, Cummings Manookian, and kept

    9 everything else the same.           Didn't file a new -- a substitution

  10 of counsel or a notice of new address or anything, and we're

  11 supposed to say that that somehow was the transition to a new

  12 code.      I think the Court can understand our reservations about

  13 that.

  14                So to answer the question.           Yes, a licensed attorney

  15 continued filing pleadings on behalf of Cummings Manookian.                          It

  16 does not matter that it was not Mr. Manookian, it was a

  17 licensed attorney filing on behalf of the law firm.

  18                And Mr. Manookian didn't lose his license; he was

  19 suspended.        He was still a licensed attorney.             He could still

  20 run a PLLC, he was just suspended.

  21                MR. GABBERT:      Okay.     I just wanted clarification on

  22 where we were.

  23                THE COURT:      All right.

  24                Oh, Mr. Spragens.

  25                MR. SPRAGENS:       We'll step away from the




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    1 interrogatories at this time and talk about the requests for

    2 admission, if that's okay, Your Honor?

    3               THE COURT:      Okay.

    4               MR. SPRAGENS:       And then I'm sure you'll have

    5 direction for us on the interrogatories.

    6               The request for admission, you know, the rule states

    7 that you have to respond.           If you don't have sufficient

    8 information, you have to say you've made a diligent search.

    9 It's pretty mechanical.           I agree that it's a bit of a

  10 technicality, but it is what the rule says.                  And it's important

  11 to us that the Trustee in responding to requests for admission

  12 follow the rule and certify that she made a diligent effort to

  13 find all information that was available to her.

  14                So it's a copy and paste that can be made to all of

  15 their responses to the RFAs that we've propounded in this case.

  16                And if she doesn't have the information, she's

  17 entitled to say that.           That is part of the RFA response

  18 process, but she needs to certify that she's made a diligent

  19 effort to find those documents.

  20                So that's it on the, RFAs, Your Honor.

  21                THE COURT:      All right.      And I would assume you agree

  22 that diligent effort is an ongoing effort based off the

  23 Trustee's unique position in the continuing discovery, the lack

  24 of depositions, that there will be other information that might

  25 change a response?




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    1               MR. SPRAGENS:       I agree with this much, Your Honor,

    2 which is that the parties have an obligation to supplement

    3 their discovery responses throughout the process.

    4               THE COURT:      Okay.

    5               MR. SPRAGENS:       So if she -- if something changes her

    6 response and she serves supplemental responses to the requests,

    7 you know, so be it.

    8               THE COURT:      All right.

    9               Mr. Young, I mean, that's kind of how it works,

  10 right?

  11                MR. YOUNG:      Yeah.

  12                THE COURT:      So you answer based off of what you know.

  13                MR. YOUNG:      And we've done that, Your Honor.            If what

  14 he's looking for is a sentence in every one of these that says

  15 we certify that we made a diligent effort to find information,

  16 I can supplement it and add that sentence to every response, if

  17 that's what he's looking for.

  18                But we've, I mean, where we didn't know, we said why

  19 we didn't know.

  20                THE COURT:      Okay.

  21         MS. DOWNING:       If the Court would just have them add that

  22 sentence, I think that'll dispose of that issue.

  23                THE COURT:      All right.      The Court's more than

  24 happy --

  25                MR. YOUNG:      No objection.




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    1               THE COURT:      All right.

    2               MR. SPRAGENS:       And, Your Honor, if I could just say

    3 one more thing?        In general, you know, I'm sensitive to the

    4 Court's perception.         I don't want to put words in your mouth

    5 that I'm some lawyer from a different practice who's come in

    6 here and dumbed up the works here, and I assure you that's not

    7 been my intention.

    8               THE COURT:      Mr. Spragens, if I at all alluded to

    9 that, that's not the case.            I think you've represented your

  10 client and yourself very well in front of this Court, and the

  11 Court has no negative inference, connotation, belief, or

  12 assumption.

  13                MR. SPRAGENS:       Well, I appreciate that.

  14                I just wanted to say, you know, I do think that there

  15 is good faith.         You know, I don't -- I hope the Court won't

  16 find that either side has been acting in bad faith.                    I mean, I

  17 guess I hope the Court might find that they're not responding,

  18 but I'm not going to win that one anyway.

  19                So, you know, in my view, we have been trying to

  20 operate in good faith here.             I have been trying to make Mr.

  21 Manookian available to talk to them.                And, you know, I think

  22 that I've got a good basis for the request for more information

  23 and response to our interrogatories.                But if the Court says we

  24 need to move on with depositions, I'm eager to do that.                      And

  25 we've been seeking depositions on the plaintiff's side for some




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    1 time now.

    2               So that's all I'll say.          I'm sure you can tell us

    3 where to go from here.

    4               THE COURT:      All right.

    5               And let's just go ahead and talk about depositions

    6 real quick.

    7               So I keep reading about one-on-one meetings.                Is that

    8 separate from a deposition, or is that in reference to part of

    9 the deposition?

  10                MR. SPRAGENS:       No, Your Honor, that was part of the

  11 meet and confer process that we were offering.                   So to obviate

  12 the need for this extremely pleasant hearing today I thought

  13 that we could have an informal conversation to get a little

  14 clarity about what each side was shooting at here, but then

  15 there will be depositions obviously.                And we've been seeking a

  16 deposition of the Trustee, and now Mr. Young has been

  17 identified as a witness in their discovery responses, and so

  18 we're going to seek to take a short deposition of him to find

  19 out what he knows.          So that's where we are.

  20                And in my view, you know, the Trustee should go

  21 first.      She's the person who made the allegations and she has

  22 the burden, and that's the practice that I'm familiar with, is

  23 that the plaintiff goes first in these things.

  24                THE COURT:      Okay.    Mr. Young?

  25                MR. YOUNG:      Your Honor, we don't care if the Trustee




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    1 goes first, as long as everybody understands the Trustee, as

    2 evidence by these discovery responses here, the Trustee knows

    3 very little right now.          And that's going to be the Trustee's

    4 response at this point, is she knows the information that she's

    5 gotten from other parties, which, frankly, isn't a lot.

    6               We have no objection if they want to take her

    7 deposition first, that's fine.             But what we don't want to do is

    8 have an eight-hour deposition, as they've suggested, only for

    9 them to find out that she didn't really know that much.

  10 And then say, after we've taken all these other depositions,

  11 come back and say, now we want to depose the Trustee again.

  12                But I'm open.       It doesn't matter to us.

  13                I will say this.        I do want talk about scope,

  14 specifically with regard to my deposition, because we did

  15 identify the question was, anybody who had knowledge of

  16 anything in the complaint.             I have not -- I was the receiver in

  17 the case and I have knowledge of the references to what

  18 happened in the receivership.              Frankly, all that's moot now,

  19 because really all that had to do with was the movement of the

  20 $750,000.       But if they want to take my deposition with regard

  21 to anything prior to this bankruptcy, that's fine.

  22                I want to make sure that we're all on the same page

  23 that they're not going to ask me questions about what's

  24 happened since the bankruptcy, since I've been operating as

  25 counsel to the Trustee.            But I'm fine to tell them whatever I




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    1 know is, or knew, as the receiver.              That's fine.

    2               But, you know, we're fine.           We would like a couple of

    3 weeks to be able to look through anything that is going to come

    4 in over the next couple of weeks.              The Trustee would like a

    5 couple of weeks to look through all that before she gives a

    6 deposition so that she can at least be as knowledgeable as

    7 possible.      But beyond that, it's fine.

    8               THE COURT:      All right.

    9               MR. SPRAGENS:       I think we're mostly on the same page

  10 there, Your Honor.          With respect to the -- I would not agree to

  11 a specific time limitation on Mr. Young, on the questions to

  12 Mr. Young, but I'm sensitive to the fact that if he has

  13 confidential communications with his client we're not going to

  14 be asking about those, or at least expecting any answers to

  15 those.

  16                If he has -- if there are things that he's done as

  17 counsel to the Trustee involving third parties that are somehow

  18 relevant to the claims, or the resolution of the claims, we may

  19 want to get into that as well in the deposition.                    But, you

  20 know, this may be something that is not a live issue and we can

  21 just think about it and come back if we foresee an issue.

  22                THE COURT:      All right.      So between now and two

  23 o'clock, by the end of this day, I want the parties to have

  24 conferred and reached a schedule for depositions, and within

  25 the order, a detailed scope of those depositions and any




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    1 specifics that are necessary to be fully disclosed within the

    2 order.

    3               And also, to address the request for admissions

    4 issue.     It's fairly early in the process for admissions, given

    5 all that needs to happen.           So please address that with some

    6 formality once the formal discovery to include the depositions

    7 are done, when the amendments for the admissions should be

    8 propounded on the other side.

    9               MR. YOUNG:      And, Your Honor, just as a formal matter

  10 on our motions to compel further interrogatory responses.                       What

  11 I think I heard the Court saying was, after the depositions we

  12 could expect to get more information from the Trustee.                      But I

  13 just want to know what the ruling is on our motion, I guess.

  14                THE COURT:      So same with date certain.           After

  15 conclusion of all depositions, that there would be amendments

  16 provided and certification that each answer is still valid so

  17 that there's no confusion of what the Trustee's position is.

  18                And then, of course, you're postured to take whatever

  19 next step you feel your client can take, whether it's an

  20 outright motion to dismiss for failure to state a cause, or,

  21 you know, one or -- one count or another that no longer is

  22 sustainable, whatever you feel.              That's the appropriate time to

  23 tee it up for further action from the Court.

  24                MR. SPRAGENS:       Your Honor, may I address one other

  25 thing?      I mentioned this, that since our last hearing we




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    1 received another 86 request for admission from Manookian, PLLC.

    2 Could we include in that order -- because we could go through

    3 this whole thing again and the Trustee is still saying, we

    4 don't know, we don't know, we don't know, or we could simply

    5 say that those responses will be due at the conclusion of

    6 discovery and save everybody a lot of time and trouble on that

    7 second set of requests for admission.

    8               THE COURT:      Yeah.    And well, the Court has a

    9 threshold question of, why were the requests propounded late,

  10 or after the deadline in the original order?

  11                MR. SPRAGENS:       I confess, Your Honor, that I did not

  12 understand the order to apply to RFAs, which I think of as a

  13 tool to sharpen the issues as the case proceeds.                    So I

  14 apologize if we violated the Court's order on written

  15 discovery, that was not my intent.

  16                In general, my view is that the RFAs help sharpen the

  17 case.      And we can understand if the Trustee agrees that, okay,

  18 this is the actual agreement.              And, you know, we're not going

  19 to have debates about the authenticity of evidence and stuff

  20 like that.        So that's the thought process behind them.

  21                And I personally would prefer to have the responses

  22 before the deposition so at least we can cross some things off

  23 the list before we ask questions.               But, you know, the Court

  24 will do what it will do.

  25                MR. YOUNG:      And we're not going to know the answers




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    1 to all the authenticity questions until after depositions, Your

    2 Honor.

    3               THE COURT:      All right.      Let's keep them after

    4 depositions, on the same time frame as all the other written

    5 discovery that's going to be amended or supplemented.

    6               And I think the parties should both bear in mind that

    7 there's a dispositive motion deadline of June 24th.                   So keep

    8 that in mind when you propose something to the Court this

    9 afternoon on the timing so that you don't back yourself into a

  10 corner on the deadlines that are yet to come.

  11                All right.      And although a little bit early, this is

  12 probably a good time to take a break.                You've got your homework

  13 for the next couple hours.             And I'll just say, the Court

  14 understands that the parties are representing their clients,

  15 and trying to zealously represent their clients, and as we've

  16 seen today, I mean, I haven't seen either party be

  17 unreasonable.         I have seen some discussions that had to happen

  18 in order to get to the actual issues, but the Court believes

  19 the parties are trying to be reasonable.

  20                What the Court doesn't believe is happening is that

  21 there's adequate communication going on.                 So this is your

  22 opportunity to communicate and effectively work through some of

  23 these barriers so that we can press forward and resolve this

  24 case, finally, so that you don't have to keep coming over here.

  25                And the tip off is at 11:15, by the way.




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    1               So, you know, the Court wants to make sure that the

    2 parties understand the Court's here to help you if needed.                          But

    3 there's enough smart lawyers in this room that self-help is the

    4 best help, and, you know, let's try to resolve these things,

    5 communicate, figure out where the issues are.

    6               Understand that bankruptcy proceedings are a little

    7 less certain at the beginning because the Trustee doesn't have

    8 a lot of information.          But the reality is, at the end of the

    9 day, it's a federal court proceeding subject to the same rules

  10 and the same law as any other adversary proceeding.

  11                So keep that in mind, that we're trying to minimize

  12 the cost to the estate.            Because, ultimately, that costs

  13 somebody else money.           The unsecured creditors are paying for

  14 it, or, you know, if this is an excess case, Mr. Manookian was

  15 paying for it.         I mean, somebody is paying for having three

  16 lawyers and a Trustee sitting in a room.

  17                It sounds like the beginning of a bad joke, but, you

  18 know, that's where we are.

  19                So please take the next couple hours.              I'll be back

  20 on the bench at two o'clock.             If there's any other discovery

  21 issues that haven't been addressed that we need to address --

  22 is there anything else out there besides what we've already

  23 talked about?

  24                MR. SPRAGENS:       Not from my perspective, Your Honor.

  25                MR. YOUNG:      I don't think so, Your Honor.




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    1               MR. GABBERT:      Your Honor, please, if I may?            I think

    2 the only thing I'm looking for is any other Fitzgerald

    3 agreement.       Other than, I don't have anything else on this

    4 sheet, do I?

    5               MR. SPRAGENS:       I think that's right.

    6               MR. GABBERT:      So if I could just provided him a

    7 statement regarding that, do I have to come back?                   Because I'm

    8 not involved in all this other stuff.

    9               MS. YOUNG:      He's trying to save -- trying to save

  10 money.

  11                MR. SPRAGENS:       Your Honor, I --

  12                THE COURT:      Mr. Gabbert, the Court's -- if all issues

  13 are resolved, the Court's happy to send you on your way.

  14                MR. GABBERT:      Well, he can -- he can advise that I

  15 have responded by what the rules are.

  16                MR. SPRAGENS:       I'll make that representation for

  17 Mr. Gabbert.

  18                THE COURT:      All right.      Good enough.

  19                All right.      Court will be adjourned until -- or in

  20 recess till two o'clock this afternoon.

  21                THE CLERK:      All rise.

  22         (Recess taken at 10:28 a.m.)

  23         (Proceedings resumed at 2:08 p.m.)

  24                THE CLERK:      All rise.

  25                THE COURT:      Please take your seats.




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    1               All right.      Mr. Young?

    2               MR. YOUNG:      Your Honor, Phillip Young on behalf of

    3 the Trustee.

    4               I think we've made some progress on most things.                      I

    5 think there are still a few things that we'd like the Court's

    6 input on.      Let me start with the things that I think that we've

    7 agreed upon.       This is really just for the record.              This will

    8 kind of be incorporated into the order we'll submit.

    9               But Mr. Gabbert is going to confirm, by March 25th,

  10 that's the only Fitzgerald letter.               We had referenced that.

  11                THE COURT:      Okay.

  12                MR. YOUNG:      I think he was unable to get in touch

  13 with his client this afternoon.              So he's just agreed that by

  14 March 25th, he'll do that.

  15                We're also going to provide that Manookian, PLLC will

  16 amend its response to Interrogatory Number 5, as the Court

  17 instructed by March 25th, by that same date.

  18                And then, as the Court suggested, we've given more

  19 specific information on the Request for Production Number 1,

  20 that's the one about defenses.              We provided more specific, kind

  21 of bullet point things, that we're looking for to Manookian,

  22 PLLC.      And so they're going to respond accordingly.

  23                We've agreed that we're going to amend our response

  24 to Interrogatory Number 1 by March 25th.                 That's the one that

  25 asks for what individuals have knowledge.




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    1               And the reason being, so the Court understands why

    2 that is.      You know, the scope of the complaint when filed was

    3 16 cases, there were 16.           Now we're talking about two case.                So

    4 obviously that really funnels down what actually is in dispute.

    5 And so that the parties don't waste time worrying about, you

    6 know, depositions on parties that really don't matter anymore,

    7 we're going to amend that to make that clear.

    8               We already mentioned this, that I was going to add

    9 the certification language to the request for admissions that

  10 Mr. Spragens had requested.

  11                We've agreed that by June 1 all parties will amend

  12 interrogatory responses, requests for admission responses, that

  13 we'll respond to those second -- that second set of requests

  14 for admission by June 1.

  15                We've also agreed that topics for depositions will be

  16 identified in the deposition notices so that all the parties

  17 will have notice of that.

  18                And then we've agreed on a deposition schedule for, I

  19 guess, the four primary depositions.                And that is Jeanne

  20 Burton, me as receiver, Brian Manookian, and Afsoon Hagh.                       And

  21 those dates are, Jeanne Burton's will be April 20th at 10 a.m.,

  22 mine will be April 21st at 10 a.m., Mr. Manookian, who the

  23 notice will be for Manookian, PLLC, Cummings Manookian, and

  24 Brian Manookian, we'll notice them all up on the same day, May

  25 9th at 10.        And then Afsoon Hagh and Hagh Law at May 10th at




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    1 ten o'clock.

    2               And so we'll put all that in the order.

    3               MR. SPRAGENS:       Mr. Young, can I just add?

    4               MR. YOUNG:      Yeah.    Go ahead.

    5               MR. SPRAGENS:       Mr. Gabbert, I don't think, has agreed

    6 on the deposition schedule.            And so when I spoke to him he had

    7 a preference for having the Trustee at the end, which I

    8 understand is a more conventional practice in bankruptcy court.

    9 My client has a preference for having the Trustee at the

  10 beginning.        And so as I said in the email to you, that's an

  11 issue that is still sticky.             But we agree with the scheduling

  12 that you just announced.

  13                MR. YOUNG:      And I do want to address that issue,

  14 because we want to avoid these repeat depositions.                    We don't

  15 want to have to go through a deposition where the Trustee says,

  16 you know, I don't know that yet, I don't know that yet, I don't

  17 know that yet, and then go through another deposition at the

  18 end to ask essentially the same questions.

  19                We don't care if the parties want to take Ms.

  20 Burton's deposition early, that's fine.                 What we don't want to

  21 do is to have repeat depositions.               To have, you know, one April

  22 20th and one May 30th.           And so we had a disagreement about

  23 that.

  24                And as Mr Spragens said, Mr. Gabbert, I think, has a

  25 preference toward taking it towards the end, and Mr. Spragens




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    1 has a preference toward taking it toward the beginning.                     But we

    2 only want the Trustee to sit for one, eight-hour deposition.

    3 We don't want to have to, you know, spread this out.                    And so

    4 that was --

    5               THE COURT:      Well --

    6               MR. YOUNG:      -- one of the issues that we were going

    7 to see --

    8               THE COURT:      I'll make a statement that if there is a

    9 second deposition, the party requesting it may end up paying

  10 for it.       I'll leave it at that.         If Mr. Manookian drives this

  11 such that what is probably the course of action that makes the

  12 least amount of sense in this scenario, then if there is a

  13 second deposition, he may be paying for that time to take that

  14 deposition.        But I'll let the parties -- if the parties are

  15 agreeable to that schedule, we'll go forward with that

  16 schedule.

  17                MR. SPRAGENS:       Right.

  18                THE COURT:      But know that the nature of this

  19 proceeding, it doesn't make a bit of sense to do the Trustee

  20 first.

  21                MR. YOUNG:      I hear you loud and clear, Your Honor.

  22                THE COURT:      So --

  23                MR. YOUNG:      Yeah.    The one thing I was going to say

  24 is, I was always trying to split the hairs between the two

  25 parties on our side of the table here.                I thought about if we




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    1 tried to take her deposition and reserved some of the time for

    2 later -- I mean, one of the issues here is because the Court is

    3 not going to require anybody to supplement their

    4 interrogatories until after through depositions have been

    5 taken, there is room for some serious changes in the written

    6 discovery at that time, and that's what we want to sort of

    7 guard against is that all of a sudden there's a new theory that

    8 we couldn't anticipate, or new information that we couldn't

    9 anticipate, that comes out.

  10                I take your point though, that if a second deposition

  11 is needed, and if the Court finds that it's not warranted or

  12 whatever, Mr. Manookian would be paying for it.

  13                THE COURT:      Yeah.    And again, it's bankruptcy, right?

  14 We got limited number of theories that are going to be out

  15 there.      Let's be real.       These are attorneys, everybody knows

  16 what the theories are probably going to be, and the information

  17 that's going to come out is going to drive that one way or the

  18 other.      So let's not make it harder than it really is.                 This is

  19 not a new or novel concept.             These are not issues that are

  20 first impression.

  21                This is what happens here in bankruptcy court every

  22 day.      You have a company that is no longer operating, there are

  23 books and records, there's still effectively accounts

  24 receivable out there that need to be collected, and the Trustee

  25 is trying to collect those accounts receivable and look back as




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    1 to whether there's any transfers or transactions that can be

    2 set aside.       I mean, it's not that hard, so --

    3               MR. YOUNG:      And the Trustee does view this, for the

    4 record, as an accounts receivable case.                That's what we view

    5 this as, is as an accounts receivable case, primarily.                    And

    6 that's the way we've been proceeding, but --

    7               THE COURT:      Yeah.

    8               And I get it, Mr. Spragens, that -- and again, you

    9 know, you're representing your client zealously, and the

  10 Court's making no determination one way or the other.                     You

  11 know, your strategy and your client's strategy is what it is.

  12 But know that, you know, this Court's seen these cases a

  13 thousand times and is not going to be surprised or hoodwinked

  14 by anything and is well capable of dealing with any "gotcha"

  15 moments as they come, and will deal with them fairly harshly on

  16 whichever side they come out, just given the fact that we're

  17 wasting a day here to go over discovery requests.

  18                So I'm taking copious notes on what's said here.                      I'm

  19 going to listen to this transcript again.                 And if we get to a

  20 trial situation where there's something that needs to be

  21 addressed, it will not end well for whichever side is the cause

  22 of it, period.

  23                MR. SPRAGENS:       Thank you, Your Honor.

  24                MR. YOUNG:      Your Honor, one other -- one other thing

  25 about which we've been unable to reach an agreement is the




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    1 location of the depositions.            The Trustee suggested that these

    2 four in-person depositions take place here in the Court, in the

    3 courthouse.       There's lots of reasons for that.             It's a

    4 centralized location, it has security, the Court's more

    5 available if there becomes a problem.               We hope there's not a

    6 problem, but --

    7               THE COURT:      We're having the depositions here.

    8               MR. SPRAGENS:       That's fine, Your Honor.          And just for

    9 the record, I'll preserve my objection to that.                  And I heard

  10 Mr. Gabbert object to it earlier, as well.

  11                THE COURT:      Okay.    Well, if the parties can't agree,

  12 you know, you still have the opportunity to agree on a

  13 location.

  14                MR. SPRAGENS:       Sure.

  15                THE COURT:      But in the absence of agreement, we'll

  16 hold a hearing.         I'll be in my chambers or available by video.

  17 If the there's a problem, we'll address it on the spot.                      So,

  18 you know, I don't know of any other way to do this, if we can't

  19 agree on something as simple as location.

  20                MR. SPRAGENS:       Well, I thought the normal rule was

  21 you produce the witness at the witness's place of business or

  22 convenience, basically.            So I was surprised to hear this

  23 proposal, that all the depositions would be conducted here.

  24                This parking lot out back is $40 a day I noted, as I

  25 tried to dodge parking tickets today.                And so I was thinking




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    1 there might be a more convenient reason.                I don't buy that

    2 there's a security issue in this case.               The Court is available,

    3 I appreciate that, by telephone, video, or all the other ways

    4 that we can get access to the Court.               So to me, it's overkill

    5 to have them at the courthouse.

    6               THE COURT:      I agree.

    7               MR. SPRAGENS:       And I -- so this wasn't our proposal,

    8 and I think it's a departure from the ordinary course and I

    9 don't understand the basis for it.

  10                THE COURT:      Okay.

  11                MR. SPRAGENS:       So I --

  12                THE COURT:      So, Mr. Young, let's articulate a basis

  13 on the record.

  14                MR. YOUNG:      Sure.    First of all, I think the Court

  15 knows that this is not -- it's not unusual for a Trustee to

  16 conduct depositions at the courthouse.                That's fairly common

  17 for trustee's to do.

  18                Secondly, you know, it's more centralized than having

  19 parties come to my office in Williamson County, for example.

  20 This is a lot more central location.

  21                And third, we do think that there's a security issue

  22 here.      There's already been a restraining order put down

  23 against Mr. Manookian by one of the creditor's lawyers in this

  24 case, and I don't take that lightly on behalf of my client.

  25                So those are the reasons.




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    1               MR. SPRAGENS:       Well, and, you know, my office is just

    2 down the street and parking is free.

    3               There's no security issue.           I don't think that

    4 there's any record that would support that there is a security

    5 issue in this ordinary bankruptcy case involving professional

    6 lawyers on all sides.

    7               So this proposal was presented to me.              I said I

    8 disagreed with it.         And Mr. Young said, well, we'll take it up

    9 with the Court.        So, you know, in my view, this is the

  10 departure from the norm, not the other way around.

  11                THE COURT:      Okay.

  12                And, Mr. Young, you're going to represent that you're

  13 uncomfortable doing depositions in Mr. Spragens' office?

  14                MR. YOUNG:      Yes, Your Honor.

  15                THE COURT:      All right.      And then I'll just address

  16 the 100 pound gorilla in the room on that issue.

  17                To be candid, Mr. Spragens, I mean, your client's

  18 past behavior before the tribunals, and I've had at least two

  19 lawyers call the Court and say they don't feel comfortable if

  20 your client is going to appear, and, you know, the Court takes

  21 those concerns very seriously and makes no conclusion on

  22 whether they are valid, they are perceptions which drive

  23 behaviors of other parties.             And to eliminate any of those

  24 perceptions, and to protect everyone against any allegations of

  25 bad behavior, misbehavior, or perceived misbehavior, it makes




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    1 sense to do them here in an environment where no one can get

    2 your client further down a rabbit hole of he did this or he did

    3 that, that we're in a neutral environment, which affords

    4 certain protections.          And if nothing else, in terms of

    5 everybody's on their best behavior.

    6               And so the Court's going to make that determination,

    7 that the depositions, unless the parties can agree, will be

    8 held here in the courthouse.            And as a matter of fact, again,

    9 there will be some method available to reach the Court if

  10 during those depositions we have further in issues with

  11 discovery.

  12                MR. YOUNG:      Thank you, Your Honor.

  13                I think the last issue that we needed, unless Mr.

  14 Spragens has something else that I've forgotten.                    The last

  15 issue that I have on my list that we needed some input from the

  16 Court on is the scope of my deposition.

  17                There was a question that was asked in the

  18 interrogatories about, list all parties who had knowledge of

  19 any element of the complaint, you know, any of the complaint.

  20 The complaint originally, if the Court will recall, had a fair,

  21 a substantial amount about the $715,000 and about the transfer

  22 of that and about the genesis of that in the receivership.

  23                Obviously, as the former receiver in that case I had

  24 knowledge about that.           That part's not so relevant anymore

  25 because the money's frozen and now we're really talking about




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    1 two cases.       Nevertheless, I'm happy to sit for a deposition.

    2 However, I do think that the Court needs to define the scope of

    3 that.

    4               I would suggest that the scope of that has to do only

    5 with the allegations that are in the complaint and only with

    6 regard to things up to the petition date.

    7               I will represent to the Court that after the petition

    8 date my role in this case has been as special counsel to the

    9 Trustee.      Mr. Sprague has specifically mentioned, and this is

  10 something that came up before, and I'm happy to address it

  11 straight on if the Court wants to talk about it today, but this

  12 allegation of some sort of a kickback that the Trustee allowed

  13 or reduced, allowed a reduced claim to the Chase parties

  14 because the Chase parties entered into an order that provided

  15 that any remaining receivership, outstanding receivership fees,

  16 be paid by the Chase party.

  17                First of all, I wasn't involved in that order.

  18                Second of all, it's not been paid, so this is a

  19 complete non-issue.          Nonetheless, it keeps coming up, but it's

  20 not related to this adversary proceeding.                 That's related to,

  21 if at all, it's related to the claims allowance and

  22 disallowance.         That's not related to this adversary proceeding

  23 at all.

  24                And so I would just like the Court's guidance on what

  25 the allowable scope is of a deposition, you know, of me




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    1 specifically, because that seems to be where some tension is

    2               THE COURT:      All right.      Mr. Spragens?

    3               MR. SPRAGENS:       In my experience, at least, it is

    4 unorthodox, to say the least, to have a case in which an

    5 attorney is negotiating the scope of his own deposition as a

    6 fact witness in the case.           So we are in a weird posture here.

    7 And I think that does speak to the potential for, you know,

    8 what we will want to ask Mr. Young about.

    9               He represented to me in the conference room that it's

  10 really just about the $750,000 or whatever, that 715,000,

  11 excuse me, in the receivership.              You know, I want to know what

  12 he knows about what's in the complaint.                 He's disclosed himself

  13 effectively as a fact witness here.               I want to know how he's

  14 being compensated for things, because I think that goes to his

  15 bias.

  16                And I think that is a permissible area of inquiry is,

  17 do you stand to gain if you testify a certain way in this case

  18 or not?       And I think that's reasonable, both about the knowing

  19 about the Chase case and about his role here.

  20                I don't need to go into any confidential attorney-

  21 client communications, and I don't intend to.                   But I do think

  22 that, you know, we started this case, frankly, before I was

  23 involved, talking about a potential need for disqualification

  24 of Mr. Young.         And I do think that the fact that he's now

  25 disclosed himself as a witness, which surprised us, opens him




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    1 up to inquiry on that.          And so certainly whatever he tells us

    2 he knows about that's in the case right now is going to be the

    3 bulk of what we talk about.

    4               But I do want to probe for bias.             I want to probe for

    5 any sort of improper motive.            It's awkward to do to a fellow

    6 member of the bar.         You know, we were just talking about our

    7 vacations and our hiking interests and all that stuff.                    But I

    8 think that's part of the job, and if he's going to be a witness

    9 and the lawyer here, I should be allowed to ask some of those

  10 questions.

  11                So I would urge the Court not to set a strict date

  12 cutoff, but, you know, admonish us to only stay within the

  13 boundaries of what's acceptable as we try to prepare an

  14 adversary trial in this court.

  15                THE COURT:      All right.

  16                And, Mr. Young, I think it is reasonable to probe

  17 into any of those issues that Mr. Spragens has articulated.

  18 So I will not bound the deposition to such limited scope that

  19 he can't inquire about your motive, motivation, or compensation

  20 in any way.

  21                Again I will caution that it better be relevant and

  22 stay relevant.         And as you've articulated today, that's within

  23 the fair bounds of what we do as lawyers is answer questions

  24 about why we're here, if we're ever in the position of being a

  25 witness, and it goes to credibility, it goes to motivation.




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    1 And so that's perfectly permissible.

    2               But what I do not want is an attempt to deviate in a

    3 way that's not going to be productive for anyone and just waste

    4 everybody's time.         Because, again, if we're going to waste

    5 people's time, that person wasting time will pay for that time.

    6 And I can't express how serious I am about charging back to the

    7 party who is causing the unnecessary delay or being

    8 unreasonable.

    9               Again, these are attorneys talking about attorneys

  10 and law firms.         And even Mr. Young, if he is a witness, he's

  11 another attorney.          So everyone involved in this case is a

  12 member of the bar in some form or fashion, and I expect a

  13 little bit of common sense and not to take the Court for not

  14 understanding what's going on if it deviates from that.                      And so

  15 just keep that in mind, all the parties that --

  16                Again, this is not rocket science.             This is the

  17 couple of thousand adversaries since I've been on the bench,

  18 and there's nothing in this case that I haven't seen before

  19 that surprises me or that I need to look up in WestLaw or

  20 Google to figure out how this is going to go.                   These are all

  21 issues that are fairly routine.

  22                I've got a Trustee over here who's been on the panel

  23 for more than 20 years and has handled thousands of cases and

  24 brought this adversary proceeding in the course of

  25 administering it as an estate, that's not unique or novel.




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     1              So I understand we are all representing clients

     2 zealously, but by the same token, you're wasting your time on

     3 this forum that's going to be before a judge, not a jury,

     4 that's seen this a thousand times before, where we routinely

     5 stipulate to all the relevant facts, we proffer evidence more

     6 likely than we present witnesses.

     7 .            This Court is able to resolve these issues

     8 expeditiously if given the opportunity.              And so let's drive

     9 towards that opportunity for the Court to do what this Court

   10 does in fairly efficient fashion.

   11               MR. SPRAGENS:       We're eager to get to that point.                And

   12 there aren't side shows on our side.               We intend to get to the

   13 point where we can get an adjudication in this.

   14               THE COURT:      Okay.

   15               MR. SPRAGENS:       So I hear you.

   16               MR. YOUNG:      Your Honor, with that, I believe those

   17 are the only issues that we had open as far as the -- I think

   18 every thing else was agreed upon.              And we understood the

   19 Court's direction on everything else, as far as putting

   20 together an order.

   21               THE COURT:      All right.

   22               MR. YOUNG:      And I'm going to circulate it to Mr.

   23 Spragens before we submit it to the Court to make sure that --

   24               THE COURT:      All right.

   25               MR. YOUNG:      -- that everything is accurate.




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     1              THE COURT:      And the only thing, I've got a couple

     2 things.     On the depositions the order should detail the scope,

     3 because I don't want any surprises from any party who later

     4 says, well, I didn't know that's what was going to be asked.

     5 So within this order there needs to be some detail as to the

     6 scope of the depositions.

     7              MR. SPRAGENS:       We can do that, Your Honor.

     8              THE COURT:      All right.

     9              And as far as length of depositions, is it correct

   10 that you're anticipating an eight-hour deposition for the

   11 Trustee?

   12               MR. SPRAGENS:       No Your Honor.      I mean, I think that

   13 the rules only allow seven hours, and I hope not to even need

   14 all seven hours.         I never want to take a seven-hour deposition.

   15               THE COURT:      Okay.

   16               MR. SPRAGENS:       But I do think that the rules allow it

   17 if we need it, and hopefully we won't.

   18               THE COURT:      All right.

   19               And obviously with the contentious nature, make sure

   20 that that order specifically details the time in which the

   21 Trustee and all the other witnesses will be available for their

   22 deposition.       And if it's the full seven hours for each witness,

   23 so be it.       But I don't want any other issues related to

   24 discovery, so let's make sure that that order adequately

   25 details everything.




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     1              And I'd like it to be an agreed order.              So rather

     2 than just circulate it to Mr. Spragens, I want he and Mr.

     3 Gabbert to sign off on the order in its entirety.

     4              MR. SPRAGENS:       Yes, Your Honor.

     5              MR. YOUNG:      And, Your Honor, as I look at the biggest

     6 area of, sort of outstanding question marks about the order,

     7 it's what to do about this deposition.              I mean, we have

     8 different positions on my side here about when the Trustee's

     9 deposition should be taken.           So I'm looking for little

   10 guidance, probably, on what we should put in the order that

   11 says if there is a second deposition it will come at the

   12 requester's expense, unless good cause is shown, or something

   13 like that.

   14               Is that an appropriate way to phrase that?               I suppose

   15 that's what I'm asking.

   16               THE COURT:      Yeah. I'll leave it to you all to come up

   17 with the exact language.           But the intent is that the parties

   18 are agreeing to this.          We need to be efficient and effective.

   19 I'm not going to get into the weeds on who goes first, because

   20 if I have to do that, then I might as well be trying and

   21 representing your clients for you.

   22               But I am going to say that common sense needs to

   23 prevail here.        That, again, this isn't an IP case.

   24               MR. SPRAGENS:       Thank God.

   25               THE COURT:      I echo that sentiment.




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     1              You know, the Trustee needs -- you know, the goal

     2 should be to maximize the Trustee's ability to answer the

     3 questions.      And if taking the Trustee's deposition first is

     4 going to be a waste of time, which I would bet my money to a

     5 large extent it will be, then why are we doing it that way?

     6              And if you choose to go down that road, the party who

     7 made that choice is going to pay for that time for the

     8 attorney, or attorneys, that have to sit there for seven, eight

     9 hours, or however long it is, for the Trustee to then be in a

   10 position to answer those questions.

   11               So craft the language so that it's clear that -- I'm

   12 going to leave it to the parties to cause a train wreck if you

   13 want to.      But, you know, the party that led that train off the

   14 tracks is going to be the one that's going to compensate the

   15 other side for the time that it takes to actually do it right.

   16               You know, and unfortunately, the Trustee gets

   17 compensated based off of a formula and not actual time.                    But,

   18 you know, again, I'm not interested in wasting the Trustee's

   19 time twice, as well, on when they, you know, she could move on

   20 to other cases that are probably equally as frustrating and

   21 difficult to get resolution to.

   22               So those are the reasons why if you go down the wrong

   23 road you're going to, you know, whichever party drives it is

   24 going to be the one that compensates everyone in the room for

   25 their time.




             ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
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     1              MR. SPRAGENS:       Thank you, Your Honor.

     2              THE COURT:      Okay.

     3              MR. YOUNG:      Your Honor, I don't think we had any

     4 other questions or comments about the order, unless the Court

     5 has some other question for the Trustee.

     6              THE COURT:      No other questions.        But again, make sure

     7 it needs to be an agreed order, that it fully addresses

     8 everything we've talked about today.

     9              If there's any questions related to the dates that

   10 are already in the scheduling order, such as the dispositive

   11 motions or trial dates, we have not changed those.                   And I need

   12 to know now if the parties believe they're going to be unable

   13 to comply with those dates.            So within that order each party

   14 needs to certify that the remaining dates are still good to go.

   15               MR. SPRAGENS:       Yes, Your Honor.

   16               THE COURT:      All right.     And I think -- I think that's

   17 all I have.

   18               Anything else?

   19               MR. YOUNG:      Nothing from the Trustee, Your Honor.

   20               MR. SPRAGENS:       No, Your Honor.

   21               THE COURT:      All right.     Again, thank you for your

   22 time and attention.          And hopefully we'll get through this one

   23 in a more expeditious fashion going forward.

   24               But if there are issues, the Court is obviously

   25 available to address those issues.              But I still hold out




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     1 confidence that with the good lawyers involved in this case

     2 they'll be able to communicate a little bit better so that we

     3 cannot be here on St. Patrick's Day in 2023, perhaps.

     4              So with that said, the Court will be adjourned.

     5              THE CLERK:      All rise.

     6        (Proceedings concluded at 2:35 p.m.)

     7                                    * * * * *

     8

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   14                           C E R T I F I C A T I O N

   15

   16               I, Alicia Jarrett, court-approved transcriber, hereby

   17 certify that the foregoing is a correct transcript from the

   18 official electronic sound recording of the proceedings in the

   19 above-entitled matter.

   20

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   22

   23 ____________________________

   24 ALICIA JARRETT, AAERT NO. 428                DATE: March 23, 2022

   25 ACCESS TRANSCRIPTS, LLC




             ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION



  IN RE:                                           Case No, 3:19-bk-07235
                                                   Chapter 7
  CUMMINGS MANOOKIAN, PLLC                         Judge Walker

          Debtor.                                  Adv. Proc. No. 3:20-ap-90002

  JEANNE ANN BURTON, TRUSTEE

          Plaintiff,

  v.

  HAGH LAW, PLLC; AFSOON
  HAGH; and MANOOKIAN PLLC,

          Defendants.



           BRIAN MANOOKIAN AND MANOOKIAN PLLC’S MOTION TO
            DISQUALIFY BANKRUPTCY JUDGE CHARLES WALKER


          Brian Manookian and Manookian PLLC (“the Manookian Parties”) respectfully ask

 the Court to recuse itself from further consideration of this matter, pursuant to 28 U.S.C.

 §§ 455(a), (b)(1), and the Code of Conduct for Federal Judges.

          The Court is required to disqualify itself from this matter because it engaged in

 multiple prohibited ex parte communications about Brian Manookian1 and this

 proceeding with “at least two [unidentified] lawyers” while this action has been pending.2


 1 Brian Manookian is the sole member of the Debtor, Cummings Manookian, and the Sole

 Member of the Defendant, Manookian PLLC.
 2 Ex. 1, Transcript of Pretrial Conference and Motion Hearing, March 17, 2022, at 84:15-

 85:11. On April 21, 2022, the Manookian Parties learned that the Trustee, through her


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          The Court then failed to promptly notify the parties of its repeated ex parte

 conversations as required by the Code of Conduct for United States Judges.3 Instead, the

 Court only disclosed their occurrence much later, and only then to justify the Court’s order

 that depositions in this matter be conducted at a secure courthouse location. In doing so,

 the Court attributed its order to unarticulated “concerns” about Brian Manookian which

 were communicated directly to the Court by undisclosed attorneys in various ex parte

 phone calls — buttressed by other information the Court gleaned from extrajudicial

 research — calls that neither the Court nor those attorneys disclosed to the Manookian

 Parties at the time.

          As a result, the Manookian Parties were never able to respond to the ex parte

 representations, or even make a record regarding those improper communications and

 independent research for review by a superior court. To this day, potentially years after

 the ex parte communications in this still-pending case, the Manookian Parties thus

 remain in the dark as to the substance of those prohibited communications, although

 their corrosive effect on the Court has recently become clear.

          The Court and the as-yet unidentified attorneys have, intentionally or not, engaged

 in conduct that violates multiple provisions of the Code of Conduct for United States

 Judges as well as the Rules of Professional Conduct governing attorneys licensed in

 Tennessee.4 Recusal is required by statute. See 28 U.S.C. § 455(a) & (b)(1).


 Special Counsel, has had at least one improper ex parte communication with the Court
 about Mr. Manookian. Ex. 2, Deposition of Phillip Young, at 43:15-45:25.
 3 Code of Conduct for United States Judges, Canon 3(A)(4).
 4 Id. See also Tennessee Supreme Court Rule 8, Rule of Professional Conduct 3.5,

 Impartiality and Decorum of the Tribunal (“A lawyer shall not: (a) seek to influence a
 judge, juror, prospective juror, or other official by means prohibited by law; [or] (b)
 communicate ex parte with such a person during the proceeding unless authorized to do
 so by law or court order.”).


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          This is not a close call. The Court is required to immediately disqualify itself from

 this case. The Court should additionally submit a sworn declaration detailing the dates,

 substance of, and parties to each of its ex parte communications so that the Manookian

 Parties may: (1) determine which orders of this Court occurred after the improper

 communications; (2) ascertain whether the Court is now a witness to party or creditor

 statements such that depositions of the ex parte participants is necessary; and (3) report

 any improper conduct to the appropriate licensing and oversight authorities.


                                   I. LEGAL STANDARD

          Canon Three of the Code of Conduct for Federal Judges provides that the Court

 shall not permit ex parte communications, except in limited circumstances, and if such a

 communication is received, the Court must give all parties prompt notice of the

 communication and an opportunity to respond:

          Except as set out below, a judge should not initiate, permit, or consider ex
          parte communications or consider other communications concerning a
          pending or impending matter that are made outside the presence of the
          parties or their lawyers. If a judge receives an unauthorized ex parte
          communication bearing on the substance of a matter, the judge should
          promptly notify the parties of the subject matter of the communication and
          allow the parties an opportunity to respond, if requested. A judge may:

                 (a) initiate, permit, or consider ex parte communications as
                 authorized by law;

                 (b) when circumstances require it, permit ex parte
                 communication for scheduling, administrative, or emergency
                 purposes, but only if the ex parte communication does not
                 address substantive matters and the judge reasonably believes
                 that no party will gain a procedural, substantive, or tactical
                 advantage as a result of the ex parte communication;

                 (c) obtain the written advice of a disinterested expert on the
                 law, but only after giving advance notice to the parties of the



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                 person to be consulted and the subject matter of the advice
                 and affording the parties reasonable opportunity to object and
                 respond to the notice and to the advice received; or

                 (d) with the consent of the parties, confer separately with the
                 parties and their counsel in an effort to mediate or settle
                 pending matters.

 (emphasis added).

          The Tennessee Rules of Professional Conduct are likewise clear that attorneys may

 not engage in ex parte communications with the Court. Rule 3.5 states that, “A lawyer

 shall not seek to influence a judge, juror, prospective juror, or other official by means

 prohibited by law; [or] communicate ex parte with such a person during the proceeding

 unless authorized to do so by law or court order.”

          Finally, federal law mandates that “[a]ny justice, judge, or magistrate judge of the

 United States shall disqualify himself in any proceeding in which his impartiality might

 reasonably be questioned.” 28 U.S.C. § 455(a). This includes but is not limited to

 situations “[w]here he has a personal bias or prejudice concerning a party, or personal

 knowledge of disputed evidentiary facts concerning the proceeding.” Id. § 455(b)(1).

 Receiving, failing to disclose, and then ruling based upon improper ex parte

 communications and extrajudicial information in violation of the Federal Code of

 Conduct for Judges is, definitionally, conduct resulting in a judge’s impartiality

 reasonably being questioned.


                              II. FACTUAL BACKGROUND

          On March 17, 2022, counsel to the Trustee, Phillip Young, announced in a hearing

 that he sought to conduct depositions in this case exclusively at a “secured” location at the

 courthouse, because of a heretofore unrevealed “security issue” about Brian Manookian,


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 the sole member of the Debtor Cummings Manookian and the Adversary Defendant,

 Manookian PLLC.5 Counsel for Mr. Manookian and Manookian PLLC, John Spragens,

 immediately opposed the request, as did counsel for Adversary Defendants Afsoon Hagh

 and Hagh Law.6

          Rather than permit briefing or argument on the issue, the Court gratuitously and

 sua sponte began holding forth on what it described as the “100 pound gorilla in the room

 on that issue,” despite no such issue never having been previously addressed to the Court

 by any party (at least not properly or on the record). First, the Court – after undersigned

 counsel said he would preserve his objection to this departure from the ordinary course

 of proceedings for appeal – undertook to create an evidentiary record in support of his

 ruling.7 Next, the Court solicited a representation from the Trustee’s counsel to the effect

 that the Trustee’s counsel was “uncomfortable doing depositions in [defense counsel’s]

 office.” Finally, the Court described ex parte communications and offered its own view,

 based upon undisclosed information not in the record, purporting to justify that Mr.

 Manookian’s unspecified “past behavior” in front of “the tribunals” posed an undefined

 security threat:




 5 Ex. 1, Transcript of Pretrial Conference, March 17, 2022, at 83:21-25.
 6 Id., at Page 82:8-10.
 7 Id., at Page 82:8-83:13 (The Court: “So, Mr. Young, let’s articulate a basis on the

 record.”).


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 Ex. 1, Transcript of Pretrial Conference, at 84:11-23.

          In addition to admitting having participated in multiple ex parte conversations in

 this case, the Court additionally made reference to “[Brian Manookian’s] past behavior

 before the tribunals” when it ordered that depositions be conducted at the Courthouse

 over “security concerns” about Mr. Manookian. But the Court did not disclose what it

 believed that “past behavior” to include, or where it acquired such information.

          To be clear, Mr. Manookian has conducted or attended hundreds of depositions

 over the course of his career, including as a witness on multiple occasions. No court has

 ever found that he acted even remotely inappropriately, much less in a physically

 threatening manner, during a deposition — nor, crucially, does the record in this case

 support such a finding. The Court’s ruling could have only been based upon its ex parte

 communications and extrajudicial research – and its view was so deeply held that it


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 offered it sua sponte based upon an extrajudicial record the Court itself endeavored to

 create.

                                        III. ARGUMENT

           28 U.S.C. § 455(a) states that “[a]ny . . . judge . . . shall disqualify himself in any

 proceeding in which his impartiality might reasonably be questioned.” This recusal

 standard is objective: the relevant inquiry is whether a “reasonable man, were he to know

 all the circumstances, would harbor doubts about the judge’s impartiality.” Health Servs.

 Acquisition Corp. v. Liljeberg, 796 F.2d 796, 800 (5th Cir. 1986) (internal quotation

 marks omitted), aff’d, 486 U.S. 847 (1988); see Air Line Pilots Ass’n, Int'l v. Continental

 Airlines, Inc. (In re Continental Airlines Corp.), 901 F.2d 1259, 1262 (5th Cir. 1990); In

 re Faulkner, 856 F.2d 716, 720-21 (5th Cir. 1988).

           “Ex parte contacts are improper where, given all the circumstances, they could

 cause a reasonable person to question that judge’s impartiality.” Blixseth v. Yellowstone

 Mountain Club, LLC, 742 F.3d 1215, 1219 (9th Cir. 2014). And “decisions made by the

 district court in reliance on any undisclosed ex parte communications are inappropriate.”

 United States v. Lanier, 748 F. App’x 674, 678 (6th Cir. 2018) (citing United States v.

 Hayes, 171 F.3d 389, 390–91 (6th Cir. 1999)). “If any such communications do occur . . .

 the district court should endeavor to disclose, as appropriate, the ex parte communication

 to the parties as soon as possible.” Id. at 678.

           “Extrajudicial knowledge,” meanwhile, is knowledge that the judge acquires

 “outside a courthouse.” Edgar v. K.L., 93 F.3d 256, 259 (7th Cir. 1996) (citations

 omitted). “The point of distinguishing between ‘personal knowledge’ and knowledge

 gained in a judicial capacity is that information from the latter source enters the record

 and may be controverted or tested by the tools of the adversary process. Knowledge


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 received in other ways, which can be neither accurately stated nor fully tested, is

 ‘extrajudicial.’ ” Id.

          The Court’s repeated ex parte communications with practicing attorneys regarding

 this case and the parties to it – which were not disclosed at the time and only revealed by

 the Court to support a subsequent ruling, when the Court spontaneously revealed its

 concern about the “100 pound gorilla in the room on that issue” – require recusal. Indeed,

 the Court’s ruling requiring that depositions be conducted in the courthouse was

 expressly premised upon concerns the Court developed based upon (1) ex parte

 communications about Mr. Manookian that Mr. Manookian had no knowledge of, nor any

 opportunity to rebut, and (2) the Court’s views about “Mr. Manookian’s past behavior

 before the tribunals” – again unspecified, and again, based upon information outside the

 record in this case. 8

          A reasonable observer would conclude that the Court has developed views of a

 litigant, based upon improper ex parte communications and information outside the

 record in this case, and – however unintentionally – has made a ruling based on those

 concerns. On any objective basis, recusal is appropriate and required, and is the course

 of action that best promotes respect for the rule of law.

          The Court’s statements confirm that it has entertained ex parte communications,

 failed to disclose those communications to the impacted parties, conducted its own


 8 The Court’s views were so strongly – and mistakenly – held that it took a second

 unusual step, not just requiring that the depositions be held in the courthouse but also
 leaving instructions for the participants and setting a time for hearings on objections (a
 copy of which is attached as Exhibit 3). The depositions were predictably uneventful
 and conducted professionally by all parties, and no objections were brought to the
 Court. But the Court’s overreaction to an ill-defined threat of misconduct based on not
 even a scintilla of record evidence, considered by a reasonable observer, further
 demonstrates that recusal is warranted here.


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 independent investigation into a litigant in this case, and has – most troublingly – formed

 impressions and opinions based upon the information gained in those improper

 exercises, relying on them in its rulings and approach to this case.

          Of particular concern, the Court’s multiple ex parte communications pertained to

 the character of a witness that, in the Court’s view, “holds the keys to the kingdom,”

 because – as the Court put it in partially denying the Manookian Parties’ motion to compel

 discovery responses from the Trustee – the key knowledge in the case concerning the

 Trustee’s allegations “is locked away deep inside Mr. Manookian's brain somewhere.”9

 The Court emphasized Mr. Manookian’s centrality to the case, volunteering that “while

 he’s under oath he will enlighten the Trustee and the other parties on exactly what

 happened,” enabling the Trustee to learn details about the allegations in her Complaint.10

 When in response to the Court, undersigned counsel stated that it was “certainly the

 Trustee’s theory” that Mr. Manookian holds the “keys to the kingdom,” the Court

 corrected counsel, stating, “It’s not a theory, Mr. Spragens,” and explaining that the

 Trustee could not be expected to provide further information about her adversary

 proceeding allegations because she merely stepped into “save the estate for the benefit of

 creditors based off the actions of the people who put it in bankruptcy.”11

          Taken together, these comments indicate that the Court has developed “concerns”

 that it takes “very seriously” about whether Mr. Manookian can attend a deposition at

 counsel’s office without some unspecified harm occurring. The Court has formed the view

 that Mr. Manookian is the key witness whose testimony will unlock the case when he is



 9 Ex. 1, Transcript of Pretrial Conference, at 49:2-16.
 10 Id.
 11 Id.



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 put under oath, and it has also determined that he poses a threat to other individuals or

 the orderly proceeding of the case, such that he cannot be trusted to attend or give a

 deposition at counsel’s office. Those concerns are based exclusively upon ex parte

 communications and the Court’s own investigation into, and extrajudicial impressions

 formed about, this key witness in the case. Under these circumstances, where the Court

 is both law-giver and factfinder, the Court should, consistent with principles of fair

 dealing and judicial neutrality, recuse itself so another judge can preside over this case.

          The Court’s undisclosed ex parte communications and consideration of extrinsic

 information, all of which explicitly formed the basis of its ruling, are not the kinds of

 innocuous ex parte communications allowed under the Federal Rules. See, e.g., Blixseth,

 742 F.3d 1215 at 1219-20 (permitting ex parte communications regarding scheduling and

 a non-public bankruptcy auction). Instead, the communications and extrinsic evidence

 are relevant to the material disputed issues in the case and its forthcoming findings about

 the credibility of a material witness whom the Court believes holds the “keys to the

 kingdom” in this case.

          In short, the Court’s failure to promptly disclose the occurrence of ex parte

 communications, lack of disclosure about the total substance of, and participants to, those

 conversations, undertaking of an independent investigation into this matter, and reliance

 upon both ex parte communications and extrajudicial research require immediate

 recusal. It further requires full disclosure of the circumstances and substance of the ex

 parte communications and extrajudicial materials considered by the Court.

                                    IV. CONCLUSION

          For all these reasons, the Court is required to immediately disqualify itself.

 Moreover, the Court should promptly submit a sworn declaration detailing the dates,


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 substance of, and parties to each of its ex parte communications as well as the particulars

 of its independent investigation.


 Date: May 5, 2022                                Respectfully submitted,


                                                  /s/ John Spragens
                                                  John Spragens (TN Bar No. 31445)
                                                  Spragens Law PLC
                                                  311 22nd Ave. N.
                                                  Nashville, TN 37203
                                                  T: (615) 983-8900
                                                  F: (615) 682-8533
                                                  john@spragenslaw.com

                                                  Attorney for Manookian PLLC and
                                                  Brian Manookian




                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed May 5, 2022 and
 served electronically upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                  /s/ John Spragens




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          Dated: 5/11/2022


                       IN THE UNITED STATTES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 IN RE:                                    )
                                           ) Case No: 3:19-bk-07235
 Cummings Manookian, PLLC,                 ) Chapter 7
                                           ) Honorable Charles M. Walker
              Debtor.                      )
 __________________________________________)
                                           )
 Jeanne Ann Burton, Trustee,               )
                                           )
              Plaintiff,                   )
                                           )
        v.                                 ) Adv. Proceeding: 3:20-ap-90002
                                           )
 Hagh Law, PLLC; Afsoon Hagh; and          )
 Manookian PLLC,                           )
                                           )
              Defendants.                  )
 __________________________________________)

                   ORDER SETTING RESPONSE/OBJECTION DEADLINE
                            AND SCHEDULING HEARING
                   ON MOTION TO DISQUALIFY BANKRUPTCY JUDGE

           THIS MATTER is before the Court on the motion to disqualify filed on May 5, 2022,
 located at Docket Entry #161. The Court being duly advised,
           IT IS HEREBY ORDERED that:
     (1) All responses/objections and filings related to the motion shall be filed no later than
           May 27, 2022.
     (2) An evidentiary hearing is set for presentation of the motion on June 29, 2022, at 1:00
           p.m.
     (3) All parties and/or counsel must appear in person at the above scheduled date and time at
           Courtroom 2, Second Floor, Customs House, 701 Broadway, Nashville, Tennessee.
     (4) Presentation of evidence is subject to applicable Federal and Local Rules.

                       THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                               INDICATED AT THE TOP OF THE FIRST PAGE
                                                                        This Order has been electronically
                                                                        signed. The Judge's signature and
                                                                        Court's seal appear at the top of the
                                                                        first page.
                                                                        United States Bankruptcy Court.

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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION



  IN RE:                                          Case No, 3:19-bk-07235
                                                  Chapter 7
  CUMMINGS MANOOKIAN, PLLC                        Judge Walker

          Debtor.                                 Adv. Proc. No. 3:20-ap-90002

  JEANNE ANN BURTON, TRUSTEE

          Plaintiff,

  v.

  HAGH LAW, PLLC; AFSOON
  HAGH; and MANOOKIAN PLLC,

          Defendants.



           NOTICE OF DEPOSITION OF JUDGE CHARLES M. WALKER


          Pursuant to Federal Rules of Bankruptcy Procedure 7026 and 7030, Manookian

 PLLC, by and through the undersigned counsel, respectfully gives notices that it will take

 the deposition of Judge Charles M. Walker on June 15, beginning at 10:00 a.m. Central

 time at 701 Broadway, Suite 260 Nashville, TN 37203. The deposition will be taken before

 a person authorized by law to administer oaths and will continue from day-to-day until

 the examination is complete. The depositions will be recorded by any means authorized

 by Fed. R. Civ. P. 30(b)(3), pursuant to Fed. Fed. R. Bankr. P. 7030, including

 audiovisually and stenographically.




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          The topics to be addressed are all non-privileged, relevant information; including,

 but not limited to, (1) Judge Walker and his staff’s communications about this matter with

 third parties outside of court proceedings and (2) Judge Walker and his staff’s

 investigation into this matter, the parties, or witnesses outside of the Court record.

 Date: May 31, 2022                                Respectfully submitted,


                                                   /s/ John Spragens
                                                   John Spragens (TN Bar No. 31445)
                                                   Spragens Law PLC
                                                   311 22nd Ave. N.
                                                   Nashville, TN 37203
                                                   T: (615) 983-8900
                                                   F: (615) 682-8533
                                                   john@spragenslaw.com

                                                   Attorney for Manookian PLLC and
                                                   Brian Manookian


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed May 31, 2022 and
 served electronically via upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                    /s/ John Spragens




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          Dated: 7/25/2022
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 IN RE:                              )
                                     ) Case No: 3:19-bk-07235
 Cummings Manookian, PLLC,           ) Chapter 7
              Debtor                 ) Honorable Charles M. Walker
 ____________________________________)
                                     )
 Jeanne Ann Burton,                  )
              Plaintiff              )
                                     )
        v.                           ) Adversary: 3:20-ap-90002
                                     )
 Hagh Law, PLLC,                     )
 Afsoon Hagh,                        )
 Manookian, PLLC, and                )
              Defendants             )
 ____________________________________)


      ORDER DENYING DEFENDANTS’ MOTION FOR ENTRY OF UNOPPOSED
                  SUMMARY JUDGMENT ON ALL CLAIMS

          Defendants, Hagh Law, PLLC, Afsoon Hagh, and Manookian, PLLC, have moved this

 Court for entry of unopposed summary judgment in their favor (See Dkt. #203, hereinafter

 “Motion”) as to all claims contained in the adversary complaint in advancement of their motion

 for summary judgment (Dkt. #188) filed June 24, 2022. For the reasons stated below, the Motion

 is DENIED.

                                        Procedural Posture

          This adversary proceeding was filed on January 8, 2020, by Jeanne Ann Burton, the

 Chapter 7 Trustee in the underlying bankruptcy proceeding of Debtor Cummings Manookian,

 PLLC, a now defunct law firm. (Dkt. #1). The complaint filed by the trustee put forward seven

 claims for relief; conversion, state law fraudulent transfer, avoidance and recovery of fraudulent



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 transfers, tortious interference with contract, successor liability and alter ego, turnover, and

 declaratory judgement.

           On May 5, 2022, Manookian, PLLC and Brian Manookian, a non-party to this

 proceeding, entered a Motion to Disqualify Bankruptcy Judge Charles M. Walker. (Dkt. # 161).

 In support of this motion, Defendant Manookian, PLLC entered a Notice of Deposition of Judge

 Charles M. Walker seeking testimony related to the circumstances alleged to provide grounds for

 recusal. (Dkt. #177). The Court entered an Order Quashing Notice of Deposition on June 1,

 2022. (Dkt. #178). Brian Manookian and Manookian, PLLC appealed this Order to the United

 States District Court on June 14, 2022. (Dkt. #184). The matter currently remains pending on

 appeal.

           On June 24, 2022, subsequent to the filing of the appeal, Defendants filed the

 aforementioned Motion for Summary Judgment, seeking summary judgment on all seven claims.

 (Dkt. #188). To date, the Plaintiff has filed no response to the Motion for Summary Judgment.

 The Motion for Recusal was set for hearing on June 29, 2022. At that time, the Court read a

 statement into the record wherein the effect of the appeal on the jurisdiction of this Court was

 acknowledged:

           Based on the pendency of the appeal in the United States District Court for the
           Middle District of Tennessee, this Court is divested of jurisdiction over aspects of
           the case subject to the appeal. Here, the appeal is from an Order Quashing a
           Deposition request in furtherance of a Motion to Disqualify the judge. The appeal
           is directly related to the issue of this judge’s ability to render judgement in this case.

           Statement of the Honorable Charles M. Walker read into the record on June 29,
           2022, at hearing (See Exhibit A incorporated herein).

           On July 15, 2022, Defendants filed the instant Motion for Entry of Summary Judgement

 on All Claims and a proposed order.




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                                               Discussion

                  “A federal district court and a federal court of appeals should not attempt to
          assert jurisdiction over a case simultaneously. The filing of a notice of appeal is an
          event of jurisdictional significance – it confers jurisdiction on the court of appeals
          and divests the district court of its control over those aspects of the case involved
          in the appeal.” Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982).

          “This transfer of power, however, does not effect a total divestiture of jurisdiction from the

 district court: it retains jurisdiction to enforce its judgment, to proceed with matters that will aid

 the appellate process, and to adjudicate matter unrelated to the issues on appeal.” Williamson v.

 Recovery Ltd. P’ship, 731 F.3d 608, 626 (6th Cir. 2013) (citations omitted). The limited

 jurisdiction which a district court retains to take actions in aid of an appeal is a “narrowly defined”

 class of actions, which “does not include actions that alter the case on appeal”. United States v.

 Carman, 933 F.3d 614, 617 (6th Cir. 2019) (internal quotations omitted). See also United States

 v. Gallion, 534 Fed. Appx. 303, 310 (6th Cir. 2013) (“[T]he test of whether an issue is collateral

 to a claim on appeal, and therefore whether a district court may retain jurisdiction . . . considers

 whether the action by the district court would alter the status of the case as it rests before the Court

 of Appeals”.)(citation omitted) “Any action of the district court pertaining to matters involved in

 the appeal is null and void and will be vacated”. Kelley v. St. Paul Fire & Marine Ins. Co., No. 87-

 1639, 1988 U.S. App. LEXIS 11765 at *8 (6th Cir. Aug. 29, 1988).

          It is well settled law that entry or alteration of a judgment, including summary judgment,

 alters the status of a case such that it disturbs a matter on appeal. See Knutson v. AG Processing,

 Inc., 302 F.Supp.2d 1023, 1030 (N.D. Iowa 2004)(citing Dayton Indep. Sch. Dist. v. U.S. Mineral

 Prods. Co., 906 F.2d 1059, 1063 (5th Cir. 1990))(rev’d on other grounds, Knutson v. AG

 Processing, Inc., 394 F.3d 1074 (8th Cir. 2005)). See also Landman v. Mitchell, 445 F.2d 274, 275

 (5th Cir. 1971) (observing that a party’s filing of an appeal divested the district court of jurisdiction

 to enter any order on that party’s subsequent motion for summary judgment); United States v.
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 Brown, 17 Fed. Appx. 367, 368–69 (6th Cir. 2001) (declaring that a district court did not have

 jurisdiction to address a motion to dismiss an indictment pending an appeal); Inland Bulk Transfer

 Co. v. Cummins Engine Co., 332 F.3d 1007, 1013 (6th Cir. 2003) (emphasizing a distinction

 “between actions that merely aid the appellate process and actions that alter the case on appeal”);

 United States v. Holloway, 740 F.2d 1373, 1382 (6th Cir. 1984) (declaring that a district court

 lacked jurisdiction to alter the status of a sentence while an appeal was pending). N.L.R.B. v.

 Cincinnati Bronze, Inc., 829 F.2d 585, 588 (6th Cir. 1987) (“[A] district court may not alter or

 enlarge the scope of its judgment pending appeal”); United States v. Harvey, 996 F.3d 310, 313

 (6th Cir. 2021) (determining that a district court could not issue an opinion after an appeal had

 been filed); United States v. Sutton, 573 Fed. Appx. 560, 562 (6th Cir. 2014) (filing of an appeal

 removed the district court’s jurisdiction to enter a judgment); Washington v. Kelly, No. 1:05-CV-

 577, 2009 WL 233711 at *3 (N.D. Ohio Jan. 30, 2009) (declaring that a pending appeal removed

 the court’s jurisdiction to consider either a motion for default judgment or a motion to disqualify

 the judge).

          The appeal in this case is directly related to the ability of this Court to continue adjudication

 of this matter, and an entry of summary judgment would clearly alter the status of matters involved

 in the appeal. Therefore, because this Court lacks jurisdiction at this time to adjudicate the relief

 requested in the Motion and for the reasons stated in this Court’s statement read into the record at

 the June 29, 2022, hearing (See attached Exhibit A incorporated herein), the Motion for Entry of

 Unopposed Summary Judgment on All Claims (Dkt. #203) is DENIED.



                        THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
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                  EXHIBIT A




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                          Burton v Hagh, et al                    20-ap-90002

                           Statement Read Into the Record June 29, 2022

          On June 14, 2022, Defendant, Manookian PLLC and a member of that Defendant – a

 non-party to this proceeding - Brian Manookian, filed a Notice of Appeal and Statement of

 Election from this Court’s June 1, 2022, Order Quashing the Notice of Deposition of Charles M.

 Walker, the judge assigned to the adversary, following the filing of a Motion to Disqualify the

 bankruptcy judge assigned this case.

          Based on the pendency of the appeal in the United States District Court for the Middle

 District of Tennessee, this Court is divested of jurisdiction over aspects of the case subject to the

 appeal. Here, the appeal is from an Order Quashing a Deposition request in furtherance of a

 Motion for Disqualify the judge. The appeal is directly related to the issue of this judge’s ability

 to render judgment in this case.

          On the filing of a timely notice of appeal, the lower court is “[divested] of its control over

 those aspects of the case involved in the appeal” and the appellate court assumes jurisdiction.

 Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982). Once the appeal has been

 filed the court cannot take any action that would “alter the status of the case as it rests before the

 Court of Appeals”. Knutson v. AG Processing, Inc., 302 F.Supp.2d 1023, 1029 (N.D. Iowa 2004)

 (citing Dayton Indep. Sch. Dist. V. U.S. Mineral Prods. Co., 906 F.2d 1059, 1063 (5th Cir.

 1990))(rev’d on other grounds, Knutson v. AG Processing, Inc., 394 F.3d 1074 (8th Cir. 2005)).

          The Defendants have filed a Motion for Summary Judgment. Summary Judgement is

 considered among those action that are impermissible for a lower court to adjudicate as it would

 disturb the case before the appellate court. Considering that the Defendants seek a ruling on

 summary judgement on all claims, it follows that any ruling on such a motion would disturb the



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 case as it sits before the appellate court. Allan Ides, The Authority of a Federal District Court to

 Proceed After a Notice of Appeal has Been Filed, 143 F.R.D. 307, 308 (1992). See also,

 Landman v. Mitchell, 445 F.2d 274, 275 (5th Cir. 1971)(upholding a District Court’s decision to

 enter no order on a motion for summary judgement that was filed three weeks after a notice of

 appeal due to lack of jurisdiction).

          The Plaintiffs have filed an Expedited Motion for Status Conference and this Court has

 entered an Order setting that Conference, as well as a deadline to reply to the motion. Although

 the Court lacks jurisdiction to entertain any proceedings in this case that implicate the issues

 presented by the pending appeal, the Court retains limited authority to address ministerial affairs

 such as the evidentiary housekeeping issues present by the pending motion for a status

 conference, which has no bearing on the disposition of the appeal. “The filing of a notice of

 appeal is an event of jurisdictional significance — it confers jurisdiction on the court of appeals

 and divests the district court of its control over those aspects of the case involved in the appeal.”

 Citing the Griggs case at P.58. “It is generally understood that a federal district court and a

 federal court of appeals should not attempt to assert jurisdiction over a case simultaneously.”

 Ibid. However, in certain circumstances limited power is retained to address aspects of the case

 not involved in the appeal, when the court's action “do[es] not threaten the orderly disposition of

 the interlocutory appeal.” Sanford v. Russell, 2019 WL 12074092, at *1 (E.D. Mich. June 4,

 2019) (citations omitted). This Court therefore, may issue the scheduling of evidentiary motions,

 but will not rule on those issues pending the appellate process as such scheduling will not affect

 any rights at stake in the pending appeal. Pretrial and Status Conference are set for July 13, 2022,

 at 11:00 a.m. in person in this Courtroom.




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          Therefore, given the issue on appeal, all matters before this Court are stayed pending the

 appeal. Ruling on discovery issues is stayed as well, except that the scheduling order entered

 regarding the Motion for Status Conference remains in effect. Moreover, the Court notes that the

 appeal is from one order of this Court and does not serve to disturb orders previously entered in

 this case.




                                                                        This Order has been electronically
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                                                                        United States Bankruptcy Court.

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                        UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 IN RE: CUMMINGS MANOOKIAN, PLLC,                       )
                                                        )
                 Debtor                                 )
                                                        )
 BRIAN MANOOKIAN,                                       )
                                                        )
                 Appellant                              )
                                                        )
          v.                                            )       No: 3:21-cv-00797
                                                        )
 JEANNE ANN BURTON, TRUSTEE,                            )
                                                        )
                 Appellee.                              )


                             MEMORANDUM OPINION AND ORDER

          This bankruptcy appeal presents the question of whether the Bankruptcy Court applied the

 correct legal standard in determining that the debtor lacked standing to challenge a proposed

 settlement agreement. Because the Court finds that it did not, the settlement agreement will be

 vacated and this case will be returned to the Bankruptcy Court for further proceedings.

                                                   I.

          Brian Manookian, the appellant herein, filed a voluntary petition for Chapter 7 relief on

 behalf of the debtor, Cummings Manookian, PLC, a defunct Tennessee law firm. Jeanne Ann

 Burton, the appellee herein, was appointed to serve as the Chapter 7 Trustee for the estate of

 Cummings Manookian, PLC. Burton, in turn, sought to employ Thompson Burton, PLLC as special

 counsel, ostensibly because Phillip Young, a member of that firm, had been serving as receiver for

 the collection of the Debtor’s accounts receivable in a state court action that was pending at the time

 the bankruptcy petition was filed. Over appellant’s objection that such employment would create a




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 conflict of interest, the Bankruptcy Court approved the employment of Thompson Burton.

          At issue on this appeal is Claim 5, or the Chase Claim, which is the largest claim brought

 against the estate. This is an unsecured claim filed by Dean Chase, Sandra Chase, and D.F. Chase,

 Inc. (“the Chase Parties” or “the Chase Claims”) that arose from a sanctions judgment issued by

 Williamson County Circuit Court Judge Michael Binkley worth somewhere in the neighborhood of

 $750,000 to $800,000, with appellant putting the figure at $748,769.21 (which may have been the

 amount of sanctions imposed by the judge) and the appellee placing the figure at $806,927.04 (which

 may have been the entire amount listed in Claim 5). Regardless, the sanctions judgment was vacated

 by the Tennessee Court of Appeals because the trial judge harbored animus against Manookian. The

 appeals court also ordered a “retroactive recusal,” and remanded the case for further proceedings

 before a different trial judge. Chase v. Stewart, No. M201801991COAR3CV, 2021 WL 402565,

 at *6 (Tenn. Ct. App. Feb. 4, 2021).

          The Bankruptcy Trustee agreed to settle the Chase Claim for $250,000, and that decision was

 approved by the Bankruptcy Judge. The propriety of the decision by the Trustee to settle the claim,

 however, is disputed by the parties.

          The Trustee claims that the decision to settle was straight-forward. At the time the Petition

 in bankruptcy was filed, the sanctions judgment was on appeal, but the underlying case was not

 stayed, making the Chase Claim “valid and enforceable.” (Doc. No. 9 at 7). Even though the

 sanctions judgment was later vacated by the state appellate court, a new judge would have to

 determine whether sanctions were appropriate. “In the face of th[is] uncertainty,” the Trustee

 decided to settle the Chase Claim for a fraction of its value in order to “reduce[] the potential

 exposure of the estate,” and “allow[] the estate to avoid lengthy and costly ongoing litigation.” (Id.


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 at 8).

          Manookian presents a much more nefarious scenario. According to him, while the sanction

 judgment was on appeal in the state court, the Chase Parties filed a collections action in the

 Williamson County Chancery Court to create a receivership over Cummings Manookian's accounts

 receivable. Phillip Young, the same attorney who would later be appointed special counsel to the

 bankruptcy Trustee, was appointed as a receiver to collect on the judgment, and he immediately

 began placing liens on Cummings Manookian's receivables and levying on them as they came due.

 Young allegedly collected, and paid to himself, tens of thousands of dollars owed to Cummings

 Manookian, and instituted adversary proceedings against it.

          After the appeals court issued its opinion vacating the sanctions judgment, the Chase Parties

 sought rehearing. Two days after that request was denied, the Chase Parties sent a settlement letter

 to Manookian’s counsel, offering to “walk-away” from their claim in exchange for “no payment”

 and the signing of mutual releases. (Doc. No. 5 at 8). Days later, however, the Chase Parties “sua

 sponte and gratuitously announced they had agreed to pay all of Phillip Young’s outstanding fees

 in the State Collections action.” (Id. at 9). Shortly thereafter, Young, on behalf of the Bankruptcy

 Trustee, oddly proposed to pay the Chase Parties $250,000 as settlement for their claims, a vastly

 different outcome from the “walk away” settlement originally proposed.

          It was against this backdrop that the Bankruptcy Court was presented with the Trustee’s

 Motion to Approve Compromise and Settlement of the Chase Claim. The Bankruptcy Court held

 a bifurcated hearing on September 29, 2021. During the first phase, the issue of whether Manookian

 had standing to object to the proposed settlement was addressed, and the Bankruptcy Court found



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 that he did not. During the second phase, the Bankruptcy Court considered the settlement motion

 and an objection that had been filed by attorney John R. Konvalinka. Ultimately, the Bankruptcy

 Court found that “[t]he Trustee properly exercised her business judgment in reaching the proposed

 settlement of the Claim filed by the Chase Parties as proposed in the Settlement Motion,” and

 approved the proposed settlement. (Doc. No. 1-3 at 3). Whether the Bankruptcy Court committed

 legal error in ruling that Manookian lacked standing is the subject of the appeal.

                                                  II.

          On appeal from the bankruptcy court, findings of fact are reviewed under the clearly

 erroneous standard, while conclusions of law are reviewed de novo. Rogan v. Bank One, N.A. (In

 re Cook), 457 F.3d 561, 565 (6th Cir. 2006). “ Furthermore, when a question in the bankruptcy

 context involves a mixed question of law and fact, [the court] must break it down into its constituent

 parts and apply the appropriate standard of review for each part.” In re Am. HomePatient, Inc., 420

 F.3d 559, 563 (6th Cir. 2005) (quoting Wesbanco Bank Barnesville v. Rafoth (In re Baker & Getty

 Fin. Servs., Inc.), 106 F.3d 1255, 1259 (6th Cir.1997).

          “A trustee in bankruptcy has the authority to seek a settlement of claims available to the

 debtor, but any proposed settlement is subject to the approval of the bankruptcy court, which enjoys

 ‘significant discretion.’” In re MQVP, Inc., 477 F. App’x 310, 312–13 (6th Cir. 2012) (citing Fed.

 R. Bankr. P. 9019(a); In re Rankin, 438 F. App’x. 420, 426 (6th Cir.2011)). “When determining

 whether to approve a proposed settlement, the bankruptcy court may not rubber stamp the agreement

 or merely rely upon the trustee’s word that the settlement is reasonable,” but instead is under “an

 affirmative obligation to apprise itself of the underlying facts and to make an independent judgment



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 as to whether the compromise is fair and equitable.” Id. (citing Reynolds v. C.I.R., 861 F.2d 469, 473

 (6th Cir.1988)).

          In finding that Manookian did not have standing to contest the proposed settlement, the

 Bankruptcy Court orally ruled:

          Mr. Manookian, to date, has not offered any concrete evidence, and I'll use that same
          word that Mr. Young has used, that this is a surplus case. What has been shown is
          there are many variables. As I've already mentioned, that go into determining the
          exact monetary value of bankruptcy estate.

          In this instance, the burden was on Mr. Manookian to produce something tangible
          and concrete that the Court could rely on in making a determination that the [sic] it’s
          a high likelihood that this case would be a surplus case.

 (Doc. No. 4-1, Hearing Transcript at 53-54) (emphasis added). This was legal error because it placed

 too heavy a burden on Manookian to establish standing.

          “[T]he standing question is purely a legal one,” Moran v. LTV Steel Co. (In re LTV Steel

 Co.), 560 F.3d 449, 452 (6th Cir.2009), and in the bankruptcy context only those that “are adversely

 affected pecuniarily” have standing, In re Moran, 566 F.3d 676, 680 (6th Cir. 2009). “Debtors,

 particularly Chapter 7 debtors, rarely have such a pecuniary interest because no matter how the

 estate’s assets are disbursed by the trustee, no assets will revert to the debtor.” In re Lunan, 523 F.

 App’x 339, 340 (6th Cir. 2013) (citing Cult Awareness Network, Inc. v. Martino (In re Cult

 Awareness Network, Inc.), 151 F.3d 605, 607 (7th Cir.1998)). Where, however, a debtor can show

 that the estate has assets in excess of liability that would entitle him or her to a distribution of the

 surplus, then the debtor has standing as a “person aggrieved.” Id. In this regard, “[t]he debtor must

 show more than a metaphysical possibility of surplus; instead it ‘must show that such surplus is a

 reasonable possibility.’” In re Khan, 544 F. App’x 617, 619 (6th Cir. 2013) (quoting In re Lunan,

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 523 Fed. App’x at 340).

          Because Manookian did not present “something tangible and concrete” to establish a “high

 likelihood” there would be a surplus (as opposed to a reasonable possibility), he was unable to argue

 against the proposed settlement, and this may have affected his due process rights. Although the

 Trustee argues that Manookian’s “interests were . . . considered” because Konvalinka’s objections

 were heard during the second phase of the bifurcated hearing (Doc. No. 9 at 8), and while the

 Bankruptcy Court stated that “there is no harm to Mr. Manookian because the Court still is

 addressing the sufficiency of the settlement agreement in which the Trustee is attempting to enter

 into,” (Doc. No. 4-1 at 56), different litigant’s arguments do not necessarily go hand-in-hand, nor

 are they always fungible. As the Bankruptcy Court observed with regard to the propriety of the

 settlement agreement, “Mr. Manookian . . . doesn’t get his day in court, but the issue gets its day in

 court.” (Doc. No. 4-1 at 55). Nevertheless, a litigant’s due process deserves consideration applying

 the correct legal standard.

          In their respective briefs, the parties suggest that there either was or was not a reasonable

 possibility of a surplus, and this Court could make that determination based upon the appellate

 record. However, because “[a] bankruptcy court’s finding that a reasonable possibility of a surplus

 does not exist is a finding of fact,” In re Licata, 659 F. App’x 704, 706 (2d Cir. 2016), the Court will

 leave it to the Bankruptcy Judge to make that determination under the proper standard because he

 is intimately familiar with the facts of this case.

                                                   III.

          For the foregoing reasons, the Bankruptcy Court’s “Order Granting Motion to Approve



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 Compromise and Settlement and Finding that Brian Manookian Lacks Standing” (Doc. No. 1-3) is

 hereby VACATED. This case is REMANDED to the Bankruptcy Court for further proceedings not

 inconsistent with this Memorandum Opinion.

          IT IS SO ORDERED.



                                           __________________________________________
                                           WAVERLY D. CRENSHAW, JR.
                                           CHIEF UNITED STATES DISTRICT JUDGE




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          Dated: 4/5/2023




                         IN THE UNITED STATTES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


 IN RE:                                    )
                                           ) Case No: 3:19-bk-07235
 Cummings Manookian, PLLC,                 ) Chapter 7
                                           ) Honorable Charles M. Walker
              Debtor.                      )
 __________________________________________)
                                           )
 Jeanne Ann Burton, Trustee,               )
                                           )
              Plaintiff,                   )
                                           )
        v.                                 ) Adv. Proceeding: 3:20-ap-90002
                                           )
 Hagh Law, PLLC; Afsoon Hagh; and          )
 Manookian PLLC                            )
                                           )
              Defendants.                  )
 __________________________________________)


                           ORDER DENYING MOTION TO DISQUALIFY
                           BANKRUPTCY JUDGE CHARLES WALKER

           THIS MATTER came before the Court for an evidentiary hearing1 on April 4, 2023. At

 that time, Counsel for the Plaintiff and Counsel for Defendants and Brian Manookian2 appeared

 and were heard. When counsel for the Movants sought to call his first witness, Trustee’s counsel




 1
   The hearing was set to afford the opportunity for the movants to prosecute their motion either by introduction of
 evidence and/or argument. “The purpose of an evidentiary hearing is to permit both parties to present their cases
 and to challenge the other side's case in court and on the record.”
 In re McCashen, 339 B.R. 907, 908 (Bankr. N.D. Ohio 2006)
 2
   John T. Spragens and Craig V. Gabbert, Jr. for Hagh Law PLLC and Afsoon Hagh. Mr. Spragens also appeared on
 behalf of Manookian PLLC and Brian Manookian as Movants.

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 objected on the grounds that Movants filed their Witness list in violation of Local Rule 9014-1.3

 The Court sustained the objection and no witnesses were presented per that oral ruling. The

 Court then heard argument from both sides, and for the following reasons, the Motion to

 Disqualify is DENIED.

 The Motion to Disqualify

          Brian Manookian, a non-party to this action, 4 and Manookian PLLC (hereinafter

 “Movants”), seek to have the sitting judge in this case recused for ex parte communications and

 extrajudicial research regarding this case. The bases for this motion lie in statements made by

 Trustee’s counsel during a deposition5on April 12, 20226, and those made in Judge Charles M.

 Walker’s decision regarding discovery disputes that were the subject of a March 17, 2022

 hearing.

          This motion alleges that ex parte communications about Brian Manookian made to the

 Court were improper ex parte conversations requiring Judge Walker to recuse himself for


 3
   Local Rule 9014 provides in relevant part: (1) Pretrial Court Filings. In addition to the initial disclosures
 that may be invoked by paragraph (2) below, and regardless of whether such pretrial disclosure process
 has been invoked,
 every party shall file with the court and provide to every other party by noon 2 business days prior to
 the hearing the following information regarding evidence it may present at a hearing or trial (other
 than solely for impeachment purposes):
          (a) The name, address and telephone number of each witness the party expects to present
 or may call if the need arises;
          (b) A copy of the transcript of testimony or affidavit of any witness whose testimony will
 be offered in that form;
          (c) A list and copy, with appropriate identification, of each document or other exhibit a
 party expects to offer or may offer as evidence. (For any matter to be heard in the Nashville Division,
 the exhibits shall be filed and exchanged utilizing the court’s Electronic Evidence Submission
 Application pursuant to the Electronic Evidence Procedures.) . . .
 4
   Sole member of the Debtor and of Defendant, Manookian PLLC
 5
   Philip Young, Trustee’s counsel in this matter, also served as the receiver in a related state court case.
 6
   Although the referenced communication is referred to in footnote #2 of the motion and the transcript
 attached, the communication is repeatedly referred to as a communication with chambers. Mr. Young
 states that he spoke with Judge Walker’s courtroom deputy-at-the-time, an employee of the Clerk of
 Court. No reference, allegation, or argument appears in the motion regarding any ex parte communication
 between Mr. Young and chambers staff.

                                                                                                               2

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 violating 28 U.S.C. §§ 455(a) and (b)(1), and the Code of Conduct for Federal Judges.7

 Specifically, the motion refers to Judge Walker’s statements on the record in open court, with all

 parties’ counsel present, regarding calls to the court from lawyers expressing their discomfort if

 Mr. Manookian were to appear at hearings and depositions in this case. Transcript, P.84.

 Movants allege that Judge Walker “engaged in multiple prohibited ex parte communications

 about Brian Manookian and this proceeding with ‘at least two [unidentified] lawyers’ while this

 action has been pending.” ECF 161, P1. It appears the allegation of “multiple . . . at least two

 [unidentified] lawyers” includes a conversation the Trustee’s attorney had with a courtroom

 deputy.8

          Movants go on to accuse Judge Walker of failing to notify the parties of “its repeated

 conversations” alleging that the Court only did so much later to justify a ruling regarding the

 location of depositions, and movants were not afforded the opportunity to respond. Additionally,

 movants state that these communications had a “corrosive effect on the Court” which has only

 recently become clear. Id. at P.2.

          The motion goes on to assert that Judge Walker’s statements regarding Mr. Manookian’s

 “past behavior before tribunals” indicates that the judge has engaged in extrajudicial research

 and has formed a bias against Mr. Manookian as a result – also requiring recusal. Id. The motion

 quite emphatically states that “No court has ever found that he [Mr. Manookian] acted even

 remotely inappropriately, much less in a physically threatening manner, during a deposition –

 nor, crucially, does the record in this case support such a finding.” Id at P6.




 7
   See § 20:118.25. Ethics and Code of Conduct for Federal Judges, 6 Pat. L. Fundamentals § 20:118.25
 (2d ed.).
 8
   The Trustee’s attorney is identified in the motion at FN 2.

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          Co-counsel for Defendants Afsoon Hagh and Hagh Law PLLC filed a response joining in

 the motion. In this response (ECF 173), those Defendants question the Court’s Order setting this

 motion for evidentiary hearing (ECF 165)9 “when the person holding the most pertinent factual

 information to resolve this motion is the Court, in terms of the contents of the ex parte

 communications bearing on safety issues.” Id at P2. The Plaintiff/Trustee also filed a response,

 emphasizing that the communications at issue although ex parte, were permissible. ECF 174.

 Recusal Standards

          Fed. R. Bankr. P. 5004(a) mandates that a bankruptcy judge shall be governed by 28 USC

 § 455 and disqualified from presiding over a proceeding or contested matter in which the

 disqualifying circumstance arises or, if appropriate, shall be disqualified from presiding over the

 case. 28 U.S.C. § 455 provides the legal standards for disqualification of a Judge from a

 proceeding: 28 U.S.C. § 455(a) and 28 U.S.C. §455 (b)(1). 10

                           1. Mandatory Recusal under 28 U.S.C. §455(a)

          The relevant sections of 28 U.S.C. 455 require that a judge be disqualified if there exists

 a reasonable question as to his impartiality. 28 U.S.C. § 455(a). Specifically:

          (a) Any justice, judge, or magistrate judge of the United States shall disqualify
          himself in any proceeding in which his impartiality might reasonably be
          questioned.
          (b) He shall also disqualify himself in the following circumstances:
          (1) Where he has a personal bias or prejudice concerning a party, or personal
          knowledge of disputed evidentiary facts concerning the proceeding;
          28 U.S.C.A. § 455 (West)

          “A violation of § 455(a) is established when a reasonable person, knowing the relevant

 facts, would expect that a justice, judge, or magistrate knew of circumstances creating an


 9
   ECF 165 set the motion for evidentiary hearing on June 29, 2022. That hearing was canceled pending
 resolution of the Appeal of this Court’s order at ECF 178
 10
    For the purposes of this Order, only the relevant sections of 28 U.S.C. 455 will be discussed.
 Additionally, 28 U.S.C. § 455(d)(1) provides terminology infra.

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 appearance of partiality....” Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 850

 (1988). Scienter of the Judge is not required for a violation of § 455(a). Id. at 859. “[S]ection

 455(a) was intended to establish an objective test.” Health Services Acquisition Corp. v.

 Liljeberg, 796 F.2d 796, 800 (5th Cir. 1986). Judges must recuse themselves if a reasonable,

 objective person, knowing all of the circumstances, would question the judge's impartiality.

 Hughes v. United States, 899 F.2d 1495, 1501 (6th Cir. 1990).

          While this statute imposes a duty to recuse where grounds exist, there is also a duty not to

 do so if no cause is shown. In re Fowler, No. 01-10615, 2004 Bankr. LEXIS 67 at *10 (Bankr.

 E.D. Ky. Jan 29, 2004) (citing Computer Dynamics, Inc., 253 B.R. 693, 698 (E.D. Va. 2000)).

 Since the standard is objective, "the judge need not recuse himself based on the 'subjective view

 of a party' no matter how strongly that view is held." United States v. Sammons, 918 F.2d 592,

 599 (6th Cir. 1990) (citing Browning v. Foltz, 837 F.2d 276, 279 (6th Cir. 1988), cert. denied,

 488 U.S. 1018, 109 S. Ct. 816, 102 L. Ed. 2d 805 (1989). In fact, “there is as much obligation

 upon a judge not to recuse himself when there is no occasion as there is for him to do so when

 there is." Easley v. Univ. of Mich. Bd. of Regents, 853 F.2d 1351, 1356 (6th Cir. 1988)

 (quoting In re Union Leader Corp., 292 F.2d 381, 391 (1st Cir. 1961)).”

                          2. Mandatory Recusal under 28 U.S.C. §455(b)(1)

          A Judge shall disqualify himself “where he has a personal bias or prejudice concerning a

 party, or personal knowledge of disputed evidentiary facts concerning the proceeding.” 28

 U.S.C. § 455(b)(1)

                 a. Personal bias or prejudice

          Personal bias is prejudice emanating from a source other than participation in the

 proceedings or prior contact with related cases. Wheeler v. Southland Corp., 875 F.2d 1246,



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 1251 (6th Cir. 1989) (citing Demjanjuk v. Petrovsky, 776 F.2d 571, 577 (6th Cir. 1985), cert.

 denied, 475 U.S. 1016, 89 L. Ed. 2d 312, 106 S. Ct. 1198 (1986)). Disqualifying prejudice or

 bias must ordinarily be personal or extrajudicial. United States v. Sammons, 918 F.2d 592, 599

 (6th Cir. 1990); Wheeler v. Southland Corp., 875 F.2d 1246, 1251 (6th Cir. 1989). Predilections

 resulting from the record and/or proceedings before the judge, do not constitute bias unless they

 display such a high degree of favoritism or antagonism as to make fair judgment impossible.

 Liteky v. United States, 510 U.S. 540, 555 (1994). A judge's conduct must be “so extreme as to

 display clear inability to render fair judgment" to be characterized as bias or prejudice. Id at 551.

          Moreover, a judge is charged with efficient and justiciable case administration. This

 sometimes means navigating potential difficulties between the parties, as well as ensuring that all

 proceedings are conducted fairly and do not put any party participating in the proceeding in a

 position of concern or discomfort. “A judge's ordinary efforts at courtroom administration --

 even a stern and short-tempered judge's ordinary efforts at courtroom administration -- remain

 immune.” Id at 556.

          Under § 455(b)(1), the issue to be determined is whether the judge retains bias or

 prejudice as to a particular party or has knowledge of disputed facts. In re AVN Corp., No. 98-

 20098-L, 1998 WL 35324198 at *3 (Bankr. W.D. Tenn. Dec. 8, 1998). A judge should not

 recuse himself if his alleged personal bias stems from the facts the judge learned when

 participating in the case in his judicial capacity. United States v. Story, 716 F.2d 1088, 1090 (6th

 Cir. 1983). “Under § 455(b)(1), as under § 455(a), inferences drawn from prior judicial

 determinations concerning a party in the case in which recusal is sought are insufficient because

 it is the duty of the judge to rule upon issues of fact and law and questions of conduct which

 form part of the proceedings before him.” In re AVN at *3. The United States Supreme Court



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 has emphasized that "judicial rulings alone almost never constitute a valid basis for a bias or

 partiality motion." Liteky at 555.

                          b. Personal knowledge of disputed evidentiary facts

           ‘[P]ersonal knowledge' is “knowledge gained through firsthand observation or

 experience, as distinguished from a belief based on what someone else has said.”

 KNOWLEDGE, Black’s Law Dictionary (11th ed. 2019). Therefore, when it is clear that the

 facts at issue were gleaned from the court record, including court filings and proceedings before

 the judge, and thereby not from extrajudicial sources, the judge need not, and should not, recuse

 himself. United States v. Baker, 441 F. Supp. 612, 618 (M.D.Tenn. 1977). See also Liteky at

 551 (“[N]ot subject to deprecatory characterization as “bias” or “prejudice” are opinions held by

 judges as a result of what they learned in earlier proceedings.”)

                                3. Code of Conduct for Federal Judges11

           The Code of Conduct for Federal Judges sets forth the obligations and constraints

 imposed upon federal judges. This Code of Conduct is not a suggestion or a guideline, it contains

 provisions that are to be adhered to in an effort to maintain the integrity of the judiciary and

 cultivate confidence in the judicial process. The relevant provisions or Canons are set forth

 below:

                                Canon 3: A Judge Should Perform the
                         Duties of the Office Fairly, Impartially and Diligently

                 The duties of judicial office take precedence over all other activities. The
          judge should perform those duties with respect for others, and should not engage
          in behavior that is harassing, abusive, prejudiced, or biased. The judge should
          adhere to the following standards:
       (A) Adjudicative Responsibilities.
        [.]..



 11
      Hereinafter “Code of Conduct”

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        (4) A judge should accord to every person who has a legal interest in a
         proceeding, and that person's lawyer, the full right to be heard according to law.
         Except as set out below, a judge should not initiate, permit, or consider ex parte
         communications or consider other communications concerning a pending or
         impending matter that are made outside the presence of the parties or their
         lawyers. If a judge receives an unauthorized ex parte communication bearing on
         the substance of a matter, the judge should promptly notify the parties of the
         subject matter of the communication and allow the parties an opportunity to
         respond, if requested. A judge may:
     o (a) initiate, permit, or consider ex parte communications as authorized by law;
     o (b) when circumstances require it, permit ex parte communication for scheduling,
         administrative, or emergency purposes, but only if the ex parte communication
         does not address substantive matters and the judge reasonably believes that no
         party will gain a procedural, substantive, or tactical advantage as a result of the ex
         parte communication; . . .
     (C) Disqualification.
      (1) A judge shall disqualify himself or herself in a proceeding in which the judge's
         impartiality might reasonably be questioned, including but not limited to instances in
         which:
             o (a) the judge has a personal bias or prejudice concerning a party, or personal
                 knowledge of disputed evidentiary facts concerning the proceeding;

 § 20:118.25. Ethics and Code of Conduct for Federal Judges, 6 Pat. L. Fundamentals § 20:118.25
 (2d ed.)

          Canon 3C of the Code of Conduct mirrors § 455. The statutory provision is binding on

 the courts as law applicable to whether recusal is required. “The substantially identical canon

 provision is a subset of a code of judicial obligations that are ethically binding.” Ragozzine v.

 Youngstown State Univ., 783 F.3d 1077, 1080 (6th Cir. 2015).

          “Based on Canon 2 of the Code of Judicial Conduct which states that ‘[a] judge should

 avoid impropriety and the appearance of impropriety in all his activities’ § 455(a) provides that a

 ‘judge . . . . shall disqualify himself in any proceeding in which his impartiality might reasonably

 be questioned.’” Securities Investor Protection Corp. v. Bell & Beckwith, 28 B.R. 285, 288,

 (Bankr. N.D. Ohio 1983).




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                                     4. ExParte Communications

                            A. Definition

          Black's Law Dictionary defines "ex parte communication" as “A communication between

 counsel or a party and the court when opposing counsel or party is not present.”

 COMMUNICATION, Black's Law Dictionary (11th ed. 2019). Black's Law Dictionary further

 defines "ex parte" as “[d]one or made at the instance and for the benefit of one party only, and

 without notice to, or argument by, anyone having an adverse interest; of, relating to, or involving

 court action taken or received by one party without notice to the other.” EX PARTE, Black's

 Law Dictionary (11th ed. 2019)

                           B. Ex Parte and the Code of Conduct:
                        Communication Regarding Scheduling is Allowable.

          The Code of Conduct for Federal Judges discusses ex parte communications in Canon

 3(A) stating specifically that “except as set out below, a judge should not initiate, permit, or

 consider ex parte communications.” (emphasis added). Then below, Canon 3 states “A judge

 may (b) when circumstances require it, permit ex parte communication for scheduling,

 administrative, or emergency purposes, but only if the ex parte communication does not address

 substantive matters and the judge reasonably believes that no party will gain a procedural,

 substantive, or tactical advantage as a result of the ex parte communication.” Code of Conduct

 Canon 3(A)(4)(b). Additionally, Canon 3 states that “[i]f a judge receives an unauthorized ex

 parte communication bearing on the substance of the matter, the judge should promptly notify

 the parties of the subject matter of the communication and allow the parties an opportunity to

 respond, if requested.” Id. (emphasis added).




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          The 6th Circuit in Gerber v. Veltri verified that a communication between Judge and

 counsel for limited, administrative purposes was not prohibited by Canon 3(A)(4)(b):

          “When circumstances require it, Canon 3(A)(4)(b) ‘permit[s] ex parte
          communication for scheduling, administrative, or emergency purposes,’ but only
          ‘if the ex parte communication does not address substantive matters and the judge
          reasonably believes that no party will gain a procedural, substantive, or tactical
          advantage as a result of the ex parte communication.’ Judge Zouhary's discussion
          with defense counsel was for these limited, administrative purposes. What is
          more, plaintiff identifies no advantage that defendant received as a result of the
          communication.”
          Gerber v. Veltri, 702 Fed. App’x. 423, 433 n.7 (6th Cir. 2017).

                            C. Ex parte communications on the record provide
                            all parties meaningful opportunity to address.

          Disclosing ex parte communications on the record and before counsel allows for any

 objections and affords all parties the opportunity to correct any errors which may have resulted.

 See Moore v. Mitchell, No. 1:00-CV-023, 2007 WL 4754340, at *30 (S.D. Ohio Feb. 15, 2007)

 (citations omitted).

          As described by other Bankruptcy Courts and as noted in Black's Law Dictionary, “the

 term ‘ex parte’ includes in the definition: ‘a judicial proceeding, order, injunction, etc., is said to

 be ex parte when it is taken or granted at the instance and for the benefit of one party only, and

 without notice to, or contestation by, any person adversely interested.’” (emphasis

 supplied). Attorney Registration & Disciplinary Com. of Supreme Court of Illinois v. Betts, 143

 B.R. 1016, 1019 (Bkrtcy.N.D.Ill. 1992) (quoting Black's Law Dictionary, (6th ed. 1990)).

 Discussion

          The movants here rely on three immaterial facts to support their request for

 disqualification: (1) the calls to the court by two lawyers advising of their concerns for their

 safety regarding Brian Manookian, (2) Mr. Young’s communication with a courtroom deputy




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 regarding the same concerns; and (3) Judge Walker’s statement on the record regarding Mr.

 Manookian’s behavior in other tribunals.

          Movants argue that Judge Walker received numerous phone calls from attorneys

 informing the court that there existed a restraining order against Mr. Manookian put in place by

 an attorney for one of the creditors of the case and that those calls were impermissible ex parte

 communications that prejudiced the judge against Mr. Manookian. The motion alleges that Mr.

 Young also contacted the judge regarding the same situation.

          In fact, Judge Walker did not refer to his personal receipt of any calls regarding the case.

 He did refer to the court receiving communication from lawyers about Mr. Manookian, but at no

 time did Judge Walker indicate that any material issue was the topic of an ex parte

 communication, nor did he state that there was any ex parte communication involving himself or

 any chambers staff:

          [.] . . and I've had at least two lawyers call the Court and say they don't
          feel comfortable if your client is going to appear, . . .
          Transcript at p. 84

          Despite accusations to the contrary, Judge Walker fully explained on the record the effect

 those calls had on his view of the matter before him:

          . . . and, you know, the Court takes those concerns very seriously and makes no
          conclusion on whether they are valid, they are perceptions which drive behaviors of other
          parties.
          Transcript at p. 85

          The Court is charged with the integrity of the record. Part of maintaining that integrity

 involves courts calling for parties to articulate matters on the record. It is also important to note

 that the record contains past rulings made by a tribunal in the proceeding, or in the case of

 bankruptcy, an adversary to the proceeding. Moreover, Courts communicate with the parties to

 an action via the record. That is why this Court disclosed the ex parte communications from

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 counsel regarding the restraining order against Mr. Manookian on the record in open Court. That

 is the way courts disclose these things.

          Although the motion states that the movants were never able to respond to the ex parte

 representations or even make a record regarding those allegedly improper communications, when

 given the opportunity, Mr. Spragens merely objected to the depositions being held at the

 courthouse:

          MR. SPRAGENS: That's fine, Your Honor. And just for the record, I'll preserve
          my objection to that. And I heard Mr. Gabbert object to it earlier, as well.
          THE COURT: Okay. Well, if the parties can't agree, you know, you still have the
          opportunity to agree on a location.
          MR. SPRAGENS: Sure.
          Transcipt at p.83

          MR. SPRAGENS: Well, and, you know, my office is just down the street and
          parking is free. There's no security issue. I don't think that there's any record that
          would support that there is a security issue in this ordinary bankruptcy case
          involving professional lawyers on all sides. So this proposal was presented to me.
          I said I disagreed with it. And Mr. Young said, well, we'll take it up with the
          Court. So, you know, in my view, this is the departure from the norm, not the
          other way around.
          Transcript at p. 84


          Mr. Spragen’s disagreement that there was a security issue was heard and considered by

 the court because it is the responsibility of the judge to consider any issues brought before him

 that would impact the integrity of the judicial process. Mr. Spragen’s opinion, however, does not

 trump a state court judge who found there to be a threat such that a restraining order was issued.

 Security is one of the issues Judge Walker is charged with addressing. Doing so in an abundance

 of caution does not indicate overreach or prejudice, but instead indicates his diligence in

 protecting the parties and the veracity of the proceedings.

          The third occurrence that movants insist requires disqualification stems from Judge

 Walker’s comments regarding Mr. Manookian’s behavior before other tribunals. Although

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 movants insist that there is nothing in the record regarding information that would support these

 comments, movants would be dead wrong.

          On November 18, 2019, the Trustee filed an Application and Notice to Employ Thompson

 Burton PLLC as Special Counsel to the Trustee in the main bankruptcy case. See 3:19-bk-07235,

 ECF 6. Brian Manookian, acting pro se12, filed an objection to the application. The Court

 conducted a hearing on December 17, 2019 at which time both parties appeared and presented

 argument. The Court took the matter under advisement, entering Order Regarding Trustee's

 Application and Notice to Employ Thompson Burton PLLC as Special Counsel for the Estate and

 Allowing the Trustee Until December 24, 2019 to File Supplemental Application and Supporting

 Affidavit to Specifically Detail the Scope of Work and Provide Details and Full Disclosure of

 Any Current or Potential Conflicts that May Exist. ECF 20. On December 21, 2019, the Trustee

 filed a Supplemental Brief/Memorandum in Support of the Application to Employ Special

 Counsel. ECF 21. Exhibit A to that filing was a copy of a Motion to Subject Property, Issue

 Writs of Execution and Distrings/Fieri Facias, Appoint Receiver and Grant Injunctive Relief as

 filed in the Circuit Court of Williamson County, Tennessee, filed on April 25, 2019. Id. at Ex. A.

 The motion included the following relevant statements:

      5. After a series of hearings and follow-up motions that spanned more than two
      years, Judge Binkley of this Court found that Mr. Manookian had knowingly,
      willfully, and intentionally violated the Protective Order and, inter alia attempted “to
      mislead the Court from uncovering his violations of the Court’s Orders by any means
      necessary.”. . [.]
      6. Finding that Messrs. Manookian and Hammervold had (a) abused the discovery
      process, (b) failed to maintain candor with this court, (c) continuously violated the
      Agreed Protective Order, and (d) attempted to defaud the court for over two years,
      this Court imposed monetary sanctions on Mr. Manookian . . [.]




 12
   Brian Manookian was acting in his capacity as owner of the Debtor, Cummings Manookian, PLLC. He was not
 acting as an attorney representing himself as the owner due to his disbarment by the Tennessee Supreme Court.

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     Additionally, on page 14 of the referenced motion, there is an entire section entitled MR.

 MANOOKIAN’S HISTORY OF VIOLATING COURT ORDERS in which Mr. Young, as

 potential Receiver, illustrates Mr. Manookian’s behavior in other tribunals by recounting

 sanctions imposed against him by federal and state courts for:

          -   Acting in bad faith and disrupting the litigation process

          -   Engaging in a pattern of obfuscation

          -   Failure to provide credible explanations

          -   Engaging in conduct that essentially amounted to a flouting of the Court’s Orders

          -   Repeatedly ignoring the clear directives of the Court

          -   Conducting himself in a reckless manner (emphasis added)

          Mr. Manookian prosecuted his objection to the Application but did not at any time

 contest any supplement to the application that contained information about his behavior before

 other courts.

          In the same vein, during the March 17, 2022 hearing, Mr. Spragens at no time expressed

 any concern or asked even one question regarding the issue of the ex parte communications or

 any alleged extrajudicial inquiry, despite numerous opportunities to address these alleged

 egregiously prejudicial acts. In fact. Judge Walker expressed his objective approach to the

 situation by pointing out that it would protect all parties from any uncomfortable situation or any

 accusation, as well as aid in the expeditious and efficient administration of discovery:


          And to eliminate any of those perceptions, and to protect everyone against
          any allegations of bad behavior, misbehavior, or perceived misbehavior, it
          makes sense to do them here in an environment where no one can get your
          client further down a rabbit hole of he did this or he did that, that we're in a
          neutral environment, which affords certain protections. And if nothing else,
          in terms of everybody's on their best behavior.
          Transcript at p. 85

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          And so the Court's going to make that determination, that the depositions, unless
          the parties can agree, will be held here in the courthouse. And as a matter of fact,
          again, there will be some method available to reach the Court if during those
          depositions we have further issues with discovery.
          Transcript at p. 86

          Moreover, despite alleging a “corrosive effect on the Court,” movants point to no other

 prejudice to Mr. Manookian than the location of the depositions. There was no accusation linked

 to any ruling on a material issue, no objection overruled that hindered or impaired the movant’s

 rights in this matter, and in fact, no instance of prejudice against the movants was articulated at

 all. The prejudice alleged from these three occurrences was that the depositions in this case were

 conducted in the courthouse. The location of depositions is an administrative issue, not a material

 issue. It does not impact the issues before the Court. Although Movants insist that requiring the

 depositions to be held in the courthouse reflects the presence of the Court’s prejudice against Mr.

 Manookian, what it more reasonably reflects is the judge’s familiarity with the case. The hearing

 on March 17, 2022 involved cross-motions to compel and reflected the biggest issue so far in this

 adversary: discovery. In fact, the case is comprised mostly of three years of discovery disputes,

 with rulings reflecting the Court’s stamina for fairness and justiciable administration of the case.

          Moreover, none of these issues are material to the case. Material to the logistics of the

 case, sure, but given the inability of these parties and these witnesses to conduct discovery

 without disagreeing about every little detail, it was necessary for the judge to rule on all of the

 discovery matters and to do so in an equitable, fair and reasonable manner – and that he did. The

 judge’s directions and rulings regarding the exhausting number disclosure disputes were clearly

 issued so as to prevent all involved from becoming hostages of the discovery process.

          The expectation of lawyers in the discovery process, as reflected in the applicable rules,

 is to conduct themselves in a professional, civil, and agreeable manner in order to resolve the

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 case, either on the merits or by settlement. The contentious nature of these discovery proceedings

 are a beast – one might say a gorilla - with which the Court has tamed as best as possible.

          Furthermore, this Court never had to rely on extrajudicial research. The record contains

 the rulings from other tribunals that have found Mr. Manookian to have acted in bad faith,

 engaged in a pattern of obfuscation, and conducted himself in a reckless manner. Specifically, a

 Williamson County judge found that Mr. Manookian had knowingly, willfully, and intentionally

 violated a Protective Order and then attempted to mislead that court about the violation. That

 judge found Mr. Manookian’s behavior regarding discovery matters to be so egregious that he

 imposed significant monetary sanctions against him. All of this is part of the record of this case.

          Additionally, this Court did not find that Mr. Manookian posed a threat. That was a

 conclusion found by the state court that issued the restraining order. This Court simply sought to

 honor that order – as federal courts do with most state court orders – and protect the integrity of

 these proceedings. Further, Movants neglect to mention that this judge emphasized that having

 the depositions in the courthouse protected everyone, including Mr. Manookian.

                                             Conclusion

          Therefore, although the Movants express their perceptions of bias and prejudice, the

 record does not support that as a reasonable view. The record shows not only evenhanded

 judgment in this proceeding, but also illustrates this Court’s elevated patience with a painful

 number of discovery disputes, including the one that is the catalyst to this motion. Since any ex

 parte communication was permissible in that it was not material but concerned security and

 administrative procedures within the Court, and because no extrajudicial research was conducted

 to impair this Court’s impartiality, it is mandatory that the motion to disqualify be denied. Since




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 there was no reasonable possibility that the sitting judge’s objectivity and neutrality has been

 compromised, it is incumbent that he remain on the case

          Therefore, for the reasons stated above, IT IS HEREBY ORDERED that the Motion to

 Disqualify is DENIED.



                  THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                            INDICATED AT THE TOP OF THIS PAGE




                                                                       This Order has been electronically
                                                                       signed. The Judge's signature and
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                                                                       Court's seal appear at the top of the
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                                                                       United States Bankruptcy Court.

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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION



  IN RE:                                         Case No, 3:19-bk-07235
                                                 Chapter 7
  CUMMINGS MANOOKIAN, PLLC                       Judge Walker

           Debtor.                               Adv. Proc. No. 3:20-ap-90002

  JEANNE ANN BURTON, TRUSTEE

           Plaintiff,

  v.

  HAGH LAW, PLLC; AFSOON
  HAGH; and MANOOKIAN PLLC,

           Defendants.



   BRIAN MANOOKIAN, MANOOKIAN PLLC, AFSOON HAGH, AND HAGH
     LAW PLLC’S NOTICE OF APPEAL AND STATEMENT OF ELECTION


          Manookian PLLC, Brian Manookian, Afsoon Hagh, and Hagh Law PLLC

 (“Appellants”) through counsel, give notice of their appeal from the Bankruptcy Court’s

 April 5, 2023 Order (Doc 229). In furtherance of the same, Appellants state as follows.

 Part 1: Identity of Appellant

          1.    The names of the appellants are Brian Manookian, Manookian, PLLC,

 Afsoon Hagh, and Hagh Law PLLC. Mr. Manookian is the sole owner and member of the

 Debtor, Cummings Manookian, PLLC as well as the sole owner and member of Adversary

 Proceeding Defendant, Manookian, PLLC. Afsoon Hagh is the sole owner and member

 of Adversary Proceeding Defendant, Hagh Law PLLC.


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 Part 2: Subject of the Appeal

          2.      Appellants appeals from the Court’s Order Denying Motion to Disqualify

 Bankruptcy Judge Charles Walker (Doc. 229). The Order was entered on April 5, 2023.


 Part 3: Parties to the Appeal

          3.      The names of the Parties to the Order appealed from as well as the contact

 information for their attorneys are:

               a. Debtor Cummings Manookian,
                  Jay R. Lefkovitz
                  Lefkovitz & Lefkovitz, PLLC
                  312 East Broad Street, Suite A
                  Cookeville, TN 38501
                  (931) 528-5297 (T)
                  931-526-6244 (F)
                  JLefkovitz@lefkovitz.com

               b. Trustee Jeanne Anne Burton
                  Phillip Young
                  One Franklin Park
                  6100 Tower Circle, Suite 200
                  Franklin, TN 37067
                  (615) 465-6008 (T)
                  phillip@thompsonburton.com

               c. Creditor Grant, Konvalinka & Harrison, P.C.,
                  John P. Konvalinka
                  Grant, Konvalinka & Harrison, P.C.
                  633 Chestnut Street Suite 900 Republic Centre
                  Chattanooga, TN 37450-0900
                  (423) 756-8400 (T)
                  (423) 756-6518 (F)
                  jkonvalinka@gkhpc.com

               d. Creditor D.F. Chase, Inc.
                  Daniel Puryear
                  Puryear Law Group
                  104 Woodmont Boulevard, Suite 201
                  Nashville, TN 37205
                  (615) 255-4859 (T)


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               (615) 630-6602 (F)
               dpuryear@puryearlawgroup.com

 Part 4: Election to have appeal heard by District Court

          4.   Appellants elect to have the appeal heard by the United States District Court

 rather than by the Bankruptcy Appellate Panel.




 Date: April 18, 2023                             Respectfully submitted,


                                                  /s/ John Spragens
                                                  John Spragens (TN Bar No. 31445)
                                                  Spragens Law PLC
                                                  311 22nd Ave. N.
                                                  Nashville, TN 37203
                                                  T: (615) 983-8900
                                                  F: (615) 682-8533
                                                  john@spragenslaw.com

                                                  Attorney for Manookian PLLC, Brian
                                                  Manookian, Afsoon Hagh, and Hagh
                                                  Law PLLC


                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed April 18, 2023 and
 served electronically upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                  /s/ John Spragens




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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION



  IN RE:                                           Case No, 3:19-bk-07235
                                                   Chapter 7
  CUMMINGS MANOOKIAN, PLLC                         Judge Walker

          Debtor.                                  Adv. Proc. No. 3:20-ap-90002

  JEANNE ANN BURTON, TRUSTEE

          Plaintiff,

  v.

  HAGH LAW, PLLC; AFSOON
  HAGH; and MANOOKIAN PLLC,

          Defendants.



        APPELLANTS BRIAN MANOOKIAN, MANOOKIAN PLLC, AFSOON
       HAGHM HAGH LAW PLLC STATEMENT OF ISSUES ON APPEAL AND
                       DESIGNATION OF RECORD


          Pursuant to Federal Rule of Bankruptcy Procedure 8009, and the District Court’s

 Acknowledgement of Receipt of Appeal dated April 24, 2023 (Doc. No. 235) Appellants

 Brian Manookian, Manookian PLLC, Afsoon Hagh, and Hagh Law PLLC (“Appellants”)

 hereby file this Statement of the Issues to be Presented on Appeal and Designation of

 Items to be Included in the Appellate Record.

 I.       Issues To Be Presented

          Whether the Bankruptcy Court erred in failing to recuse itself where it belatedly

 revealed, but declines to detail, engaging in multiple ex parte communications about this



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 litigation with one or more attorneys representing parties in this litigation ; and where

 the Court continues to decline to reveal the substance, date, and parties to each of the ex

 parte communications.

           Whether the Bankruptcy Court erred in failing to recuse itself where it quashed a

 subpoena to itself seeking to determine the specifics of the Court’s ex parte

 communications and, in that Order, articulated additional biases and prejudices against

 the moving party.

           Whether the Bankruptcy Court erred in failing to recuse itself where it belatedly

 revealed that it has been relying upon, and, indeed, admitted to basing its decisions in

 this case on, a highly inflammatory, vacated Tennessee state court order, which had long

 since been overturned by the Tennessee Court of Appeals, about one of the parties to this

 litigation; and which order was issued by a Tennessee state trial court judge who was

 additionally disqualified from that action on the bases of bias.

 II.       Designation of Items To Be Included in Appellate Record

           The items to be included in the appellate record consist of the following:

       •   All docket entries in the bankruptcy proceeding (No. 3:19-bk-07235) and related

 adversary proceeding (No. 3:20-ap-90002), specifically including adversary proceeding

 docket entries 161, 165, 173, 174, 177, 178, 229 and all attachments thereto.

       •   Transcript of June 29, 2022 adversary proceeding hearing on motion to disqualify.

       •   Transcript (forthcoming) of April 4, 2023 hearing on motion to disqualify

 (transcript requested at Docket No. 226).




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 Date: May 5, 2023                       Respectfully submitted,


                                               /s/ John Spragens
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                            CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed May 5, 2023 and
 served electronically upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                /s/ John Spragens




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 000170                                                                        000170


                             UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF TENNESSEE (NASHVILLE)

                                        .
          IN RE:                        .          Case No. 3:19-bk-07235
                                        .          Chapter 7
          CUMMINGS MANOOKIAN, PLLC,     .
                                        .
                         Debtor.        .
                                        .
                                        .
          . . . . . . . . . . . . . . . .
          JEANNE ANN BURTON,            .          Adv. No. 3:20-ap-90002
                                        .
                           Plaintiff,   .
                                        .
          v.                            .          701 Broadway
                                        .          Nashville, TN 37203
          HAGH LAW PLLC, et al.,        .
                                        .          Tuesday, April 4, 2023
                           Defendants.  .          8:03 a.m.
          . . . . . . . . . . . . . . . .

           TRANSCRIPT OF MOTION TO RECUSE JUDGE CHARLES M. WALKER [161]
                      BEFORE THE HONORABLE CHARLES M. WALKER
                       UNITED STATES BANKRUPTCY COURT JUDGE

          APPEARANCES:
          For the Plaintiff:           Thompson Burton PLLC
                                       By: PHILLIP G. YOUNG, ESQ.
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          APPEARANCES (Continued):

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                                       Nashville, TN 37201
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    1          (Proceedings commence at 8:03 a.m.)

    2                 THE COURTROOM DEPUTY:      All rise.        The United States

    3     Bankruptcy Court for the Middle District of Tennessee is now in

    4     session.    The Honorable Charles M. Walker presiding.

    5                 THE COURT:    Good morning.       Please take your seats.

    6                 THE COURTROOM DEPUTY:      Your Honor, we're here on Case

    7     20-90002, Burton v. Hagh Law, PLLC.

    8                 THE COURT:    All right.        Mr. Spragens, your motion.

    9                 MR. SPRAGENS:    Yes, Your Honor.         Your Honor, as the

  10      Court knows, excuse me, we're here today on a motion to recuse

  11      the Court from proceeding -- presiding over this matter.                  I'd

  12      be happy to reserve argument for the end, if that's okay with

  13      the Court, and just go ahead and put on a witness.

  14                  THE COURT:    Proceed.

  15                  MR. YOUNG:    Your Honor, at this time I'm going to

  16      lodge an objection to any witnesses or exhibits being offered

  17      because of failure to comply with Rule 9014-1.               That rule

  18      requires any witness and exhibit list to be filed by noon on

  19      the second business day prior to a hearing.              That would have

  20      been Friday at noon.

  21                  In this case, no witness and exhibit list was filed

  22      until yesterday at about 10:30, and even then it didn't comply

  23      with the rule in that there was no substance of testimony

  24      listed.    So we would object to the presentation of any

  25      witnesses or exhibits in this case.

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    1                 THE COURT:    Okay.   Mr. Spragens, response?

    2                 MR. SPRAGENS:    Your Honor, it is true that we filed

    3     our exhibit list inside of two business days prior to this

    4     morning's hearing, and I apologize to the Court for that.                   That

    5     was an oversight on our part.        I thought that the substance of

    6     the testimony that we were expecting to offer was well known to

    7     everyone since we had put it in the briefing.               I didn't think

    8     there were any surprises there.

    9                 So I would ask the Court to let me call Mr. Young to

  10      testify about the limited topic of his conversations with the

  11      Court or the Court staff, for purposes of today's evidentiary

  12      hearing.

  13                  THE COURT:    All right.        Mr. Young?

  14                  MR. YOUNG:    Yes, Your Honor.

  15                  THE COURT:    Do you still have an objection to

  16      offering that limited scope?

  17                  MR. YOUNG:    I do, Your Honor, because Rule 9014-1

  18      wasn't complied with, and the Local Rules are here for a

  19      reason.    The Court's order specifically directed the parties to

  20      comply with all federal rules and all local rules.                The Court

  21      put that in the order itself scheduling this hearing.                 So we

  22      would have an objection, and if the Court is going to allow me,

  23      I also want to -- is going to allow testimony on my part, I

  24      want to talk about Rule 3.7 of the Rules of Professional

  25      Conduct as well regarding my participation in the hearing, if


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    1     the Court's inclined to allow that testimony.

    2                  MR. SPRAGENS:   Your Honor, could I just briefly

    3     respond to that?

    4                  THE COURT:   Yes.

    5                  MR. SPRAGENS:   I haven't heard any articulation of

    6     prejudice.    I do apologize for failing to follow the local

    7     rule, but I -- since we've talked about this subject now for

    8     several months, and we briefed the testimony that we're seeking

    9     from Mr. Young previously, I don't think there's any unfair

  10      surprise.    And I don't think that the very limited nature of

  11      the testimony we're seeking, you know, there's any prejudice

  12      from filing the list 26 hours in advance of the hearing instead

  13      of 48 hours on business days.

  14                   THE COURT:   Well, I guess here's the question.            Since

  15      you've already got Mr. Young's deposition, that's been

  16      submitted in the record already, what new is to be gained by

  17      further testimony from Mr. Young covering the same ground?                    Why

  18      not just proceed with your argument?

  19                   MR. SPRAGENS:   Well, I would be inclined to ask Mr.

  20      Young if he stands by all the testimony in that deposition,

  21      just to confirm that.      I would certainly be prepared to impeach

  22      him with that testimony if he changes his responses, you know,

  23      typical of any courtroom testimony.

  24                   Beyond that, if the Court declines to let Mr. Young

  25      testify today, we do have his deposition transcript, and I


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    1     would ask the Court to take judicial notice of it.

    2               THE COURT:      Okay.

    3               MR. YOUNG:      And we would have no objection to the

    4     entry of that deposition testimony.

    5               THE COURT:      All right.        Well, this one is an

    6     interesting case, as all parties are aware.              The fact that this

    7     case was scheduled last week, so there was an actual additional

    8     week to file and comply with all the rules, makes the Court

    9     hesitant to extend further grace in this matter.                So the Court

  10      is going to sustain the objection lodged by the trustee's

  11      counsel, and you may proceed with your argument.                And,

  12      obviously, the Court's well aware of the issues.                Mr. Young has

  13      given his deposition.      So you're welcome to proceed.

  14                MR. SPRAGENS:      Your Honor, the next matter with

  15      respect to argument is how -- how I might inquire about the

  16      Court's knowledge of ex parte communications between Mr. Young

  17      and the Court's office, or the Court's staff.

  18                As you know, we attempted to notice your deposition

  19      to try to find out what you knew.            You quashed that subpoena.

  20      I've tried to list you again as a witness today because we're

  21      in a tough situation here as a litigant who is -- I'm trying to

  22      find out about ex parte communications between some outside

  23      attorneys and the Court, and we don't know what's been said.

  24      We don't know who said them.        So --

  25                THE COURT:      I think you do know.          You took


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    1     Mr. Young's deposition, and you have exactly what you have that

    2     led to you filing the motion in the first place.              You have my

    3     statements on the record.         You may proceed however you like,

    4     but the Court doesn't have any knowledge other than what you've

    5     already been given.

    6                  MR. SPRAGENS:   Okay.    Well, if that's the Court's

    7     statement on the matter, I appreciate it.           Your Honor,

    8     my -- I'll just argue and let you know the way we look at this

    9     issue in this case.

  10                   THE COURT:   And let me clarify.       When you say "we,"

  11      Mr. Gabbert, are you joined in with this argument in full or

  12      partially?

  13                   MR. GABBERT:    I'm supporting the motion, Your Honor.

  14                   THE COURT:   Okay.

  15                   MR. SPRAGENS:   So, Your Honor, the fact is this

  16      Court, in setting up the logistics of depositions, which

  17      ordinarily would be occurring at my office when I'm putting

  18      forward a witness -- that's routine in my practice.               You know,

  19      I've got parking places.       I've got a conference room, and we

  20      have depositions there on a weekly or every other weekly basis.

  21      You know, Mr. Young made a representation at a hearing that he

  22      was not comfortable with that deposition being set in my

  23      conference room and with Mr. Manookian testifying there.

  24                   We stood at this podium and had a discussion about

  25      that, and the Court undertook to address the hundred pound


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    1     gorilla in the room, that's the Court's language, and what the

    2     Court said was that my client's "past behavior before the

    3     tribunals -- I've had at least two lawyers call the Court and

    4     say they don't feel comfortable if your client is going to

    5     appear and you know the Court takes those concerns very

    6     seriously and makes no conclusion on whether they're valid.

    7     They are perceptions which drive behaviors of other parties."

    8               That was the first I had ever learned or, you know,

    9     my client had ever learned about contact from outside lawyers

  10      with the Court about whether Mr. Manookian posed a safety risk

  11      or whether other people felt uncomfortable, whatever that

  12      means, appearing with him in this court.           We endeavored to

  13      learn more about that.      I did ask Mr. Young those questions

  14      during his deposition.      I learned about one contact that Mr.

  15      Young had had, and that was at the outset of this whole

  16      proceeding.

  17                Mr. Young testified, on Page 44 of his deposition,

  18      that he called this Court's Courtroom Deputy to alert her to

  19      the fact that a creditor's lawyer had an order of protection.

  20      And he, Mr. Young, represented that this was a logistical

  21      question about an order of protection that Dan Puryear had and

  22      that he was contacting the Court about that.            He testified he

  23      believed that the person he spoke to was Lauren, the courtroom

  24      reputy, and the record speaks for himself -- itself that he did

  25      not file a motion about this issue.         He did not alert me at any


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    1     time.    The first we learned about this contact was when the

    2     Court mentioned it, assuming the Court is talking about the

    3     same telephone call that Mr. Young testified about.

    4                 So there was an ex parte communication specifically

    5     about the safety risk posed by my client.           That was how we

    6     started this case, and I first learned about that when the

    7     Court mentioned it sua sponte in endeavoring to build a record

    8     sua sponte to justify holding depositions in this courthouse

    9     instead of in the ordinary course at my office.             So to me, that

  10      contact is troubling.      That contact was not disclosed by the

  11      Court.    It was not disclosed by Mr. Young, and I learned about

  12      it in this courtroom from this Court's, you know, statements on

  13      the record.

  14                  Then there has been apparently another -- you know,

  15      you said at least two.      I don't know who the second phone call

  16      was.    I don't know what attorney called.         I don't know if it

  17      was Mr. Puryear or somebody else, but there have been

  18      apparently two phone calls to the Court or its personnel about

  19      my client, and the Court formed enough of a view about

  20      Mr. Manookian that it departed from the ordinary course in how

  21      depositions were to be conducted.

  22                  I would add that those depositions were completely

  23      uneventful.    We all sat in those -- in those rooms down the

  24      hall and, you know, I can't prove the counterfactual, but

  25      that's how they would have been if they were held at my office


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    1     too.   I have every reason --

    2                THE COURT:     Well, you can't prove that, can you?

    3                MR. SPRAGENS:     No, I can't, Your Honor.

    4                THE COURT:     Were other depositions taken here in the

    5     courthouse?

    6                MR. SPRAGENS:     Yes, Your Honor.

    7                THE COURT:     So it wasn't just Mr. Manookian's

    8     deposition?

    9                MR. SPRAGENS:     That's right.       You ordered that all

  10      depositions would be taken in the courthouse based on the

  11      finding that Mr. Manookian posed some sort of a risk to other

  12      parties.   That's my recollection.          I think that was the basis

  13      for your ruling.

  14                 So the -- the issue here is we know about one contact

  15      that is, I think, very prejudicial to my client.               I think the

  16      fact that we departed from the ordinary course demonstrates

  17      that it has tainted the Court's view of my client.               Your

  18      comments about his behavior toward the tribunals and other

  19      lawyers calling, I believe that that gives a reasonable

  20      observer a basis to question this Court's impartiality.

  21                 And to this day, I don't know about the second

  22      contact.   I know that there's been another attorney who's

  23      called your chambers, and I don't know who it was.               I don't

  24      know what they said, and this Court never came out and

  25      disclosed that to us until it served the interest of the ruling


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    1     that the Court was making.       It never disclosed it on the

    2     record.   It never said I think everyone just needs to know

    3     about this.   And, certainly, Mr. Young never disclosed his

    4     contact to us, didn't get me on the phone to call the Court.

    5     And there was nothing emergent about the phone call.               It could

    6     have been done through the ordinary adversary process.                It

    7     could have been put on the docket.

    8                So in our view, the two contacts, the failure to

    9     disclose the contacts, the departure from the ordinary course,

  10      all provides a reasonable basis to suggest that this Court's

  11      impartiality can be questioned.        It is not to say that this

  12      Court is a, you know, biased tribunal.          It's not to say that

  13      this Court is unfair, and I make no judgments about this

  14      Court's, you know, fairness or decency.           It's, obviously, not

  15      fun to have to come stand here and argue this motion in front

  16      of you.   However, the standard is an objective standard.               It is

  17      would a reasonable observer question this Court's impartiality,

  18      and I think given the multiple contacts, the lack of

  19      disclosure, and the fact that the litigation somewhat sua

  20      sponte departed from the ordinary course suggests that a

  21      reasonable observer would raise those questions.

  22                 So that's why we've asked this Court to recuse

  23      itself.   It shouldn't slow down the litigation.            There are

  24      other bankruptcy judges in this courthouse who can pick right

  25      back up where we left off.       If they have formed views of


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    1     Mr. Manookian, by reading news articles or other interactions

    2     they've had with lawyers in the community, they can disclose

    3     them.   We can figure out what to do about them, and we can find

    4     a bankruptcy judge who doesn't have any knowledge or

    5     prejudgment of Mr. Manookian's character or his propensity for

    6     some sort of unspecified misconduct.

    7                Finally, I would just point out that I don't think

    8     there is anything in the record that suggests that he's ever

    9     behaved in any sort of dangerous or threatening way in front of

  10      a court or in a deposition.       I would just note that for the

  11      record.   So if Your Honor has any questions, I'm happy to

  12      answer them.   I appreciate the hearing.

  13                 THE COURT:     Well, are there any documents that have

  14      filed in this case from other tribunals?

  15                 MR. SPRAGENS:     I'm not sure I understand what the

  16      Court is asking.

  17                 THE COURT:     Just that.        There are documents that have

  18      been filed on the record in this case from other tribunals.

  19      Could that possibly be a way that a court might find out about

  20      what's going on in a case?

  21                 MR. SPRAGENS:     If you're talking about the Williamson

  22      County Court in front of Judge Binkley, is that the -- I'm

  23      sorry, Your Honor.     I can't -- it feels a little bit like law

  24      school where I don't know the answer that you're looking for

  25      here, so --


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    1               THE COURT:      I'm not looking for an answer at all,

    2     Mr. Spragens.    I -- and disregard -- disregard the question.

    3               MR. SPRAGENS:      Okay.    I mean, to me I don't know

    4     anything in the record in this case that demonstrates some sort

    5     of misconduct toward a tribunal.            If the Court is suggesting

    6     that it contacted another judge to ask about Mr. Manookian, or

    7     something like that, you know, I think that that's also

    8     improper and an ex parte communication.             So I'd love to hear

    9     about that if that is what we're getting at here.

  10                THE COURT:      That's not what we're getting at.              So any

  11      other argument?

  12                MR. SPRAGENS:      No, Your Honor.         Thank you.

  13                THE COURT:      All right.        Anything, Mr. Gabbert?

  14                MR. GABBERT:      No, Your Honor.

  15                THE COURT:      All right.        Mr. Young?

  16                MR. YOUNG:      Your Honor, Phillip Young on behalf of

  17      the trustee.    I'm going to keep this very brief because this

  18      isn't our motion, and the motion seeks relief that's not

  19      directly related to the trustee's case.             I'll only note really

  20      two things just for the record.

  21                I don't think that scheduling depositions at the

  22      courthouse is a departure from the ordinary course.                 Trustees

  23      depose people at the courthouse all the time.               We discussed

  24      that at this status conference.

  25                I also would note that the Chase -- the orders that


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    1     gave rise to the Chase claim, that's what we've referred to it,

    2     so the Williamson County orders have in fact been filed in this

    3     case on multiple occasions by multiple parties, and I

    4     don't -- I think that could certainly form the basis of the

    5     Court's opinion about other tribunals.

    6                 We filed a response in this case at Docket Number

    7     174.   The purpose of that response was just to clarify some of

    8     the facts and to clarify the law and the issues related to the

    9     motion.   But unless the Court has further questions of me,

  10      we'll just rely on that response.

  11                  THE COURT:    All right.        No questions.

  12                  MR. GABBERT:    Just for the record, I've been

  13      practicing in this court for 40 years, over 40 years.                 This is

  14      the first case I have ever had that depositions have been

  15      required at the courthouse without any explanation except that.

  16                  THE COURT:    All right.        Anything else?

  17                  MR. SPRAGENS:    No, Your Honor.         We'll rest on our

  18      brief and the argument presented today.

  19                  MR. YOUNG:    Nothing else, Your Honor.

  20                  THE COURT:    All right.        The Court will take a short

  21      recess, and I will rule from the bench.

  22                  THE COURTROOM DEPUTY:      All rise.

  23             (Recess taken at 8:19 a.m.)

  24             (Proceedings resumed at 9:17 a.m.)

  25                  THE COURTROOM DEPUTY:      All rise.


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    1                THE COURT:     Please take your seats.         All right.      We

    2     are here in the Burton v. Hagh, Case Number 20-90002, motion to

    3     disqualify.   I will read an oral ruling from the bench at this

    4     time.   Court would like to thank counsel for the briefings and

    5     the arguments in this case.

    6                This matter is before the Court today to address

    7     Defendant's motion to disqualify the presiding judge from the

    8     case pursuant to 28 U.S.C. Sections 455(a) and (b)(1), and the

    9     Code of Conduct for Federal Judges.         Mr. Gabbert advised the

  10      Court that he joins in the motion on behalf of the Defendants,

  11      Afsoon Hagh and Hagh Law.

  12                 We opened today with the objection of the trustee to

  13      the presentation of any witnesses or evidence based on the

  14      motion -- on the movant's failure to comply with Local Rule

  15      9014-1.   Mr. Spragens apologized to the Court and stated that

  16      there was no prejudice from the filing of the witness list a

  17      mere 26 hours prior to the hearing.         That argument begs the

  18      question then why have a rule.        The rules are in place to

  19      maintain the balance and integrity of these proceedings.                That

  20      is why the Court ordered compliance with all applicable federal

  21      and local rules in the order setting this hearing.

  22                 It is also important to note that upon Mr. Gabbert's

  23      motion the afternoon before the original hearing, this matter

  24      was continued with no witness list filed prior to that hearing

  25      or in the week after.      And, finally, as Mr. Gabbert so


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    1     graciously reminded the Court, he has been practicing in this

    2     Court for 40 years.     So the rules and procedures are not

    3     unknown to him.    They should, in fact, be second nature.

    4     Therefore, the objection to the presentation of witnesses and

    5     evidence is sustained.

    6               As for the motion, movants allege the -- that

    7     impermissible ex parte communications have occurred between the

    8     Judge, the Judge's chamber staff, and third parties, as well as

    9     Plaintiff's attorney, and this Court failed to disclose these

  10      communications.    They also allege that the judge conducted an

  11      independent investigation involving extra judicial research

  12      into matters regarding Brian Manookian, and these allegations

  13      have resulted in a prejudice against Mr. Manookian.

  14                Although it appears that it is an impermissible

  15      stretch to accuse a sitting judge of having direct

  16      conversations with third parties, as well as conducting an

  17      investigation regarding a person who is not a party to any case

  18      before him, the movants insist that the allegations are so

  19      egregious that disqualification is the only judicial -- the

  20      only judiciable outcome of their motion.

  21                The accusations here are that the judge is prejudice

  22      against a potential witness in this adversary proceeding.                 The

  23      accusations are based on various fragments and snippets, both

  24      on and off the record, all attributed to the judge in some

  25      convoluted way and that somehow these allegations pieced


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    1     together, like letters cut from a magazine for a ransom note,

    2     contains some legitimacy simply because Mr. Manookian says they

    3     do.    The motion is rife with language and projections crafted

    4     to incite indignation.      But Mr. Manookian is mistaken to think

    5     that such presentation lends legitimacy to an argument relying

    6     on a reasonable belief.

    7                 He is also mistaken to think his judgment rules the

    8     day.    Although his belief is the subject of the motion, that

    9     belief is also subject to a test for reasonableness.               The

  10      determination he seeks is an objective one.            In other words, it

  11      is not legitimate simply because he believes it.              It is only

  12      valid if a reasonable person would believe the same thing.

  13                  28 U.S.C. Section 455(a) states any United States

  14      judge shall disqualify himself in any proceeding in which his

  15      impartiality might reasonably be questioned.            28 U.S.C. Section

  16      455(b)(1) states that a judge shall disqualify himself where he

  17      has a personal bias or prejudice concerning a party, or

  18      personal knowledge of disputed evidentiary facts concerning the

  19      proceedings.   Canon 3(c) of the Code of Conduct for Federal

  20      Judges is almost identical to 28 U.S.C. Section 455, requiring

  21      a judge to remove themselves from a case if there is a

  22      reasonable appearance of impartiality, personal bias or

  23      prejudice, or personal knowledge of a disputed evidentiary

  24      fact.

  25                  The record, for those of you who might need a


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    1     refresher, is established by either communicating with the

    2     Court while the Court is in session, or by filing something on

    3     the Court docket.     The Court is charged with the integrity of

    4     the record.   Part of maintaining that integrity involves

    5     court -- courts calling for parties to articulate matters on

    6     the record.   It is also important to note that the record

    7     contains past rulings made by a tribunal in the proceedings, or

    8     in the case of a bankruptcy, an adversary to the proceeding.

    9     Moreover, courts communicate with the parties to an action via

  10      the record.   That is why this Court disclosed the ex parte

  11      communications from counsel, regarding the restraining order

  12      against Mr. Manookian, on the record in open court.               That is

  13      why courts disclose these things.

  14                 Extrajudicial research, on the other hand, would be

  15      information garnered through means other than reading the

  16      record.   As independent investigation presumably falls under

  17      the category of extrajudicial research, it also would require a

  18      source outside the record.       In the matter before us, the record

  19      extends back to November 6, 2019, and contains the 168 docket

  20      entries in the main bankruptcy case, as well as the 225 docket

  21      entries in this adversary proceeding.          Although the movants

  22      insist that the judge has been prejudiced against

  23      Mr. Manookian, the record reflects no such prejudice.               Although

  24      movants insist that requiring the depositions to be held in the

  25      courthouse reflects the presence of the Court's prejudice


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    1     against Mr. Manookian, what it more reasonably reflects is the

    2     judge's familiarity with the case.

    3               Mr. Spragens stated that Mr. Young called the

    4     courtroom deputy to inform her of an order of protection

    5     against Mr. Manookian by a creditor's attorney, and that was

    6     how we started this case.       First of all, the courtroom deputy

    7     is not a member of Judge Walker's chamber staff.              Secondly,

    8     that is not how we started this case.          The hearing on March 17,

    9     2022, involved cross motions to compel and reflected the

  10      biggest issue so far in this adversary, discovery.              In fact,

  11      the case is comprised mostly of three years of discovery

  12      disputes with rulings reflecting the Court's stamina for

  13      fairness and judiciable administration of the case.

  14                Mr. Spragens sought to take advantage of the Court's

  15      patience by stepping dangerously close to a line with his

  16      accusation that this judge may have had communications with

  17      judges in other tribunals about his client.            His accusation was

  18      with absolutely no basis and was, as I stated, dangerously

  19      close to the line drawn by Rule 11.         The fact is the applicable

  20      standard here is an objective one applied to facts, not applied

  21      to whatever imaginative scenario the movants can conjure up out

  22      of thin air.

  23                Simply because a ruling does not reflect the stated

  24      interest of a party or non-party doesn't mean we default to

  25      disqualifying prejudice.       The transcript shows that the


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    1     decision on March 17, 2022, as on all days, was so that there

    2     would be no advantage or disadvantage to any party.

    3     Illustrative of this, the order that Mr. Manookian's deposition

    4     be scheduled the courthouse.        What is glaringly absent from the

    5     motion is the fact that the judge ordered all depositions to be

    6     conducted under the same terms in that order.             All parties,

    7     including the plaintiff, were to have their depositions at the

    8     courthouse.    This was another ruling in another discovery

    9     controversy with another clearly objective, reasonable, and

  10      fair ruling.

  11                Moreover, none of these issues are material to the

  12      case.   Material to the logistics of the case, sure.              But given

  13      the inability of these parties and these witnesses to conduct

  14      discovery without disagreeing about every little detail, it was

  15      necessary for the judge to rule on all of the discovery matters

  16      and to do so in an equitable, fair, and reasonable manner, and

  17      that he did.

  18                The expectation of lawyers in the discovery process,

  19      as reflected in the applicable rules, is to conduct themselves

  20      in a professional, civil, and agreeable manner in order to

  21      resolve the case either on the merits or by settlement.                The

  22      contentious nature of these discovery proceedings were a beast,

  23      one might say a gorilla, with which the Court has tamed as best

  24      as possible.

  25                Furthermore, this Court never had to rely on


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    1     extrajudicial research.      Now let's get back to the record for

    2     this one.   The record contains the rulings from other tribunals

    3     that have found Mr. Manookian to have acted in bad faith,

    4     engage in a pattern of obfuscation, and conduct himself in a

    5     reckless manner.     Specifically, a Williamson County judge found

    6     that Mr. Manookian had knowingly, willfully, and intentionally

    7     violated a protective order and then attempted to mislead that

    8     court about that violation.       That judge found Mr. Manookian's

    9     behavior regarding discovery matters to be so egregious that he

  10      imposed significant monetary sanctions against him.               All of

  11      this is part of the record in this case.

  12                  Additionally, this case did not find that Mr.

  13      Manookian posed a threat.       That would be the state court that

  14      issued the restraining order.        This Court simply sought to

  15      honor that order, as federal courts do with most state court

  16      orders, and to protect the integrity of the proceedings.

  17      Movants neglect to mention that the judge stated having the

  18      depositions in the courthouse protects everyone, including

  19      Mr. Manookian.

  20                  Therefore, although the movants express their

  21      perceptions of bias and prejudice, the record does not support

  22      that as a reasonable view.       The record shows not only

  23      evenhanded judgment in this proceeding, but also illustrates

  24      the Court's elevated patience with a painful number of

  25      discovery disputes, including the ones that is the catalyst of


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    1     this motion.

    2               Since any ex parte communication was permissible and

    3     that it was not material, but concerned with security and

    4     administrative procedures within the Court, and because no

    5     extrajudicial research was conducted to impair this Court's

    6     impartiality, it is mandatory that I deny the motion to

    7     disqualify.    Since there was no reasonable possibility that my

    8     objectivity and neutrality has been compromised, it is

    9     incumbent that I remain on the case.            The absence of any

  10      reasonable question regarding my impartiality demands that I

  11      deny the motion to disqualify.

  12                The Court will issue an order containing full

  13      analysis and discussion.       The Court will also enter an order

  14      scheduling an evidentiary hearing on Mr. Manookian's objection

  15      to the motion to compromise in the main case, that hearing

  16      being bifurcated into Mr. Manookian's standing issue and the

  17      substance of his objections.        Any questions?

  18                MR. SPRAGENS:      No, Your Honor.

  19                MR. YOUNG:      No, Your Honor.

  20                THE COURT:      All right.        Court will be adjourned.

  21                THE COURTROOM DEPUTY:        All rise.

  22           (Proceedings concluded at 9:32 a.m.)

  23                                      * * * * *

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    2                           C E R T I F I C A T I O N

    3

    4               I, Alicia Jarrett, court-approved transcriber, hereby

    5     certify that the foregoing is a correct transcript from the

    6     official electronic sound recording of the proceedings in the

    7     above-entitled matter.

    8

    9

  10

  11      ____________________________

  12      ALICIA JARRETT, AAERT NO. 428               DATE: May 5, 2023

  13      ACCESS TRANSCRIPTS, LLC

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                                                                                        02/04/2021
                IN THE COURT OF APPEALS OF TENNESSEE
                            AT NASHVILLE
                                January 7, 2020 Session

                   DAVID CHASE v. CHRIS STEWART ET AL.

                Appeal from the Circuit Court for Williamson County
                    No. 2015-200        Michael Binkley, Judge
                     ___________________________________

                           No. M2018-01991-COA-R3-CV
                       ___________________________________


 A trial court held two attorneys in contempt, assessing damages and sanctions against
 them. Shortly before another hearing in which the court was to consider a supplemental
 award of attorney’s fees, the judge of the trial court made comments in an unrelated case
 about one of the attorneys held in contempt. That attorney moved to recuse based, in
 part, on the judge’s comments. The trial court denied the motion to recuse and later
 entered a supplemental order of damages against the attorneys. Because the judge’s
 comments provide a reasonable basis for questioning his impartiality, we reverse the
 denial of the motion to recuse. And because retroactive recusal is appropriate, we also
 vacate the contempt and damages orders.

    Tenn. R. App. P. 3 Appeal as of Right; Judgment of the Circuit Court Vacated

 W. NEAL MCBRAYER, J., delivered the opinion of the court, in which ANDY D. BENNETT,
 J., and J. STEVEN STAFFORD, P.J., W.S., joined.

 Brian P. Manookian, Nashville, Tennessee, pro se appellant.

 Mark Andrew Hammervold, Elmhurst, Illinois, pro se appellant.

 Brian P. Manookian, Nashville, Tennessee, for the appellant, Cummings Manookian
 PLC.

 Mark Andrew Hammervold, Elmhurst, Illinois, for the appellant, Hammervold Law,
 PLC.

 Gayle I. Malone, Jr., Charles I. Malone, and Beau C. Creson, Nashville, Tennessee, for
 the appellees, Dean Chase, Sandra Chase, and D.F. Chase, Inc.




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 Marcus M. Crider and Heath H. Edwards, Nashville, Tennessee, for the appellees, CK
 Global, LLC and NV Music Row, LLC.


                                               OPINION

                                                     I.

                                                    A.

         In this consolidated appeal, we review the trial court’s denial of a motion to recuse
 and its orders holding in contempt and sanctioning two attorneys, Brian Manookian and
 Mark Hammervold, and their respective law firms, Cummings Manookian PLC1 and
 Hammervold Law, PLC. The orders on appeal arise from, but have little to do with, a
 case filed by David Chase (“Plaintiff”) against multiple defendants. Mr. Manookian and
 Mr. Hammervold represented several of the defendants. Purportedly to defeat an element
 of the malicious prosecution claim brought by Plaintiff and to prove Plaintiff had not
 suffered reputational harm, Mr. Manookian subpoenaed individuals and entities that were
 not parties to the case. The non-parties included Plaintiff’s parents, Dean Chase and
 Sandra Chase; and entities to which Plaintiff had some connection, D.F. Chase, Inc.; CK
 Global, LLC; and NV Music Row, LLC. Mr. Manookian also sought deposition
 testimony from Plaintiff’s parents.

        Wanting to protect confidential information, Dean Chase; Sandra Chase; D.F.
 Chase, Inc.; CK Global, LLC; and NV Music Row, LLC (collectively, “Petitioners”)
 proposed an agreed protective order before responding to the subpoenas or submitting to
 the depositions. And, after negotiations, counsel reached an agreement on the terms of
 the protective order. Among other things, the proposed order defined confidential
 information, provided methods for both designating information as “confidential” and
 challenging such designations, and restricted the indiscriminate or mass designation of
 information as “confidential.”

        Counsel for Petitioners then proposed that the document production could proceed
 provided that Mr. Manookian would agree that the production was subject to the
 protective order despite it not being entered by the court. Mr. Manookian responded: “I
 agree that the Order is binding on me and my clients at the time it is signed with
 permission as opposed to entered by the Court.” So counsel for Petitioners filed the
 proposed agreed protective order with the court. The same day, Petitioners produced

          1
            After briefing in this appeal, Cummings Manookian PLC filed a voluntary bankruptcy petition
 for relief under Chapter 7 of Title 11 of the United States Code in the United States Bankruptcy Court for
 the Middle District of Tennessee. Late last year, the Chapter 7 Trustee reported that “it is unforeseeable
 that the bankruptcy case will be resolved before April, 2021, at the earliest.”
                                                     2

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 over 78,000 pages of documents in response to the subpoenas. Petitioners designated all
 of the documents as “confidential” under the proposed agreed protective order. In a
 cover letter, counsel for Petitioners stated that, while they “realize[d] that the Protective
 Order cautioned against mass designation of documents as ‘confidential’ . . . it would
 have been unduly burdensome upon our clients to review each of the . . .
 documents . . . .” Counsel for Petitioners offered to conduct a page-by-page review if
 Mr. Manookian’s clients would pay for it. Counsel alternatively suggested that
 Mr. Manookian’s clients could challenge any “confidential” designation to a specific
 document or documents.

        Mr. Manookian objected to the mass designation and, in a filing with the court,
 withdrew his consent to the proposed agreed protective order. But, a few days later, he
 made another filing requesting that the court enter the proposed agreed protective order.
 Petitioners then filed a motion requesting the entry of a protective order and that the court
 sustain its confidentiality designations. They set the motion for hearing on October 30,
 2015.

        Before the hearing took place, Mr. Manookian filed documents and excerpts from
 the deposition transcripts of Dean and Sandra Chase, all of which had been designated as
 “confidential,” in response to a motion filed by Plaintiff. Counsel for Petitioners
 appeared at an October 20, 2015 hearing on Plaintiff’s motion and made an oral motion.
 Counsel requested that the court treat as confidential all documents already produced by
 Petitioners, as well as the deposition testimony of Dean and Sandra Chase. Counsel also
 requested that the response filed by Mr. Manookian, including the exhibits, be kept under
 seal. The court granted the oral motion.

        At the October 30, 2015 hearing, the court again ruled in favor of Petitioners and
 ordered that “all pleadings or documents containing, attaching, or referencing documents,
 testimony, or information designated as confidential . . . were to be filed under seal.”
 And the court “adopted,”2 with modifications, the proposed agreed protective order. The
 court ordered that documents designated as “confidential” be protected consistent with
 the terms of the agreed protective order. The court’s oral rulings at the October 20 and
 October 30 hearings were reflected in written orders entered on November 7, 2015, and
 November 6, 2015, respectively.

                                                         B.

        On February 25, 2016, Dean Chase, Sandra Chase, and D.F. Chase, Inc. moved for
 sanctions. They claimed that, on February 3, 2016, confidential materials, including
 video recordings of Dean Chase’s and Sandra Chase’s deposition testimony, were


          2
              It is unclear if the court entered the proposed agreed protective order.
                                                          3

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 featured on two television news broadcasts and were also published online. And other
 media outlets had published stories using the same materials.

         While the motion did not specifically allege that either Mr. Manookian or
 Mr. Hammervold provided the confidential materials to the media, it blamed the pair for
 use of confidential documents in separate litigation they had filed on behalf of another
 client against Dean Chase. The motion asked the court to identify who had violated its
 previous orders and to hold those parties or counsel in contempt and award costs,
 attorney’s fees, and other expenses.

        Following a hearing on the motion for sanctions, the court entered an order
 identifying four attorneys “whose actions in this matter strongly indicate violations of
 Tennessee Rule of Civil Procedure 37.02 and possible contempt of the orders of th[e]
 Court.” The court granted leave to those “affected by alleged violations of Tennessee
 Rule of Civil Procedure 37.02 and violations of the corresponding Court Orders [to] file
 appropriate pleadings for sanctions, listing specifically each violation alleged to have
 occurred and the specific injury inflicted upon each party.” Petitioners did so against
 three attorneys, including Mr. Manookian and Mr. Hammervold and their respective law
 firms.

        After the hearing, the trial court found Mr. Manookian and Mr. Hammervold in
 contempt. The court found Mr. Manookian in contempt for using confidential materials
 in preparing, strategizing, and negotiating the separate lawsuit and in attaching a
 confidential document to a pleading in that lawsuit. And the trial court also found that
 Mr. Manookian had disclosed confidential materials to the media after the court had
 ordered that such documents not be disclosed. The trial court found Mr. Hammervold in
 contempt for allowing the filing of the confidential document in the separate lawsuit.
 Though Mr. Manookian made the filing, Mr. Hammervold was his co-counsel. As such,
 the court held that Mr. Hammervold was responsible as well.

         The trial court also sanctioned Mr. Manookian and Mr. Hammervold under
 Tennessee Rule of Civil Procedure 37.02. The trial court first sanctioned both attorneys
 for the same actions for which it had found them in contempt. The court then found other
 actions of the two attorneys sanctionable. As to Mr. Manookian, the trial court
 sanctioned him for disclosing confidential materials to law enforcement and three
 attorneys not involved in the case before the court issued any ruling on the protective
 order. The court categorized those actions as an abuse of discovery. The court also
 found that he was not candid with the court and attempted to defraud the court. As to
 Mr. Hammervold, the trial court sanctioned him for Mr. Manookian’s disclosure to the
 media. The court found that Mr. Hammervold “had knowledge of and was complicit in
 concealing the improper disclosure” from the court. The court reasoned that
 Mr. Hammervold had also abused the discovery process, failed to be candid with the
 court, and attempted to defraud the court.
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        Based on its finding of contempt—and, alternatively, its finding of sanctionable
 conduct—the trial court awarded damages to Petitioners in the form of attorney’s fees
 and expenses against Mr. Manookian and Mr. Hammervold and their respective law
 firms. Considering affidavits filed by Petitioners’ attorneys, the court awarded
 Petitioners $622,696.12. The trial court also granted counsel for Petitioners leave to
 supplement their affidavits with fees incurred for time spent preparing for the contempt
 hearing through the date of the contempt order.

                                                C.

        About a month after the contempt order and before the hearing on the
 supplemental fee request, the judge of the trial court referenced Mr. Manookian while
 presiding over a hearing in the case of Elite Emergency Services, LLC v. Nesmith. In
 open court, the judge said

          There was a lawyer, Mr. Brian Manookian, who I have released a one-
          hundred-twenty-two page memorandum and order on, who, among many,
          many other things, submitted a false and fake package, along with another
          person, to the Board of Professional Responsibility and the Court of the
          Judiciary.

          Well, come to find out that it was fake. And it was wrong. Channel 4
          News picked it up and made it a headline . . . . Totally false. Totally false.

          The Board of Professional Responsibility saw what it was and said, “We’re
          not going to investigate it, Judge Binkley.” And I said, “Oh, please do. I’m
          begging you to investigate because you know how people are. They’ll read
          half the story and say, ‘Ah, that was a put-up. They’re helping Judge
          Binkley out.’”

          I don’t want that. I hired a lawyer and I said, “Let’s do it right.” Full
          investigation, dismissed, and it should’ve been. Now, Channel 4 News
          published it as if it were true. Now, what do I do when I’m sitting there
          watching that, and my family is watching it, and all of my friends are
          watching it?

          And as a judge it’s probably good that I don’t say a word. It’s very
          difficult. But my day will come. And it’s just about here . . . . I feel like
          it’s necessary for me to be crystal clear, transparent and clear. I did not like
          what Mr. Manookian did at all, and my day will come.


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        After the trial court made these comments, Mr. Manookian, on behalf of himself
 and his law firm, moved to recuse the judge.3 In his recusal motion, Mr. Manookian
 argued, among other things, that the above comments showed the court’s bias against
 him. The trial court denied the recusal motion, finding the statements made in open court
 “irrelevant to the issues in the present case.”

         Two days after the denial of Mr. Manookian’s recusal motion, the trial court
 awarded Petitioners $126,073.09 in supplemental attorney’s fees in a separate order. In
 total, then, the trial court held Mr. Manookian, Mr. Hammervold, and their respective law
 firms jointly and severally liable for $748,769.21. The trial court designated the original
 order of contempt and damages and the supplemental order of damages together as a final
 judgment under Tennessee Rule of Civil Procedure 54.02.

                                                  II.

         Mr. Manookian petitioned for an accelerated interlocutory appeal of the denial of
 his third recusal motion. See TENN. SUP. CT. R. 10B, § 2.01. And Mr. Manookian and
 Mr. Hammervold appealed the final judgment of contempt and damages.                  We
 consolidated the interlocutory appeal with the appeal of the final judgment.

        The parties’ arguments focus both on whether the trial judge should have recused
 himself and on the merits of the contempt and damages orders. We find the recusal issue
 dispositive. As to that issue, the parties argue over various possible grounds for recusal.
 We focus on the trial court’s comments about Mr. Manookian in the unrelated
 proceeding.

                                                  A.

        Rule 10B of the Rules of the Supreme Court of Tennessee governs the procedure
 for “determin[ing] whether a judge should preside over a case.” TENN. SUP. CT. R. 10B.
 When a trial court denies a motion to recuse, a party can either take an interlocutory
 appeal or raise the issue in an appeal after entry of final judgment. Id. § 2.01. In both
 scenarios, we review a trial court’s ruling on a motion to recuse de novo. Id.

        In Tennessee, litigants “have a fundamental right to a ‘fair trial before an impartial
 tribunal.’” Holsclaw v. Ivy Hall Nursing Home, Inc., 530 S.W.3d 65, 69 (Tenn. 2017)
 (quoting State v. Austin, 87 S.W.3d 447, 470 (Tenn. 2002)); see Kinard v. Kinard, 986

          3
           The previous year Mr. Manookian filed two recusal motions, which were denied. He sought
 accelerated interlocutory review of the denial of his first recusal motion. See TENN. SUP. CT. R. 10B,
 § 2.01. We affirmed the denial of that motion. Chase v. Stewart, No. M2017-01192-COA-T10B-CV,
 2017 WL 3738466, at *4 (Tenn. Ct. App. Aug. 29, 2017). Mr. Manookian did not seek interlocutory
 review of his second recusal motion.

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 S.W.2d 220, 227 (Tenn. Ct. App. 1998) (reasoning that litigants “are entitled to the ‘cold
 neutrality of an impartial court’” (quoting Leighton v. Henderson, 414 S.W.2d 419, 421
 (Tenn. 1967))); see also TENN. CONST. art. VI, § 11. It “goes without saying that a trial
 before a biased or prejudiced fact finder is a denial of due process.” Wilson v. Wilson,
 987 S.W.2d 555, 562 (Tenn. Ct. App. 1998).

        Tennessee has long recognized that “the appearance of bias is as injurious to the
 integrity of the judicial system as actual bias.” Davis v. Liberty Mut. Ins. Co., 38 S.W.3d
 560, 565 (Tenn. 2001); see In re Cameron, 151 S.W. 64, 76 (Tenn. 1912) (“[I]t is of
 immense importance, not only that justice shall be administered . . . , but that [the public]
 shall have no sound reason for supposing that it is not administered.”). Of course, a
 judge should recuse when they have “any doubt as to [their] ability to preside impartially
 in [a] case.” Davis, 38 S.W.3d at 564. But a judge must also “disqualify himself or
 herself in any proceeding in which the judge’s impartiality might reasonably be
 questioned.” TENN. SUP. CT. R. 10, Rule 2.11(A). This test is “an objective one.” State
 v. Cannon, 254 S.W.3d 287, 307 (Tenn. 2008). It requires recusal “when a person of
 ordinary prudence in the judge’s position, knowing all of the facts known to the judge,
 would find a reasonable basis for questioning the judge’s impartiality.” Davis, 38
 S.W.3d at 564-65 (quoting Alley v. State, 882 S.W.2d 810, 820 (Tenn. Crim. App.
 1994)).

        A party seeking disqualification or recusal must support a recusal motion with an
 affidavit or declaration and “other appropriate materials.” TENN. SUP. CT. R. 10B, § 1.01.
 When a party brings forward a trial court’s comments as evidence to support a recusal
 motion, we must determine whether the comments “indicate that the judge has prejudged
 factual issues.” Alley, 882 S.W.2d at 822. “Any comments made by the trial court must
 be construed in the context of all the facts and circumstances to determine whether a
 reasonable person would construe those remarks as indicating partiality on the merits of
 the case.” Id.

        Here, Mr. Manookian submitted the declaration of Samuel Clemmons. In this
 declaration, Mr. Clemmons detailed the comments that the trial judge made about
 Mr. Manookian in the Elite Emergency Services case, to which Mr. Clemmons was a
 party.4 Petitioners challenge Mr. Clemmons’s declaration as “inherently suspect, at
 best.” We disagree. Courts instead presume that testimony provided under oath and

          4
           Petitioners argue that Mr. Manookian waived the right to seek recusal of the trial judge based on
 the judge’s comments. A party waives the right “to question a judge’s impartiality” if the party does not
 assert the grounds for recusal “in a timely manner.” Kinard, 986 S.W.2d at 228 (citations omitted). A
 one-year delay in asserting grounds for recusal constitutes waiver. Chase, 2017 WL 3738466, at *3; In re
 Samuel P., No. W2016-01592-COA-T10B-CV, 2016 WL 4547543, at *6 (Tenn. Ct. App. Aug. 31, 2016).
 Here, Mr. Manookian filed the third recusal motion twenty-two days after the judge’s comments. Under
 the circumstances, we find that Mr. Manookian acted in a timely manner.

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 penalty of perjury is true. See, e.g., Hogue v. Kroger Co., 356 S.W.2d 267, 271 (Tenn.
 1962) (“This court certainly will not ascribe to the oath-taker the infamy of a perjurious
 mind. We think, with every presumptive support, that people normally are honest and
 tell the truth.” (citation omitted)). In its order denying the recusal motion, the trial court
 treated the comments as if they had been made, so we do also.

        In his comments, the judge claimed that Mr. Manookian “submitted a false and
 fake package . . . to the Board of Professional Responsibility and the Court of the
 Judiciary.” The media ultimately “picked it up” and published a “[t]otally false” story
 about the judge. But, the judge continued, the media published the story “as if it were
 true.” So, the judge wondered, “what do I do when I’m sitting there watching that, and
 my family is watching it, and all of my friends are watching it?”

        The gist of the comments is that the judge blamed Mr. Manookian for the court’s
 exposure to negative publicity, possibly drawing the scrutiny of the judge’s family and
 friends. The judge was “crystal clear” and “transparent” about not liking that “at all.”
 The court also did not like “many, many other things” Mr. Manookian had done. And the
 judge envisaged that “my day will come.”

        Taken in context, “a reasonable person would construe th[e] remarks as
 indicating” that the judge may have sought retribution against Mr. Manookian for a
 perceived wrongdoing unrelated to the contempt charges.5 See Alley, 882 S.W.2d at 822.
 This possible motivation provides “a reasonable basis for questioning the judge’s
 impartiality.” See Davis, 38 S.W.3d at 564; see also State v. Cobbins, No. E2012-02025-
 CCA-10B-DD, 2012 WL 5266427, at *22-23 (Tenn. Crim. App. Oct. 25, 2012) (recusal
 warranted based, in part, on trial court’s comments that it was “[m]y time” and “my day
 had finally come”).

      Petitioners insist that the trial court was “impartial and entirely fair” to
 Mr. Manookian and Mr. Hammervold.6 The record reflects that the judge showed

          5
          In the order denying the motion to recuse, the trial court provided more context. The judge
 explained that Mr. Manookian had been providing information about the judge to Mr. Clemmons.
 Mr. Clemmons then used this information to file a complaint with the Board of Judicial Conduct. That
 complaint was later dismissed. In the judge’s view, Mr. Manookian and Mr. Clemmons “have obviously
 worked together for the sole purpose of . . . attempt[ing] to publicly embarrass or ridicule the Court.”

          6
            Petitioners argue that Mr. Hammervold did not properly preserve the recusal issue for appeal.
 In response to our order directing the parties to respond to Mr. Manookian’s Rule 10B petition for recusal
 appeal, see TENN. SUP. CT. R. 10B, § 2.05, Mr. Hammervold, on behalf of himself and his law firm,
 joined the petition. And as a party, he was entitled to raise the denial of the recusal motion in his brief,
 which he did. See Tenn. R. App. P. 3(h) (broadly allowing any party to raise any issue “upon the filing of
 a single notice of appeal”). Although Mr. Hammervold did not join Mr. Manookian’s recusal motion in
 the trial court, the Rules of the Supreme Court of Tennessee speak of recusal as to proceedings, not as to
 parties. See TENN. SUP. CT. R. 10, Rule 2.11(A).
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 extraordinary patience and was thorough in his review of serious allegations against
 Mr. Manookian and Mr. Hammervold. We do not conclude that the judge was actually
 partial. But that is not the standard for recusal. See Kinard, 986 S.W.2d at 228 (“[T]he
 public’s confidence in judicial neutrality requires not only that the judge be impartial in
 fact, but also that the judge be perceived to be impartial.”). Under Tennessee’s objective
 standard, the judge’s impartiality might reasonably be questioned. So the judge should
 have recused himself. See Cook v. State, 606 S.W.3d 247, 255 (Tenn. 2020) (reasoning
 that Tennessee’s objective standard “‘may sometimes bar trial by judges who have no
 actual bias’” (quoting In re Murchison, 349 U.S. 133, 136 (1955))).

         Petitioners also contend that, because the judge made the comments after the
 contempt order, the comments cannot be evidence of any predisposition against
 Mr. Manookian. See Alley, 882 S.W.2d at 821. We again disagree. The unfavorable
 news story for which the judge claimed Mr. Manookian was responsible ran in February
 2017. And the trial court issued the contempt order in July 2018. So the impetus for the
 judge’s thoughts about Mr. Manookian may have existed for almost a year and a half
 before the court entered the contempt order.7 That the judge did not air those thoughts
 until after entry of the contempt order misses the point.

                                                       B.

        Having determined that recusal was appropriate, we must consider the impact on
 the final judgment of contempt and damages. Retroactive recusal generally is not the
 appropriate remedy. See Watson v. Cal-Three, LLC, 254 P.3d 1189, 1193 (Colo. App.
 2011) (“Recusal provides prospective relief; it does not necessarily invalidate orders
 previously entered.”); 46 AM. JUR. 2D Judges § 210, Westlaw (database updated Nov.
 2020). But, in Liljeberg v. Health Services Acquisition Corp., the United States Supreme
 Court set forth a test to determine whether retroactive recusal is appropriate under the
 federal recusal statute. 486 U.S. 847, 863-64 (1988). We find it appropriate to apply the
 Liljeberg test here. Tennessee courts “may look to federal interpretation of similar
 federal laws for guidance in enforcing [Tennessee] statutes.” Van Tran v. State, 66
 S.W.3d 790, 821 (Tenn. 2001) (Barker, J., concurring in part and dissenting in part); see
 Barnes v. Goodyear Tire & Rubber Co., 48 S.W.3d 698, 705 (Tenn. 2000) (interpreting
 Tennessee anti-discrimination laws), abrogated on other grounds by Gossett v. Tractor
 Supply Co., 320 S.W.3d 777 (Tenn. 2010); Arnold v. Morgan Keegan & Co., 914 S.W.2d
 445, 448 & n.2 (Tenn. 1996) (interpreting the Tennessee Uniform Arbitration Act);
 Thomas v. Oldfield, 279 S.W.3d 259, 261-62 & n.3 (Tenn. 2009) (interpreting the


          7
            Although one of the two hearing dates on the contempt petition occurred before the media story
 ran, there is still a “reasonable basis for questioning” whether partiality may have affected the trial court’s
 contempt order. See Davis, 38 S.W.3d at 564.

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 Tennessee Rules of Civil Procedure); State v. Clayton, 131 S.W.3d 475, 478 (Tenn. Crim.
 App. 2003) (interpreting the Tennessee Rules of Criminal Procedure). Tennessee’s
 recusal standard is identical to the federal standard, save for noun and pronoun usage.
 Compare TENN. SUP. CT. R. 10, Rule 2.11(A), with 28 U.S.C. § 455(a) (2018). And
 Tennessee courts have often cited the United States Supreme Court with approval on
 recusal issues. See State v. Griffin, 610 S.W.3d 752, 760 (Tenn. 2020) (citing Williams v.
 Pennsylvania, 136 S. Ct. 1899, 1907-09 (2016)); Cook, 606 S.W.3d at 255 (citing In re
 Murchison, 349 U.S. at 136); Bailey v. Blount Cty. Bd. of Educ., 303 S.W.3d 216, 239
 (Tenn. 2010) (citing Chapman v. California, 386 U.S. 18, 23 n.8 (1967)); Kinard, 986
 S.W.2d at 228 (citing Offutt v. United States, 348 U.S. 11, 14 (1954)); Alley, 882 S.W.2d
 at 821 (citing United States v. Grinnell Corp., 384 U.S. 563, 583 (1966)).

        The Liljeberg test “consider[s] the risk of injustice to the parties in the particular
 case, the risk that the denial of relief will produce injustice in other cases, and the risk of
 undermining the public’s confidence in the judicial process.” Liljeberg, 486 U.S. at 864.
 As to the parties in this case, the purpose of the right to impartiality “is to guard against
 the prejudgment of the rights of litigants and to avoid situations in which the litigants
 might have cause to conclude that the court had reached a prejudged conclusion.” State
 v. Benson, 973 S.W.2d 202, 205 (Tenn. 1998) (citing Chumbley v. People’s Bank & Tr.
 Co., 57 S.W.2d 787, 788 (Tenn. 1933)).

         As noted above, the basis for the judge’s thoughts about Mr. Manookian may have
 existed for nearly a year and a half before the July 2018 contempt order. It likely existed
 at least since May 23, 2017, when the trial court entered the order denying an earlier
 recusal motion filed by Mr. Manookian. That order indicates that, by then, the judge
 suspected that Mr. Manookian was behind the news story and unfounded complaints
 about the judge made to the Board of Professional Responsibility and the Court of the
 Judiciary. The contempt order itself references the Board of Professional Responsibility
 complaint in an adverse credibility finding against Mr. Manookian. So once the court
 revealed its thoughts about Mr. Manookian in open court, one might reasonably question
 whether the court “had reached a prejudged conclusion” as to the contempt order. See
 Benson, 973 S.W.2d at 205. Although the contempt order is the product of over two
 years of litigation, under these circumstances “there is a greater risk of unfairness in
 upholding the judgment in favor of [Petitioners] than there is in allowing a new judge to
 take a fresh look at the issues.” See Liljeberg, 486 U.S. at 868; see also Olerud v.
 Morgan, No. M2010-01248-COA-R3-CV, 2011 WL 607113, at *2-3 (Tenn. Ct. App.
 Feb. 18, 2011) (vacating orders of the trial court entered before a recusal motion was
 filed when the basis for recusal “was discovered . . . after the court entered critical rulings
 in the case”).

       Second, to deny retroactive relief could cause injustice in other cases. Our
 supreme court has cautioned judges about inappropriate remarks. See Cook, 606 S.W.3d
 at 257 (admonishing Tennessee judges “to refrain from [making] inappropriate
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 comments”); see also Leighton, 414 S.W.2d at 420 (“[T]he judge must be careful not to
 give an expression to any thought, or to infer what his opinion would be in favor or
 against either of the parties in the trial.”). Allowing a remedy for inappropriate remarks
 even late in the proceedings would encourage judges to reflect on possible grounds for
 recusal through all phases of a case. See Liljeberg, 486 U.S. at 868 (Retroactive
 enforcement “may prevent a substantive injustice in some future case by encouraging a
 judge . . . to more carefully examine possible grounds for disqualification and to
 promptly disclose them when discovered.”).

         Third, allowing the contempt order to stand risks undermining public confidence
 in the judiciary. Surely, “‘justice must satisfy the appearance of justice.’” Liljeberg, 486
 U.S. at 864 (quoting In re Murchison, 349 U.S. at 136); Cook, 606 S.W.3d at 255
 (quoting same). Here, when the judge mused that “my day will come,” the judge also
 said that day is “just about here”—less than a month before awarding supplemental
 damages and finalizing the contempt order. And the judge mentioned that he had
 “released a one-hundred-twenty-two page memorandum and order on” Mr. Manookian,
 which was the order holding him in contempt. So the basis upon which it is reasonable to
 question the judge’s impartiality is directly connected to the contempt order.

        Because the trial court’s impartiality might reasonably be questioned, the court
 should have recused itself. And under the circumstances of this case, retroactive recusal
 is warranted. In finding retroactive recusal warranted, we express no opinion on the
 merits of the contempt proceeding.

                                             III.

       We reverse the denial of the third motion to recuse. And we vacate the contempt
 and damages order of July 20, 2018, and the order awarding supplemental attorney’s fees
 and expenses of September 27, 2018. This case is remanded for reassignment and further
 proceedings consistent with this opinion.


                                                    _________________________________
                                                    W. NEAL MCBRAYER, JUDGE




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 CRIME & COURTS


Appeals court removes Tennessee judge
from case with lawyer who revealed his
secret arrest
            Jamie Satterfield
            Knoxville News Sentinel
Published 10:00 p.m. ET March 21, 2021


A Williamson County judge was convinced a Nashville lawyer with a reputation for legal
trash-talking had exposed his secret.

Vengeance, Circuit Court Judge Michael Binkley publicly and repeatedly vowed, would be
his.

“My day will come,” Binkley told a courtroom of attorneys.

Just weeks later, it did, court records show.

Binkley slapped the attorney, Brian Manookian, and his legal partner with more than
$700,000 in sanctions in a hotly contested battle between warring lawyers in a lawsuit.

Now, a state appellate court is booting Binkley off the bench in that case and striking down
his sanctions order in an opinion that lays bare the very thing Binkley wanted to hide.

Binkley had been caught in a prostitution sting in 2010, two years before he was elected to
the bench. But one of Tennessee’s most powerful judges — former Davidson County General
Sessions Court Judge Casey Moreland — erased all record of it.

“Once the court revealed its thoughts about Mr. Manookian in open court, one might
reasonably question whether the court had reached a prejudged conclusion as to the
contempt order,” the Tennessee Court of Appeals opinion stated.

“When the judge mused that ‘my day will come,’ the judge also said that day is ‘just about
here’ — less than a month before awarding supplemental damages and finalizing the
contempt order.”
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https://www.knoxnews.com/story/news/crime/2021/03/22/tennessee-appeals-court-pulls-judge-michael-binkley-casey-moreland-brian-manookian/4450…   1/4
5/26/23, 5:10 PM                                    Tennessee appeals court pulls judge from case over retribution worries
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Binkley did not return a phone call seeking comment.


Judicial secrets abound
Moreland was considered one of Nashville’s most powerful judges. The FBI would later
reveal his dark side: trading court favors for sex, stealing money from the recovery court he
founded and hosting trips with fellow judges and lawyers at which prostitutes were hired and
marijuana was smoked.

Moreland’s dark side was still under wraps, though, when Binkley — then a lawyer who
wanted to be a judge — was nabbed in a prostitution sting on Dickerson Avenue in 2010,
according to records reviewed by Knox News.

Moreland erased all record of the charge against Binkley the very same day. With his secret
safe, Binkley ran for election to the Williamson County bench in 2012 and won.

An anonymous complaint to the Tennessee Board of Judicial Conduct about Moreland's
behavior and the secret expungement of Binkley's arrest became public when it was leaked to
Nashville journalists in February 2017.

Binkley was convinced Manookian had something to do with that leak, though it's still not
clear why the attorney was at the top of his suspect list.


'My day will come'
Binkley — who even now refuses to publicly acknowledge his 2010 arrest and Moreland’s
secret expungement — suspected Manookian as early as May 2017, the appellate opinion
states.

Manookian is a wealthy attorney known for his harsh rhetoric in interactions with opposing
lawyers and even judges. He’s been repeatedly slapped with complaints to the Tennessee
Board of Professional Responsibility and has drawn temporary suspensions more than once.

Binkley publicly vowed revenge against Manookian in a speech to attorneys obtained by
Knox News and from the bench.

“Now, what do I do when I’m sitting there watching (a media report), and my family is
watching it, and all my friends are watching it?” Binkley said from the bench during a case
that had nothing to do with Manookian.
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https://www.knoxnews.com/story/news/crime/2021/03/22/tennessee-appeals-court-pulls-judge-michael-binkley-casey-moreland-brian-manookian/4450…   2/4
5/26/23, 5:10 PM                                    Tennessee appeals court pulls judge from case over retribution worries
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“And as a judge it’s probably good that I don’t say a word,” Binkley continued. “It’s very
difficult. But my day will come. And it’s just about here … I feel like it’s necessary for me to be
crystal clear, transparent and clear. I did not like what Mr. Manookian did at all, and my day
will come.”

Just weeks later, in July 2018, Binkley hit Manookian with more than $700,000 in contempt
sanctions, labeling the attorney a leak and a liar. Manookian said he was innocent of both
claims and wanted a new hearing before a new judge.

Binkley refused.

“What people are doing to judges, making up stuff in the media when it’s totally false, it’s
happening,” Binkley told a crowd of lawyers in a speech a few months later. “I’ve never
turned in a lawyer in my entire career. But there’s one, Brian Manookian, I’m going to turn
in. And I’ve got 70 different examples, and I’m not stopping.”


Court: Vengeance is not yours
Binkley followed through with his threat, filing a series of complaints with the Tennessee
Board of Professional Responsibility against Manookian.

Manookian, meanwhile, appealed the sanctions order.

In a ruling issued last month, the appellate court said there was no way the public could have
faith in Binkley’s fairness to Manookian given the judge’s vows of revenge.

“Taken in context, a reasonable person would construe (Binkley’s vow of revenge) as
indicating that the judge may have sought retribution against Mr. Manookian for a perceived
wrongdoing unrelated to the contempt charges,” the appellate court ruled.

“Because the trial court’s impartiality might reasonably be questioned, the court should have
recused itself,” the opinion stated.

The appellate court is striking down Binkley’s sanctions order and ordering up a new hearing
before a new judge. Manookian, meanwhile, is fighting Binkley’s board complaints. In a
document obtained by Knox News, Binkley is demanding secrecy if he submits to a
deposition about his board complaints.



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https://www.knoxnews.com/story/news/crime/2021/03/22/tennessee-appeals-court-pulls-judge-michael-binkley-casey-moreland-brian-manookian/4450…   3/4
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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


  IN RE:                                       )
                                               ) Case No. 3:19-bk-07235
  CUMMINGS MANOOKIAN, PLLC,                    ) Chapter 7
                                               ) Judge Walker
                 Debtor.                       )
                                               )


                      BRIAN MANOOKIAN’S OBJECTION TO
                   PROPOSED CHASE CLAIM AND SETTLEMENT


          Brian Manookian is an attorney and the sole member and owner of Cummings

 Manookian, PLLC. For the reasons articulated below, Mr. Manookian objects to the

 Chase Parties’ proposed claim and settlement with the Bankruptcy Estate. The date to

 file responses or objections to the Trustee’s Motion is July 27, 2021 and the date of the

 scheduled hearing is August 11, 2021.1

                                 I.     INTRODUCTION

          The Chase Claim rests on a judgment in a state court contempt proceeding that has

 since been vacated by the Tennessee Court of Appeals.2 After having their Petition for

 Rehearing denied, the Chase Parties offered to resolve their claims with Cummings

 Manookian in exchange for a $0 walk-away and mutual release.3 Inexplicably, the

 Trustee now proposes to negotiate up that offer to $250,000.




 1 The parties have agreed to postpone the hearing date due to a scheduling conflict and

 will file a proposed agreed order for the Court’s consideration after all objectors are
 identified and consulted.
 2 Chase v. Stewart, et al., No. M2018-01191-COA-R3-CV (Tenn. Ct. App. 2021), attached

 as Exhibit 1.
 3 Correspondence from Charlie Malone, March 18, 2021, attached as Exhibit 2.



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          Because the Chase Claim arises entirely out of a vacated and facially frivolous

 contempt proceeding; because the established and negotiated value of the Chase Claim is

 zero dollars; and because the negotiations between the Chase Parties and Special Counsel

 to the Trustee are rife with actual conflict and the appearance of a quid pro quo, Mr.

 Manookian requests that the proposed settlement be rejected.


                                       II.    FACTS

 A.       The Underlying Chase v. Stewart Matter

          In 2015, Brian Manookian agreed to represent six defendants, pro bono, in a

 Williamson County Circuit Court case styled Chase v. Stewart (“the Chase Matter”). The

 Chase Matter was a malicious prosecution suit brought by real estate developer David

 Chase. Mr. Chase had been arrested during the early morning hours of June 8, 2014 for

 domestic violence after beating his girlfriend. Upon being booked into the Davidson

 County jail, Mr. Chase contacted attorney Bryan Lewis, who in turn called General

 Sessions Judge Casey Moreland, who arranged for Mr. Chase to be released from jail –

 notwithstanding a mandatory hold period – at which time Mr. Chase returned to his home

 and assaulted his girlfriend a second time, leading to his immediate re-arrest, national

 headlines, and, ultimately the Chase Matter.

          David Chase filed Chase v. Stewart contending that various individuals conspired

 to have him arrested for domestic violence for the purpose of ruining his reputation and

 depriving him of his burgeoning career in real estate development. Brian Manookian, a

 partner with the firm Cummings Manookian PLLC, agreed to represent six (6) of the eight

 (8) defendants in Mr. Chase’s lawsuit, and moreover, to do so on a pro bono basis.




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          As part of his representation, Mr. Manookian set out to prove that the dismissal of

 the criminal charges against Mr. Chase were not on the merits, but rather secured as part

 of a release-dismissal agreement with the Davidson County District Attorney. Doing so

 would defeat a central element of a malicious prosecution claim, in that the underlying

 charge must be dismissed on the merits as opposed to resulting from a negotiated

 settlement.

          Toward that end, Mr. Manookian subpoenaed targeted materials from David

 Chase’s employers, business entities, and parents (hereinafter “the Chase Parties”). On

 August 31, 2015, the Chase Parties responded by filing a Motion for the Entry of an Agreed

 Limited Protective Order (hereinafter the “ALPO”) covering a narrow, specifically defined

 set of materials that could potentially be viewed as confidential.

          The Trial Court never entered the ALPO as submitted by the Chase Parties, and the

 Chase Parties themselves immediately disregarded its terms. As such, and in the absence

 of any Order to the contrary, Brian Manookian disseminated certain of the Chase Parties’

 discovery materials to Media Outlets, the U.S. Attorney’s Office, and the Federal Bureau

 of Investigation.

          The Chase Parties responded by petitioning the Trial Court to hold Brian

 Manookian and Cummings Manookian in contempt of court for purported “violations” of

 a protective order that did not exist at the time of Mr. Manookian’s dissemination.

          Deep into the pendency of the years-long contempt proceedings, the Trial Court

 Judge, Michael Binkley, revealed that he held a pervasive personal animus against Brian

 Manookian over its belief that Mr. Manookian had filed a complaint with the Board of

 Judicial Conduct that led to widespread media reporting of the Trial Court Judge’s arrest

 for solicitation of prostitution.


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          Brian Manookian and Cummings Manookian quickly moved for the Trial Court’s

 recusal. The Trial Court not only refused to do so but began swiftly entering orders

 finding Manookian in contempt of court and awarding $748,769.21 in civil contempt

 damages against him and his law firm.

          Brian Manookian and Cummings Manookian promptly appealed the Trial Court’s

 Orders; arguing that the Trial Court was required to recuse itself from the matter; that the

 Trial Court’s findings were not based in fact or law, but rather on an extreme,

 impermissible personal biases; and that, in any event, Brian Manookian and Cummings

 Manookian could not be held in contempt for violating an Order that did not exist.

 B.       Appointment of Phillip Young as a Receiver in the State Action

          While the Chase Appeal was pending, the Chase Parties filed a collections action

 asking the Williamson County Chancery Court to create a receivership over Cummings

 Manookian’s accounts receivable and to specifically appoint Attorney Phillip Young as the

 Receiver to collect the $748,769,21 awarded by Judge Michael Binkley. The State Court

 did so, and Philip Young immediately began placing liens on Cummings Manookian’s

 receivables and levying them as they came due.

          Mr. Young collected tens of thousands of dollars owed to Cummings Manookian,

 ultimately paying all of that money to himself, and, in the meantime, instituting new

 adverse proceedings against Cummings Manookian, including seeking monetary awards

 against Cummings Manookian and asking the Court to hold Cummings Manookian in

 contempt.

 C.       Appointment of Phillip Young as Special Counsel in this
          Bankruptcy Proceeding

          While Phillip Young was acting as Receiver in the State Court Action – and while



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 the Chase Appeal was still pending – Mr. Manookian filed for bankruptcy on behalf of

 Cummings Manookian; in part, to seek protection from the increasingly punitive actions

 Phillip Young was taking against Cummings Manookian at the request of the Chase

 Parties.

          The Bankruptcy Trustee petitioned to have Phillip Young – the same attorney who

 was concurrently pursuing Cummings Manookian’s receivables on behalf of the Chase

 Parties as well as pursuing new sanctions against Cummings Manookian in the State

 Action – appointed as her Special Counsel in the Bankruptcy matter. Her request was

 granted over Mr. Manookian’s objection, and Phillip Young began serving dual roles as

 Counsel for the Trustee in Cummings Manookian’s Bankruptcy as well as Receiver in the

 Chase Parties’ state court lawsuit against Cummings Manookian; roles in which he

 continues to serve as of the time of this filing.

 D.       The Court of Appeals’ Decision and Denial of Rehearing

          On February 4, 2021, the Tennessee Court of Appeals released its holding in Chase

 v. Stewart. The Court of Appeals vacated the judgment of $748,769,21, finding that Judge

 Michael Binkley should have recused himself as a result of an appearance of bias; and

 further finding that the bias had existed for so long as to justify his retroactive recusal.

          The Chase Parties petitioned the Court of Appeals for rehearing. Their Petition

 was denied in a multi-page order issued on March 16, 2021.4

 E.       The Chase Parties’ Offer of a Walk-Away

          Two days after the Tennessee Court of Appeals denied the Chase Parties’ Petition

 for Rehearing, the Chase Parties sent a settlement letter to Counsel for Brian Manookian



 4 Chase v. Stewart, Order on Petition for Rehearing, attached as Exhibit 3.



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 offering to “walk-away” from their purported claims against Brian Manookian and

 Cummings Manookian in exchange for no payment and with all parties executing mutual

 releases. The letter indicated that the Chase Parties would seek agreement for the “walk-

 away” settlement on behalf of Cummings Manookian from the Trustee.

 F.       The Chase Parties’ Unexplained Withdrawal from Negotiations
          and Simultaneous, Gratuitous Payment of Phillip Young’s Fees in
          the State Action

          Days after offering a walk-away settlement on their now-vacated claims, the Chase

 Parties sua sponte and gratuitously announced they had agreed to pay all of Phillip

 Young’s outstanding fees in the State Collections action. This was significant for Mr.

 Young. As the Receiver of a collections action where the underlying judgment had been

 vacated, Mr. Young stood the likelihood of not only having his outstanding fees unpaid,

 but also having Cummings Manookian and the other parties against whom he had seized

 receivables and which he remitted to himself as Receiver, seek reassessment and

 repayment.5

 G.       The Chase Parties New Proposed Settlement with State
          Receiver / Federal Bankruptcy Special Counsel Phillip Young

          Shortly after having gratuitously agreed to pay Receiver Phillip Young’s

 outstanding fees in the State Action, the Chase Parties and Special Counsel Phillip Young

 in the Bankruptcy Matter entered into a new settlement which is drastically worse for

 Cummings Manookian than the previously proposed “walk-away,” but provides a quarter-

 million-dollar windfall for the Chase Parties.


 5 Indeed, at least one other Defendant in the state collections case, Hammervold PLC, has

 asked the State Trial Court to refund its receivables which were ultimately paid to Phillip
 Young. That request is currently pending before the Court. Phillip Young, as Special
 Counsel in the Bankruptcy matter, has not asked the State Court to refund Cummings
 Manookian’s money paid to Receiver Phillip Young.


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          In exchange for releasing the vacated claims which the Chase Parties had

 previously only required a non-payment and mutual release, Special Counsel Phillip

 Young now proposes to pay the Chase Parties $250,000.


                                   III.   ARGUMENT

          The proposed claim and settlement with the Chase Parties should be rejected.

 Cummings Manookian has no liability to the Chases.            Cummings Manookian has

 prevailed twice on appeal. The Chase Parties have appropriately and recently valued their

 own claims at $0 by offering a walk-away. That walk-away was apparently scuttled by

 new, and dubiously-ethical, negotiations by a conflicted Special Counsel with a result

 highly suggestive of a quid pro quo.

          Moreover, the Chases’ “claims” which Special Counsel seeks to compromise are

 facially frivolous and will cost Cummings Manookian nothing to defend – if such claims

 are even pursued. The proposed settlement is, at best, not remotely in the interest of the

 Bankruptcy Estate and, at worst, the result of conflicted self-dealing on behalf of the

 Chase Parties and Mr. Young. Brian Manookian, as the sole owner and member of

 Cummings Manookian, objects to its terms.

 A.       Cummings Manookian Has No Liability to the Chase Parties

          As a threshold matter, it bears emphasis that Cummings Manookian has zero

 current or likely liability to the Chase Parties. The Chase Parties “claim” is the threat of

 proceeding with a facially-frivolous contempt petition which has now been vacated and

 denied for rehearing. As a result, there is no existing judgment against Cummings

 Manookian for the Trustee to “compromise,” nor is there likely to ever be one.

          1.    Cummings Manookian has Repeatedly Prevailed Against the
                Chase Parties on Appeal


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          The Chase Parties’ Claim, as originally filed in this bankruptcy action, consisted of

 a $748,000 judgment from the Williamson County Circuit Court. That judgment has now

 been vacated, and the petition for rehearing has been denied. The only legally-binding

 basis for the Chase’s assertion that Cummings Manookian once owed them money no

 longer exists. At best and at present, the Chase Parties are left with a set of unproven

 allegations in a state court contempt proceeding; an action that may not even be currently

 prosecuted against Cummings Manookian.

          2.     The Chase Parties Existing “Claim” is Properly Valued at a
                 Walk-Away

          As recognized by the Chase Parties, the proper value of their existing “claim” is

 zero.6 Following the denial of their Petition for Rehearing with the Tennessee Court of

 Appeals, the Chase Parties sought to compromise their “claim” against Cummings

 Manookian and the other parties involved in the contempt proceeding in exchange for a

 mutual release and walk-away.

          The Chase Parties sought a walk-away, in part, because they justifiably now fear

 being sued for damages by Cummings Manookian to recover the funds that were levied

 by State Court Receiver Phillip Young. Stated alternatively, Cummings Manookian has

 legitimate and cognizable claims against the Chase Parties as a result of their seizing funds

 through Receiver Phillip Young for which they no longer hold a judgment.

          The idea that Cummings Manookian would pay any sum of money to the Chase

 Parties – much less $250,000 – after (1) the underlying judgment has been vacated, (2)

 the Chase Parties have nevertheless seized funds belonging to Cummings Manookian



 6 See Exhibit 2.



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 without returning them post-vacated judgment, and (3) the Chase Parties have offered a

 $0 walk-away and mutual release is farcical. Rather than act in the Bankruptcy Estate’s

 interest, Special Counsel for the Trustee proposes to negotiate up Cummings

 Manookian’s liability from $0 to a quarter of a million dollars.

          3.    The Underlying Chase Claims are Facially Frivolous

          In any event, the underlying claims in the contempt proceeding are facially

 frivolous. The gravamen of the Chases’ Contempt Proceeding is a claim that Brian

 Manookian violated a protective order by disseminating discovery materials to the media

 and law enforcement. But the protective order had not been entered at the time of Mr.

 Manookian’s dissemination. It is axiomatic that one cannot violate an order that does not

 exist. Likewise, one cannot be held in contempt for taking otherwise lawful actions that

 have not been proscribed by a Court. Finally, the Chase Parties have conceded they have

 no damages from Mr. Manookian’s actions other than incurring attorney’s fees in

 pursuing the contempt proceeding itself. The underlying, unproven, and unproveable

 “claims” the Trustee proposes to settle are facially frivolous.


 B.       THE TRUSTEE HAS FAILED TO INVESTIGATE THE CHASE CLAIM

          It is additionally worth emphasizing – because it is emblematic of a consistent

 issue in this case – that the Trustee appears to have made little to no effort to investigate

 the Chase Claim or subject it to minimal scrutiny. Special Counsel for the Trustee, Phillip

 Young, did not even contact the attorneys who represented Cummings Manookian in the

 appeal or underlying contempt proceedings to evaluate the merits of the claim.

          Indeed, it is difficult to address the Trustee’s reasoning for proposing a quarter

 million-dollar settlement with the Chase Parties because no reasoning is ever articulated



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 in its proposal. The Trustee appears to suggest that there is some uncertainty as to

 whether the Court of Appeals’ opinion impacts the judgment against Cummings

 Manookian. This is either a deliberate attempt to mislead this Court or a display of

 profound misunderstanding of basic litigation. The only judgment against Cummings

 Manookian was the same order that the Court of Appeals entirely vacated.

          Likewise, the Trustee appears to suggest that because the underlying contempt

 proceeding dragged on for a number of years that Cummings Manookian could possibly

 incur costs in defending a renewed proceeding. Preliminarily, this presumes that the

 Chase Parties will renew the proceeding, which Mr. Manookian believes is highly unlikely.

 But moreover, it fails to consider (and the Trustee, in fact, failed to even inquire into)

 Cummings Manookian’s costs in defending the prior action: $0.

          Cummings Manookian’s liability to the Chase Parties is entirely derivative.

 Cummings Manookian may only be held liable if its agent, Brian Manookian, is found

 liable. Brian Manookian has – and will continue to – vigorously defend any action by the

 Chase Parties at no expense to Cummings Manookian.

          In sum, the Trustee has neither adequately scrutinized the Chase Claim or

 articulated any bases in the interest of the Bankruptcy Estate for a significant payment;

 or why that payment should be $250,000 as opposed to any other randomly selected

 number. Instead, the Trustee bizarrely frames her proposal as a negotiation down from

 a vacated $750,000 judgment when, in reality, she has negotiated up from the currently

 existing $0 obligation and the contemporaneously proposed $0 walk-away.




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 C.       SPECIAL COUNSEL HAS NEGOTIATED A DEAL RIFE WITH
          ACTUAL CONFLICTS AND HIGHLY SUGGESTIVE OF A QUID
          PRO QUO

          As articulated above, Special Counsel Phillip Young has significant, ongoing actual

 conflicts that are particularly egregious in his dealings on behalf of the Bankruptcy Estate

 with the Chase Parties. Prior to the Bankruptcy Filing, the Chase Parties sued Cummings

 Manookian and asked the Court specifically to appoint Phillip Young as the Receiver to

 levy Cummings Manookian’s receivables. In that role, Receiver Phillip Young has seized

 money belonging to Cummings Manookian, paid himself that money, and pursued new

 punitive actions against Cummings Manookian. The position staked out by Mr. Young as

 Receiver is undeniably and expressly adverse to Cummings Manookian and beneficial to

 the Chase Parties – and it continues to be.

          In his concurrent role as Special Counsel in Cummings Manookian’s bankruptcy,

 Phillip Young has declined to institute any action to recoup the Cummings Manookian

 money paid to Receiver Phillip Young in fulfillment of a now-vacated judgment. And in

 what is highly suggestive of a quid pro quo (and conclusive of an actual conflict), Special

 Counsel Phillip Young proposes to pay the Chase Parties $250,000 of Cummings

 Manookian’s funds in the Bankruptcy Proceeding shortly after the Chase Parties

 gratuitously agreed to pay Receiver Phillip Young’s fees in the Cummings Manookian

 collections action. Particularly in light of their days-earlier offer of a walk-away, this

 arrangement gives the appearance that the Chase Parties have secured a payment of

 Cummings Manookian’s funds from Special Counsel Phillip Young in exchange for

 making a payment to Receiver Phillip Young.

          Brian Manookian will shortly be filing a comprehensive Motion to Disqualify

 Phillip Young following receipt of certain materials in the state collections action. In the


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 interim, Mr. Manookian objects to the proposed settlement negotiated by Phillip Young

 serving dual roles as both Receiver and Special Counsel.


                                   IV.    CONCLUSION

          For all of the foregoing reasons, Mr. Manookian objects to the proposed claim and

 settlement with the Chase Parties.


 Date: July 27, 2021                              Respectfully submitted,


                                                  /s/ John Spragens
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                                                  john@spragenslaw.com

                                                  Attorney for Manookian PLLC and
                                                  Brian Manookian




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed July 27, 2021 and
 served electronically upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                   /s/ John Spragens




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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


  IN RE:                                       )
                                               ) Case No. 3:19-bk-07235
  CUMMINGS MANOOKIAN, PLLC,                    ) Chapter 7
                                               ) Judge Walker
                 Debtor.                       )
                                               )


    MOTION TO DISQUALIFY BANKRUPTCY JUDGE CHARLES WALKER


          Brian Manookian, through counsel, respectfully requests that Judge Walker recuse

 himself from this matter.1

                                   I. INTRODUCTION

          This is a Chapter 7 bankruptcy. The Debtor is Cummings Manookian, PLLC, a law

 firm. Brian Manookian is the sole member and owner of Cummings Manookian. The

 Trustee seeks approval of a proposed settlement arising out of a now-vacated contempt

 order. Mr. Manookian has objected to that settlement, and the Court has scheduled an

 evidentiary hearing to adjudicate the dispute.

          Regrettably, during the pendency of this matter – and after the Trustee sought

 approval of the disputed settlement – the Court belatedly disclosed that it had engaged in

 multiple ex parte communications about Mr. Manookian, including with counsel for the

 Trustee. Despite the Court’s unambiguous ethical obligation to disclose the details of



 1 A recusal appeal in this matter’s companion adversary proceeding is currently pending

 before the District Court. Movant respectfully submits that recusal appeal is operative
 on, and stays, the bankruptcy proceeding as well. To the extent the Court has concluded
 that the adversary proceeding recusal appeal does not stay this proceeding, Movant asks
 the Court to recuse itself in this proceeding as well.


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 those ex parte communications, it has repeatedly refused to do so, instead putting the

 burden on Mr. Manookian to produce evidence of the Court’s own communications. The

 Court has also prohibited Mr. Manookian from discovering the extent of the ex parte

 communications directly from the Court itself.

          The Court declined to disqualify itself in a related adversary proceeding in this

 matter, issuing multiple strongly worded orders about Mr. Manookian and Mr.

 Manookian’s counsel over their attempts to seek disclosure of the Court’s ex parte

 communications. As detailed below, multiple statements in those orders confirm that the

 Court harbors evident bias against Mr. Manookian.

                                  II. LEGAL STANDARD

          Canon Three of the Code of Conduct for Federal Judges provides that the Court

 shall not have ex parte communications, except in limited circumstances, and even then

 must give all parties prompt notice of the communications and an opportunity to respond.

          Except as set out below, a judge should not initiate, permit, or consider ex
          parte communications or consider other communications concerning a
          pending or impending matter that are made outside the presence of the
          parties or their lawyers. If a judge receives an unauthorized ex parte
          communication bearing on the substance of a matter, the judge should
          promptly notify the parties of the subject matter of the communication and
          allow the parties an opportunity to respond, if requested. A judge may:

                (a) initiate, permit, or consider ex parte communications as
                authorized by law;

                (b) when circumstances require it, permit ex parte
                communication for scheduling, administrative, or emergency
                purposes, but only if the ex parte communication does not
                address substantive matters and the judge reasonably believes
                that no party will gain a procedural, substantive, or tactical
                advantage as a result of the ex parte communication;

                (c) obtain the written advice of a disinterested expert on the
                law, but only after giving advance notice to the parties of the


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                 person to be consulted and the subject matter of the advice
                 and affording the parties reasonable opportunity to object and
                 respond to the notice and to the advice received; or

                 (d) with the consent of the parties, confer separately with the
                 parties and their counsel in an effort to mediate or settle
                 pending matters.


          Emphasis Added.

          The Tennessee Rules of Professional Conduct are likewise clear that attorneys may

 not engage in ex parte communications with the Court. Rule 3.5 states that, “A lawyer

 shall not seek to influence a judge, juror, prospective juror, or other official by means

 prohibited by law; communicate ex parte with such a person during the proceeding unless

 authorized to do so by law or court order.”

          Finally, Federal law mandates that “[a]ny justice, judge, or magistrate judge of the

 United States shall disqualify himself in any proceeding in which his impartiality might

 reasonably be questioned.” 28 U.S. Code § 455(a). Engaging in improper ex parte

 communications in violation of the Federal Code of Conduct for Judges is, definitionally,

 conduct resulting in a judge’s impartiality being reasonably questioned.            Failing to

 disclose ex parte communications under these circumstances likewise gives rise to

 reasonable questions about a judge’s impartiality.


                              III. FACTUAL BACKGROUND

 A.       The Bankruptcy Court Engages in Ex Parte Communications About Mr.
          Manookian.

          On March 17, 2022, the Court opined from the bench that Mr. Manookian was the

 critical witness in this matter; stating that “most of this is going to be driven by additional

 information that's available, not to the Trustee at this moment, but is locked away deep


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 inside Mr. Manookian's brain somewhere.” (Doc. 161-1, Transcript at P. 49:2-5). Judge

 Walker went on to state that, with respect to critical questions of fact regarding the

 Debtor, “Mr. Manookian holds the keys to the kingdom. Id. at 49:15-16.

          As the hearing progressed, the Court ordered, over objection, that certain

 depositions involving Brian Manookian be held in a secured location in the courthouse.

 Counsel for Mr. Manookian raised routine, logistical arguments in opposition to this

 directive, primarily about parking and cost to travel downtown when depositions are

 routinely taken at attorneys’ offices.

          Surprisingly, in order to justify its rationale for this Order, the Court raised what it

 termed the “100 pound gorilla in the room on that issue,” namely, what Judge Walker

 believed to be Manookian’s “past behavior before the tribunals.”

           The Court then said, “I’ve had at least two lawyers call the Court and say they don’t

 feel comfortable if your client is going to appear, and, you know, the Court takes those

 concerns very seriously and makes no conclusion on whether they are valid, they are

 perceptions which drive behaviors of other parties.” Dkt. No. 161-1, Transcript of Pretrial

 Conference, Page 84:11-23 (Emphasis Added).

          At that hearing, well over a year into bench-trial cases over which he would preside,

 Judge Walker suprised Movant by casually admitting having participated in multiple ex

 parte conversations regarding Brian Manookian, the same very individual he had just

 identified as the key witness in the bankruptcy and adversary proceedings; but moreover,

 the Court then began holding forth on why it found Brian Manookian to be a particularly

 dangerous or unstable litigant: “[Brian Manookian’s] past behavior before tribunals”

 justify ordering that depositions be conducted at the Courthouse over “security concerns”

 about Mr. Manookian.


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          As explained below, the Court’s comments were not only factually wrong – Mr.

 Manookian has conducted hundreds of depositions without incident, and no court has

 ever found that he acted even remotely inappropriately, much less in a physically

 threatening manner, during a deposition – they betrayed animus toward the very person

 that Judge Walker has gone to great lengths to identify as the central factual witness in

 this case. And that animus is not based on evidence or past proceedings in the case, as

 nothing before the Court suggested that Mr. Manookian posed a security concern or had

 conducted himself inappropriately.

          Indeed, the Court’s views on Mr. Manookian can only be based on the Court’s ex

 parte communications, which the Court acknowledged in its remarks during the hearing,

 or on extrajudicial investigation by the Court. Unfortunately, as briefed in the companion

 proceeding, the Court declined in the March 17, 2022 hearing – and continues to refuse

 – to provide any meaningful detail about its ex parte communications about Mr.

 Manookian, a key party and witness in this case.

B.        The Bankruptcy Court Declines to Disclose the Substance of its Ex
          Parte Communications or Promptly Rule on a Motion to Disqualify

          After obtaining the transcript of the hearing, Mr. Manookian along with the

 Adversary Party Defendants promptly filed a motion asking the Court to disqualify itself

 and detail the dates, substance of, and parties to each of its ex parte communications,

 pursuant to 28 U.S.C. § 455(a) & (b)(1) and Canon Three of the Code of Conduct for

 Federal Judges (prohibiting judges from engaging in ex parte communications about a

 pending matter and, in the event an unauthorized ex parte communication is received,

 requiring prompt disclosure of the subject matter and an opportunity for the parties to

 respond). Dkt. No. 161.



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          Rather than ruling on the motion or making the compulsory disclosure, the Court

 set an evidentiary hearing, on its own initiative, calling for “[p]resentation of evidence”

 on the motion, but not until more than six weeks later on June 29, 2022. Dkt. No. 165.

          The Court did not explain how or why it expected to receive testimonial evidence

 on the disqualification motion, nor did it explain how Manookian could obtain evidence

 regarding the Court’s own only recently revealed ex parte communications—

 definitionally known exclusively to the Court and not Manookian.

          The Court did not — and to this day, has not — disclosed any additional

 information about the ex parte communications that formed the basis of its March 17,

 2022 ruling.

 C.       The Court Prevents Manookian from Obtaining Discovery in Advance
          of the Evidentiary Hearing and Again Declines to Recuse or Disclose
          the Substance of its Ex Parte Communications

          Facing an evidentiary burden and lacking information about the newly disclosed

 ex parte communications, Manookian reluctantly availed himself of the one tool a litigant

 can use to obtain evidence for presentation to a Court: a deposition. He noticed a limited

 deposition of Judge Charles M. Walker to take place two weeks before the evidentiary

 hearing set and insisted upon by Judge Walker.

          Notwithstanding the atypical conduct of the Bankruptcy Judge in setting an

 evidentiary hearing on its own recusal without providing information necessary for a

 party to, a party noticing a deposition of a judge is admittedly and undoubtedly atypical.

 Sensitive to that fact, Manookian went out of his to ensure his request was minimally

 invasive and limited solely to their pending motion. To that end, Manookian specifically

 confined the scope of the deposition to two topics of inquiry: (1) Judge Walker and his

 staff’s communications about this matter with third parties outside of court proceedings


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 and (2) Judge Walker and his staff’s investigation into this matter, the parties, or

 witnesses outside of the Court record. Dkt. No. 177.

          Within twenty-four hours of filing the Notice of Depositions, the Court issued an

 order sua sponte quashing the Notice and declaring it unenforceable. Dkt. No. 178.

 Consistent with his earlier actions, rather than take the opportunity to disclose the

 substance or details of his ex parte communications, Judge Walker used the order to

 variously attack Manookian and the movants; accuse them of “tainting the proceedings”;

 and to assign improper motives to their attempt simply to discover information that

 Judge Walker himself was required to disclose as a result of extrajudicial communications

 that did not involve Manookian.

          Evidence of the same is saturated through the Order.             Declining its fourth

 opportunity to simply provide a reasonable or innocent explanation for the ex parte

 communications, the Court wrote:

     •    “As to the first consideration, the Court finds that the Notice serves no purpose
          other than to waste the resources of the United States for private purposes… and
          is a misuse of the resources available in order to avail oneself of the justice provided
          by the bankruptcy system.” Dkt. No. 178.

     •    “The request is inappropriate as the request for testimony from the sitting judge
          serves no purpose other than to taint the proceedings before the Court.” Id.

     •    The request for testimony of the judge sitting on the case is sought in order to
          contaminate the exercise of judicial and quasi-judicial responsibilities by federal
          judicial personnel.” Id.

     •    For the twelfth and thirteenth factors, deposing the judge on a case is a
          manipulation of the judicial system in an effort to taint the proceedings.” Id.




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          Having refused to promptly or voluntarily disclose the substance of his ex parte

 communications, Judge Walker prohibited Manookian from discovering the same via his

 testimony after unilaterally setting the matter for an evidentiary hearing.

          Another point is necessarily made. Judge Walker referenced having “multiple”

 communications with more than one attorney. Manookian was able to question only one

 party during discovery – Counsel for the Trustee – about whether he had engaged in such

 communications. He admitted having done so but denied any specific recollections a year

 later. The problematic nature of his purported lack of recollection is compounded by the

 Judge’s refusal disclose details about the ex parte communications; importantly the Court

 referred to multiple such ex parte conversations, but only one such conversation has ever

 been identified.

          At the eventual evidentiary hearing the Court declined to permit argument or

 evidence, and refused to provide an accounting of the ex parte communications.

          Instead, the Court read a statement into the record that that it would decline to

 rule on the motion as a result of the appeal of his order quashing the notice of his

 deposition. Dkt. No. 182.

 D.       Manookian Appeals Judge Walker’s Order Quashing the Subpoena to
          Himself regarding his Ex Parte Communications

          After Judge Walker quashed the subpoena to himself seeking details of his ex parte

 communications, Manookian appealed, seeking an interlocutory ruling requiring the

 Bankruptcy Court to detail the substance of its ex parte communications, or in the

 alternative, to disqualify Judge Walker. Manookian PLLC v. Burton, Case No. 3:22-cv-

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          Following briefing on the matter, the Court held that interlocutory appeal was not

 warranted, and that Manookian’s request to disqualify Judge Walker in the adversary

 proceeding was not yet ripe, given that Judge Walker, himself, had not yet ruled upon the

 motion. Manookian PLLC v. Burton, Case No. 3:22-cv-00474.

 E.       Judge Walker Denies the Motion to Disqualify, Mistakenly Relying on
          a Long-Vacated State Trial Court Order

          With the appellate stay lifted, on April 4, 2023, the Bankruptcy Court took up the

 hearing on the Adversary Parties’ Motion to Disqualify Judge Walker. Judge Walker

 denied the motion at the hearing and entered his written order detailing his reasoning

 and analysis the following day. (Dkt. No. 229).

          Notably, the Court – once again – refused to actually provide any detail of the

 content of the Court’s ex parte communications or even the participants to the

 conversations. Instead, he repeatedly suggested (without actually stating) that any such

 ex parte conversations he’d referenced were possibly administrative or logistical in

 nature; accused Movants and their attorneys of attempting to weaponize the issue; and

 yet again markedly declined simply to detail who he or his staff spoke to, the dates of the

 conversations, what was said, or why he did not promptly alert the other parties to the

 communications, as is required by the judicial code of conduct, and it is required for good

 reason.

          Relying on that long-vacated order – whose reversal had been filed with the

 Bankruptcy Court more than a year prior – Judge Walker stated:

          The record contains the rulings from other tribunals that have found Mr.
          Manookian to have acted in bad faith, engage in a pattern of obfuscation,
          and conduct himself in a     reckless manner. Specifically, a Williamson
          County judge found that Mr. Manookian had knowingly, willfully, and



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          intentionally violated a protective order and then attempted to mislead that
          court about that violation. That judge found Mr. Manookian's behavior
          regarding discovery matters to be so egregious that he imposed significant
          monetary sanctions against him. All of this is part of the record in this case.
          (Transcript of Hearing on Motion to Recuse Judge Charles M. Walker
          (Docket No. 161) 21:2-11)), April 4, 2023. Also, Finding in Order Denying
          Recusal (Docket No. 229 at 16).

          Judge Walker’s reliance on a long-vacated order, by a state court judge who was

 then disqualified as a result of his bias against Mr. Manookian, is perfectly emblematic

 of the reasons the Court is required to recuse here. A reasonable observer would question

 the Court’s impartiality in this matter. Moreover, the Court’s own statements evidence

 apparent bias against Mr. Manookian.


                                       IV. ARGUMENT

 A.       The Court Engaged in Multiple Ex Parte Communications regarding
          Brian Manookian that Require Disqualification.

          The Court is required to disqualify itself from this matter because it engaged in

 multiple prohibited ex parte communications about Brian Manookian and this

 proceeding2 with “at least two [unidentified] lawyers” while this action has been pending.3

          The Court then failed to promptly notify the parties of its repeated ex parte

 conversations as required by the Code of Conduct for United States Judges.4 Instead, the




 2 Brian Manookian is the sole member of the Debtor, Cummings Manookian, and the Sole

 Member of the Defendant, Manookian PLLC.
 3 Transcript of Pretrial Conference and Motion Hearing, March 17, 2022, Pages 84:15-

 85:11. On April 21, 2022, the Manookian Parties learned that the Trustee, through her
 Special Counsel, has additionally had at least one improper ex parte communication with
 the Court. Deposition of Phillip Young, Transcript Forthcoming.
 4 Code of Conduct for United States Judges, Canon 3(A)(4).



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 Court only disclosed their occurrence much later, and only then to justify the Court’s order

 that depositions in this matter be conducted at a secure courthouse location. In doing so,

 the Court attributed its order to unarticulated “concerns” about Brian Manookian which

 were communicated directly to the Court by undisclosed attorneys in various ex parte

 phone calls, but that neither the Court nor those attorneys disclosed to Mr. Manookian.

          As a result, Manookian was never able to respond to the ex parte representations,

 or even make a record regarding those improper communications for review by a superior

 court. To this day, potentially years after the ex parte communications in this still-

 pending case, Manookian thus remain in the dark as to the substance of those prohibited

 communications, although their clear corrosive effect on the proceeding has become

 clear.

          The Court and the as-yet unidentified attorneys have, intentionally or not, engaged

 in conduct that violates multiple provisions of the Code of Conduct for United States

 Judges as well as the Rules of Professional Conduct governing attorneys licensed in

 Tennessee.5

          The Court’s repeated ex parte communications with practicing attorneys,

 regarding this case and the parties to it, which were not disclosed at the time, and only

 revealed in order to support a subsequent ruling, require recusal. The Court’s additional

 comments about whatever it believes “Mr. Manookian’s past behavior” consists of, also

 require recusal.



 5 Id. See, also, Tennessee Supreme Court Rule 8, Rule of Professional Conduct 3.5,

 Impartiality and Decorum of the Tribunal (“A lawyer shall not seek to influence a judge,
 juror, prospective juror, or other official by means prohibited by law; communicate ex
 parte with such a person during the proceeding unless authorized to do so by law or court
 order.”).


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          Both statements reveal that this Court has engaged in prohibited ex parte

 communications and independent investigations, and also incorporated and relied upon

 the information gained in those improper exercises in its rulings and approach to this

 case.

          28 U.S.C. § 455(a) states that “[a]ny . . . judge . . . shall disqualify himself in any

 proceeding in which his impartiality might reasonably be questioned.” This recusal

 standard is objective; the relevant inquiry is whether a “reasonable man, were he to know

 all the circumstances, would harbor doubts about the judge’s impartiality.” Health Servs.

 Acquisition Corp. v. Liljeberg, 796 F.2d 796, 800 (5th Cir. 1986) (internal quotation

 marks omitted), aff’d, 486 U.S. 847 (1988); see Air Line Pilots Ass'n, Int'l v. Continental

 Airlines, Inc. (In re Continental Airlines Corp.), 901 F.2d 1259, 1262 (5th Cir. 1990); In

 re Faulkner, 856 F.2d 716, 720-21 (5th Cir. 1988).

          The   Court’s   conduct    in   conducting    and    allowing   repeated    ex   parte

 communications; failing to promptly disclose the occurrence of those communications;

 failing to ever disclose the total substance and participants to those conversations;

 conducting apparent independent investigations into this matter; and relying upon both

 improper sources of information require immediate recusal. It further requires full

 disclosure of the circumstances and substance of the ex parte communications and

 independent investigation.


 B.       The Court’s refusal to make the required disclosures de facto creates
          the appearance of impropriety and give rise to a reasonable
          questioning of its impartiality.

          The federal statute on recusal is found at 28 U.S.C. § 455. Section 455(a) states

 that “[a]ny justice, judge, or magistrate judge of the United States shall disqualify himself



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 in any proceeding in which his impartiality might reasonably be questioned.” The test for

 recusal under § 455(a) is whether a reasonable person, with knowledge of all the facts,

 would conclude that the judge's impartiality might reasonably be questioned.

          A reasonable person would conclude that Judge Walker's impartiality might

 reasonably be questioned given the following chain of events:


          1.   Judge   Walker    receives   and   engages    in   multiple   ex   parte
               communications “with at least two lawyers” who “call[ed] the Court” to
               raise “serious concerns” about “your client [Brian Manookian].”6 Judge
               Walker does not disclose those conversations promptly on the record.

          2.   Over a year later, Judge Walker first mentions his ex parte
               communications in open court as justification for a contested ruling.
               Judge Walker again does not take the opportunity to disclose the details
               of the ex parte communications on the record.

          3.   When Movants promptly seek Judge Walker's belated disclosures and
               recusal via written motion, Judge Walker sets the request for
               evidentiary hearing (despite the fact that he is the sole holder of such
               evidence known to Manookian). In setting the hearing, Judge Walker
               again declines the opportunity to disclose the details of the
               communications at issue on the record.

          4.   After Manookian issues a subpoena to Judge Walker on the limited
               topic of his ex parte communications, Judge Walker quashes the
               subpoena in written order taking the time to excoriate Manookian and
               his motives; but again, refusing to simply detail the ex parte
               communications on the record.




 6 Transcript of Pretrial Conference, Page 84:11-23.



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          5.   When the Adversary Parties appeal the quashing of their subpoena,
               Judge Walker requires the parties to appear for an in-person hearing
               where, after assembling the parties, he simply reads a statement into
               the record that he will not act on the matter while subpoena is on
               appeal. Having summoned all to the Courthouse to read a statement
               into the record, Judge Walker again refuses include within that record
               any details of his ex parte communications.

          6.   Judge Walker holds the lengthy, in-person recusal hearing, during
               which he refuses to testify or otherwise disclose any details of the very
               communications at issue – known to him and required to be disclosed
               by the U.S. Code of Conduct.

          7.   Judge Walker denies his recusal in a lengthy written order, largely
               relying on a long-vacated state court order regarding Brian Manookian.
               In authoring that order, Judge Walker again refuses to simply disclose,
               or otherwise explain, the details of the very ex parte communications
               upon which the controversy hinges.

          These facts would lead any objective observer to question Judge Walker’s

 impartiality.    Indeed, no objective observer would fail to question Judge Walker's

 impartiality given these facts and the seven (7) discrete occasions upon which Judge

 Walker either in person, or in writing, declined to comply with a Canon of Judicial

 Conduct whose fundamental purpose is to ensure impartiality.

          It is exceptional that a sitting federal bankruptcy judge would reveal having

 participated in multiple ex parte communications and not only refuse to voluntarily

 disclose their details, but actively block measures to discover their contents and the

 identities of the parties thereto. Indeed, Movant is unable to find an analog in federal




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 case law because this simply does not appear to happen. But commenters have cataloged

 the effect of such behavior in state courts.

          “Failure to disclose a conversation and its contents creates the appearance of

 impropriety.”      Leslie W. Abramson, The Judicial Ethics of Ex parte and Other

 Communications, 37 Houston Law Review 1343, at 1375 (2000). Emphasis added. Citing

 Bell v. State, 655 N.E.2d 129, 132 (Ind. Ct. App. 1995) (holding that “the trial judge created

 an appearance of impropriety” by “failing to fully disclose the extent of his [ex parte]

 conversation”); Niblock v. State, 711 P.2d 771, 772-73 (Kan. Ct. App. 1985) (deferring to

 the state's supreme court to determine an ethical violation where the trial judge

 responded to a letter from state corrections officials and then presided over a hearing

 presenting the same issue without revealing the letter to the parties or counsel).

          “A trial judge’s failure to disclose participation in a banned communication or

 reveal its contents will likely result in the conclusion that the judge engaged in an ethical

 violation.” Abramson at 1376 (citing State v. Rich, 907 P.2d 1382, 1383-84 (Ariz. 1995)

 (en banc) (placing the burden on the appellee to prove that there was no reversible error

 where the judge failed to disclose an improper ex parte communication with the jury));

 In re Wheatley, 697 N.E.2d 938, 941 (M1l. App. Ct. 1998) (vacating and remanding where

 the trial judge created the appearance of impropriety by failing to disclose the receipt of

 an improper ex parte communication).

          The reasoning underpinning these decisions is sound and in accord with the

 federal rules governing disclosure of ex parte communications. The very act of refusing

 to do so shakes the confidence of parties to the proceedings.

          A judge’s refusal to simply follow the rules put in place to protect the integrity of

 the proceedings is, itself, de facto grounds for a reasonable observer to reasonable


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 question the judge’s impartiality. Judge Walker has, for reasons known to him, decided

 that he will not disclose or otherwise detail the multiple conversations he acknowledged

 having with at least two lawyers about this case. That decision requires disqualification.

 C.       The Bankruptcy Judge’s Actions in Response to Efforts to Discover
          the Content, Identities, and Extent of Ex Parte Communications
          Warrant Disqualification.

          The Bankruptcy Court’s response to Mr. Manookian’s request that he simply make

 the disclosures already required by the Judicial Code of Conduct confirms the need for

 his disqualification. Rather than simply make the disclosure, Judge Walker issued a

 vitriolic order repeatedly asserting that Manookian had acted with improper motives.

 These are those statements as to Manookian’s Request that the Judge simply comply with

 the existing Federal Judicial Canon:


      •   “The request is inappropriate as the request for testimony from the sitting judge
          serves no purpose other than to taint the proceedings before the Court.”
          Dkt. No. 178. Emphasis Added.

      •   The request for testimony of the judge sitting on the case is sought in order to
          contaminate the exercise of judicial and quasi-judicial responsibilities by federal
          judicial personnel.” Dkt. No. 178. Emphasis Added.

      •   For the twelfth and thirteenth factors, deposing the judge on a case is a
          manipulation of the judicial system in an effort to taint the proceedings.”
          Dkt. No. 178. Emphasis Added.


          Strikingly, the Court made its view of a litigant plain, concluding that he was

 attempting to “manipulat[e] the judicial system” and trying to “taint the proceedings”—

 when, in fact, Mr. Manookian was trying to meet an evidentiary burden incorrectly

 imposed by the Court when it set an evidentiary hearing on a recusal motion about ex

 parte communications known only to the Court. Setting aside every prior argument in


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 this brief, this Court’s own rulings confirm that the Court no longer meets the objective

 criteria required to preside over this case. The Court has deemed the mere attempt to

 gain information about the Court’s ex parte communications as not only a personal

 attack, but an effort to “taint” and “contaminate” the proceedings, summarily concluding

 that Mr. Manookian acted with improper motives. A reasonable observer would conclude

 that the Court’s impartiality is in question, and the interests of justice would be served by

 another bankruptcy judge handling this case.

          Finally, the Court’s reliance on a vacated state court order to justify its comments

 about Mr. Manookian additionally confirms the Court’s evident bias against Mr.

 Manookian. The specific order from which Judge Walker quoted and relied on as the

 basis for his rulings was issued and authored by a state-court judge who was subsequently

 removed from that case by the Tennessee Court of Appeals as a result of evident bias

 against Mr. Manookian. Moreover, as the Court was or should have been aware, the

 quoted order had long been vacated by the time the Court relied upon it.7


                                      V. CONCLUSION

          For all these reasons, the Court should conclude that disqualification is warranted

 and required by controlling law. Moreover, the Court should detail the dates, substance

 of, and parties to each of its ex parte communications about Mr. Manookian as well as

 details of any independent investigation it conducted.




 7 In the same order the Court stated that Mr. Manookian had been “disbarred by the

 Tennessee Supreme Court.” That statement was not only unrelated to the issue to be
 resolved, but it was and is false. It is unclear where the Court obtained that information
 that was apparently material to its ruling about Mr. Manookian, and it provides further
 reasonable grounds to question the Court’s impartiality.


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 Date: August 23, 2023                          Respectfully submitted,


                                                /s/ John Spragens
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                                                311 22nd Ave. N.
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                                                john@spragenslaw.com

                                                Attorney for Manookian PLLC and
                                                Brian Manookian


                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed August 23, 2023 and
 served electronically upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                 /s/ John Spragens




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                    IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                     AT NASHVILLE

 IN RE:                                               )
                                                      )
 CUMMINGS MANOOKIAN, PLLC,                            )      Case No: 3:19-bk-07235
                                                      )      Chapter 7
                                                      )      Judge Walker
               Debtor.                                )

                          TRUSTEE’S RESPONSE TO
          MOTION TO DISQUALIFY BANKRUPTCY JUDGE CHARLES WALKER

          Jeanne Ann Burton, Chapter 7 Trustee herein, by and through special counsel, hereby

 respectfully responds to Brian Manookian’s Motion to Disqualify Bankruptcy Judge Charles

 Walker (Doc. 187) (the “Recusal Motion”), as follows:

          1.       The Recusal Motion filed by Brian Manookian in this matter on August 23, 2023

 is strikingly similar to the one he and Manookian PLLC filed in Adversary Proceeding No. 3:20-

 ap-90002 (the “AP”), which was docketed at Docket No. 161 in the AP. Because the Trustee has

 already responded to these allegations and calls for recusal once (and the Court denied Mr.

 Manookian’s motion), she incorporates herein by reference her Response to Brian Manookian

 and Manookian PLLC’s Motion to Disqualify Bankruptcy Judge Charles Walker (the “AP

 Response”) filed in the AP at Docket No. 174.

          2.       Not only is the Recusal Motion without substantive merit, Brian Manookian is

 procedurally barred from once again raising this issue, for two reasons. First, the Recusal

 Motion should be denied due to collateral estoppel.         The doctrine of collateral estoppel

 “precludes relitigation of issues of fact or law actually litigated and decided in a prior action

 between the same parties and necessary to the judgment, even if decided as part of a different

 claim or cause of action.” In re Markowitz, 190 F.3d 455, 461 (6th Cir. 1999). “To preclude

 parties from contesting matters that they have had a full and fair opportunity to litigate protects


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 their adversaries from the expense and vexation attending multiple lawsuits, conserves judicial

 resources, and fosters reliance on judicial action by minimizing the possibility of inconsistent

 decisions.” Montana v. United States, 440 U.S. 147, 153-54 (1979).

          3.     Where a federal court has previously made a finding or entered an order, federal

 law of collateral estoppel must be applied. J.Z.G. Resources v. Shelby Ins. Co., 84 F.3d 211,

 213-14 (6th Cir. 1996). Under federal law, the following elements must be satisfied in order for

 collateral estoppel to apply:

          (1) the issue in the subsequent litigation is identical to that resolved in the earlier
          litigation;
          (2) the issue was actually litigated and decided in the prior action;
          (3) the resolution of the issue was necessary and essential to a judgment on the
          merits in the prior litigation;
          (4) the party to be estopped was a party of the prior litigation (or in privity with
          such a party); and
          (5) the party to be estopped had a full and fair opportunity to litigate the issue.

 Hammer v. INS, 195 F.3d 836, 840 (6th Cir. 1999).

          4.     All five elements for collateral estoppel are clearly and unequivocally met in this

 matter. This Court conducted a hearing on April 4, 2023 in the AP in which it considered a

 motion to recuse filed by Mr. Manookian. After conducting the evidentiary hearing, the Court

 denied Mr. Manookian’s recusal request (Doc. 229). Mr. Manookian is making the exact same

 allegations and arguments in the Recusal Motion as were previously made, and denied, in the

 AP. This recusal issue (1) is the identical issue that was previously resolved in the AP; (2) was

 litigated and resolved in the AP; (3) was essential to the outcome of that matter; (4) involves the

 same party, as Mr. Manookian was involved in the prior recusal motion; and (5) involves a party

 that had an opportunity to, and indeed did, participate in the prior litigation. As such, Mr.

 Manookian’s thinly veiled attempt to relitigate the recusal issue in this matter is barred by the

 doctrine of collateral estoppel.


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          5.     Second, for the reasons stated by the Trustee in her Motion to Strike Brian

 Manookian’s Objection and to Preclude his Participation in the September 29, 2021 Hearing for

 Lack of Standing (Doc. 136) (the “Standing Motion”), Mr. Manookian has no standing in this

 matter (the main bankruptcy case) to request Judge Walker’s recusal. The Trustee hereby

 incorporates by reference the Standing Motion.

          WHEREFORE, for all of the foregoing reasons, the Trustee respectfully requests that the

 Court immediately deny the Recusal Motion and grant the Trustee such other relief as the Court

 deems necessary and appropriate.


                                                     Respectfully submitted,

                                                    /s/ Phillip G. Young, Jr.
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                                                     Special Counsel for Chapter 7 Trustee




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                                      Certificate of Service

         The undersigned hereby certifies that a copy of the preceding document was
 electronically filed and served via the Court’s ECF system this 24th day of August, 2023.


                                                     /s/ Phillip G. Young, Jr.
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                                                     Special Counsel for Chapter 7 Trustee




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          Dated: 8/28/2023




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 IN RE:                              )
                                     )                Case No: 3:19-bk-07235
       Cummings Manookian, PLLC,     )                Chapter 7
                                     )                Honorable Charles M. Walker
             Debtor.                 )
 ____________________________________)
 .

                                 ORDER DENYING
                   MOTION TO DISQUALIFY JUDGE CHARLES WALKER


           THIS MATTER is before the Court on the motion of Brian Manookian (“Movant”) to

 disqualify Judge Charles Walker (ECF. #187). The Trustee has filed a Response (ECF. #188), and

 the Court has reviewed the pleadings and finds that the motion fails for the following reasons:

     a. Untimeliness

           On May 5, 2022, in adversary 3:21-ap-90002, Brian Manookian and Manookian PLLC

 (“ Adversary Movants”), filed a Motion to Disqualify Bankruptcy Judge Charles Walker

 (“Adversary Motion”). That motion cited to remarks made on the record in a hearing held by

 Judge Walker on March 17, 2022 (“the Hearing”), over a year before the filing of this Motion

 (“Bankruptcy Motion”). The eighteen months that have passed since the events that are alleged

 to support recusal render this Bankruptcy Motion untimely. See In re Haas, 292 B.R. 167, 181

 (Bankr. S.D. Ohio 2003), citing Am. Express Travel Related Servs. Co., Inc. v. Fraschilla (In re

 Fraschilla), 235 B.R. 449, 459 (9th Cir. BAP 1999) (noting that the timing of a recusal motion



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 “may affect the weight ascribed to the evidence said to be probative of bias or prejudice”). See

 also LeVay v. Morken, 590 F.Supp.3d 1037 (E.D. Mich. 2022) (noting that the most recent

 judicial conduct complained of was thirteen months prior to the motion for recusal and therefore,

 rendered the request untimely); United States v. White, 582 F.Supp.3d 525 (E.D. Mich.

 2022)(finding recusal motion untimely where motion was brought more than seven months after

 alleged conduct demonstrating extrajudicial bias); In re International Bus. Mach. Corp., 45 F.3d

 641, 643 (2d Cir.1995) (“[A] prompt application avoids the risk that a party is holding back a

 recusal application as a fall-back position in the event of adverse rulings on pending matters.”);

 Katzman v. Victoria's Secret Catalogue, 939 F. Supp. 274, 277 (S.D.N.Y. 1996)(citations

 omitted)(“(1) the movant has participated in a substantial manner in trial or pre-trial proceedings;

 (2) granting the motion would represent a waste of judicial resources; (3) the motion was made

 after the entry of judgment; and (4) the movant can demonstrate good cause for the delay.”)

     Movant was aware of pending matters in the main bankruptcy case at the time he filed the

 Adversary Motion – specifically, Movant’s Renewed Objection to Proposed Settlement (ECF

 180), Exhibit and Witness List (ECF 184), and Notice of Filing Order of Dismissal in State

 Action (ECF 185). Yet, with all of these filings in the main bankruptcy case in anticipation of

 trial, Movant made no move to seek recusal until the eleventh hour before an evidentiary hearing

 regarding his standing as a party to the main case – better said, his standing to bring any motion

 or seek any relief in the main case. Movant has offered no good cause for the delay – in fact, no

 cause at all has been presented. Since, nothing on the record prevented or restricted Movant’s

 involvement in the main case, his failure to seek recusal timely is no one’s fault but his own.




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        b. Collateral Estoppel

            The Movant is procedurally barred from seeking recusal due to the doctrine of collateral

 estoppel. Actions are collaterally estopped “once an issue is actually litigated and necessarily

 determined, that determination is conclusive in subsequent suits based on a different cause of

 action but involving a party or privy to the prior litigation.” In re Maresh, 277 B.R. 339 (Bankr.

 N.D. Ohio 2001) citing Dowling v. United States, 493 U.S. 342, 347, 110 S.Ct. 668, 672, 107

 L.Ed.2d 708 (1990). Since the Movant has essentially duplicated the Adversary Motion in the

 Bankruptcy Motion by making the identical allegations regarding the identical issues involving

 the identical parties, collateral estoppel is applicable and a basis for denial.

        c. Order Denying Motion to Recuse Judge Walker

        Not only was this issue previously litigated, but this Court issued an Order Denying the

 Adversary Motion. The findings and ruling of this Court’s Order Denying Motion to Recuse

 Judge Walker (ECF 229, 3:21-ap-90002) are hereby incorporated and made a part hereof.

            Further, the Adversary Motion states, albeit in a footnote, that the appeal currently

 pending regarding this Court’s denial of the Adversary Motion “is operative on, and stays, the

 bankruptcy proceeding as well.” (ECF 187). It appears this statement is placed in a footnote

 because it did not merit an actual argument. The Movant proposes no cause whatsoever for a stay

 and offers no argument or support for any of the elements required for such a stay.

            The criteria governing a motion for stay under Rule 80071, which are similar to the

 factors considered in the issuance of a preliminary injunction, include: (1) the likelihood of

 success on the merits; (2) the likelihood of irreparable harm; (3) harm to others; and (4) whether

 the public interest will be served. In re Target Graphis, Inc., 372 B.R. 866, (E.D. Tenn. 2007)



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     Fed. R. Bankr. P. 8007. Stay Pending Appeal; Bonds; Suspension of Proceedings.

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 citing Michigan Coalition of Radioactive Material Users, Inc. v. Griepentrog, 945 F.2d 150, 153

 (6th Cir.1991); In re Bradford, 192 B.R. 914, 917 (E.D.Tenn.1996). Therefore, Movant here must

 show, by a preponderance of the evidence, he will likely prevail on the merits of his appeal, he

 will suffer irreparable injury if the stay is denied, other parties will not be substantially harmed

 by the stay, and the public interest will be served by granting the stay. Id, citing In re Level

 Propane Gases, Inc., 304 B.R. 775, 777 (Bankr.N.D.Ohio 2004). The footnote of the Bankruptcy

 Motion alleging a stay exists is woefully inadequate to act as a stay to these proceedings. Movant

 offers no actual request for a stay and no allegation or argument that supports a stay, nor did he

 properly seek or obtain a stay pending appeal from any appropriate court.

 Conclusion

          Movant has brought this untimely motion to recuse at the eleventh hour before a hearing

 to determine his standing to seek relief in this bankruptcy case and after having fully participated

 in the case for eighteen months after the conduct alleged as a basis for recusal. He has brought it

 despite the previously fully litigated identical motion having been denied in the adversary

 proceeding, and now seeks to stay these proceedings without offering a scintilla of support or

 complying with the procedural requirements to obtain a stay. For all of these reasons, the motion

 is not well-taken and, therefore,

          IT IS HEREBY ORDERED that the Motion to Disqualify is DENIED:

          a) as untimely,
          b) as prohibited by collateral estoppel, and
          c) in the absence of a stay pending appeal, for the reasons stated in the Order of this
             Court in adversary 3:21-ap-90002 entered April 5, 2023 at ECF 229.

                       THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                               INDICATED AT THE TOP OF THE FIRST PAGE



                                                                         This Order has been electronically
                                                                         signed. The Judge's signature and
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                                                                         Court's seal appear at the top of the
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                                                                         United States Bankruptcy Court.

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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION



  IN RE:                                          Case No. 3:19-bk-07235
                                                  Chapter 7
  CUMMINGS MANOOKIAN, PLLC                        Judge Walker

           Debtor.



                     BRIAN MANOOKIAN’S NOTICE OF APPEAL
                         AND STATEMENT OF ELECTION


          Brian Manookian (“Appellant”), through counsel, gives notice of his appeal from

 the Bankruptcy Court’s August 28, 2023 Order (Doc. 189). In furtherance of the same,

 Appellant states as follows:

 Part 1: Identity of Appellant

          1.    The name of the Appellant is Brian Manookian. Mr. Manookian is the sole

 owner and member of the Debtor, Cummings Manookian, PLLC.

 Part 2: Subject of the Appeal

          2.    Appellant appeals from the Court’s Order Denying the Motion to Disqualify

 Bankruptcy Judge Charles Walker (Doc. 189). The Order was entered on August 28,

 2023.

 Part 3: Parties to the Appeal

          3.    The names of the Parties to the Order appealed from as well as the contact

 information for their attorneys are:




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 Part 4: Election to have appeal heard by District Court

          4.      Appellant elects to have the appeal heard by the United States District Court

 rather than by the Bankruptcy Appellate Panel.




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 Date: August 28, 2023                          Respectfully submitted,


                                                /s/ John Spragens
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                                                Nashville, TN 37203
                                                T: (615) 983-8900
                                                F: (615) 682-8533
                                                john@spragenslaw.com

                                                Attorney for Manookian PLLC, Brian
                                                Manookian, Afsoon Hagh, and Hagh
                                                Law PLLC


                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed August 28, 2023 and
 served electronically upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                 /s/ John Spragens




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